DEPOSITION EXCERPTS

WILLIAM DANIEL BINGLE
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 1       IN THE UNITED STATES DISTRICT COURT
 2      FOR THE EASTERN DISTRICT OF LOUISIANA
 3
 4   KURIAN DAVID, SONY VASUDEVAN
     SULEKHA, PALANYANDI THANGAMANI,
 5   MARUGANANTHAM KANDHASAMY,
     HERMANT KHUTTAN, ANDREWS ISSAC
 6   PADA VEETTIYL, AND
     DHANANJAYA KECHURA, ON BEHALF
 7   OF OTHER SIMILARLY SITUATED
     INDIVIDUALS, AND SABULAL
 8   VIJAYAN, KRISHAN KUMAR, JACOB
     JOSEPH KADDAKKARAPPALLY,
 9   KULDEEP SINGH, AND THANASEKAR
     CHELLAPPAN, INDIVIDUALLY,
10                PLAINTIFFS
11   VERSUS                      CIVIL ACTION NO.
                                  08-1220 SECTION A
12                               MAGISTRATE 3
     SIGNAL INTERNATIONAL, LLC,
13   MALVERN C. BURNETT, GULF
     COAST IMMIGRATION LAW CENTER,
14   L.L.C., LAW OFFICES OF MALVERN
     C. BURNETT, A P.C., INDO-AMERI
15   SOFT, L.L.C., KURELLA RAO, J&M
     ASSOCIATES, INC. OF MISSISSIPPI,
16   GLOBAL RESOURCES, INC., MICHAEL
     POL, SACHIN DEWAN, AND DEWAN
17   CONSULTANTS PVT. LTD (a/k/a
     MEDTECH CONSULTANTS,
18                DEFENDANTS
19
20    VIDEOTAPED DEPOSITION ORAL AND TELEPHONIC
                         OF
21              WILLIAM DANIEL BINGLE
22           CORPORATE REPRESENTATIVE OF
             SIGNAL INTERNATIONAL, L.L.C.
23                 OCTOBER 28, 2009
24
25

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 1     Q. Do you know whether it was in                        1      Q. Sound like a pretty good deal?
 2  that first personal meeting that he                        2      A. Yes.
 3  explained this H-2B process?                               3      Q. Did he tell you that it was the
 4     A. I don't remember which meeting                       4   Indians would pay two to $3,000 total for
 5  it was.                                                    5   the right to come over to work for Signal
 6     Q. Before you personally went to                        6   or was that just the money that Pol would
 7  India in 2005, in connection with the                      7   receive?
 8  recruiting of Indian workers, was it your                  8      A. That was total.
 9  understanding from Mr. Pol that the                        9      Q. He specified that?
10 process was as you just described it,                      10      A. Yes.
11 file petitions to get the workers over                     11      Q. And did have you an
12 here on H-2B Visas, extend them and then                   12   understanding who would be collecting
13 file for the green cards?                                  13   that two to $3,000?
14     MS. HANGARTNER: Object to form.                        14      A. Yes.
15     MS. MCARTHUR: Object to form.                          15      Q. And who was that?
16     A. It would have been two                              16      A. They would have been --
17 extensions and then the green card.                        17      MR. ALEXIS, III: Object to form.
18 BY MR. HOWARD:                                             18      MR. HOWARD: You can answer.
19     Q. Would that process --                               19      A. That would have been Michael
20     A. Yes.                                                20   Pol, Malvern Burnett and Sachin Dewan.
21     Q. -- was that your understanding                      21      Q. BY MR. HOWARD: And did Mr. Pol
22 when you went to India?                                    22   tell you this about the money before you
23     A. Yes.                                                23   even went over to India yourself?
24     Q. Did you get that understanding                      24      A. Yes.
25 from anyone else besides Mr. Pol?                          25      MS. MCARTHUR: Object to form.

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 1      A. From Malvern Burnett.                               1 BY MR. HOWARD:
 2      Q. Let's just stick with the                           2    Q. Just so we have the time table
 3   discussions with Mr. Pol in early 2006.                   3  down, do you recall when it was you took
 4   Other than discussing the H-2B Visa                       4  your first trip to India?
 5   process and saying you would get skilled                  5    A. It would have been October.
 6   workers, what did he tell you?                            6  That was the only trip I took.
 7      A. As to what? I don't understand Bingle               7    Q. Thank you for clarifying.
 8   what you are asking.                    23:9 - 24:2       8       Now, prior to that trip to
 9      Q. Anything. Just the recruiting                       9  India, about how many conversations did
10   process?                                                 10 you have with Mr. Pol about the process?
11      A. We asked him how much it would                     11    A. About the process, I don't
12   cost for the guys to come over and he                    12 recall. I don't recall how many.
13   told -- we asked who would pay for it.                   13    Q. How many about anything relating
14   He told us the money would be funded by                  14 to the recruitment of Indian workers?
15   the Indians; that Signal would not have                  15    A. There were several calls. I
16   to pay any money to get the guys here.                   16 mean, before we went on the trip I had
17   We asked him how much it was and he said                 17 to, you know, verify the trip
18   it was about two to $3,000 is what the                   18 arrangements and everything. There were
19   Indians paid to come over and for                        19 several conversations at that point in
20   everything. We asked them what was                       20 time, but the process itself probably six
21   involved with us and he said basically                   21 or seven maybe.
22   you fill out the forms and we deliver the                22    Q. Prior to speaking with Mr. Pol
23   Indians to you.                                          23 about the Indian recruitment, your
24      Q. At no cost to you?                                 24 previous experience with him was knowing
25      A. That's correct.                                    25 he had been a marketing consultant for

                                                                                                      7 (Pages 22 to 25)
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       1      Q. When did you find that out?                      1     Q. And your testimony is Signal was
       2      A. That would have been after we --                 2  telling that to the workers right up to
       3   well, during -- I am not really sure                   3  the point until you learned that your
       4   exactly what the time it was, but it                   4  understanding of the process was
       5   would have been in the timing when we                  5  incorrect?
       6   found out that -- when we talked to                    6     MS. HANGARTNER: Object to form.
       7   Patricia about the process and she                     7     A. Yes.
       8   informed us how the process really worked              8 BY MR. HOWARD:
       9   with the green cards.                                  9     Q. And who personally on behalf of
      10      Q. And what was that?                              10 Signal was communicating that to the
      11      A. That --                                         11 workers?
      12      MR. SHAPIRO: Object to form.                       12     MS. HANGARTNER: Object to form.
      13      A. -- to file for a green card you                 13     A. That would have been Ron
      14   could not stay here.                                  14 Schnoor.
      15      MS. HANGARTNER: Let me object as to                15 BY MR. HOWARD:
      16   any conversations that Mr. Bingle may                 16     Q. Were you ever present when Ron
      17   have had directly with Patricia Bollman.              17 Schnoor did that?
      18      MR. HOWARD: I am looking for his                   18     A. Yes.
      19   understanding about the change in the                 19     Q. When was that?
      20   process.                                              20     A. That would have been -- I am not
      21      MS. HANGARTNER: Just wanted to be                  21 sure of the dates. Some time around
      22   clear.                                                22 March or April of '06.
      23      MR. HOWARD: Okay.                                  23     Q. March '07?
      24      A. We found out later that the                     24     A. '07.
      25   process, the H-2B process with the                    25     Q. Is that the one occasion you
Bingle 46:24-47:11
                                                       Page 47                                                   Page 49

       1  extension and the extensions would not                  1  recall Mr. Schnoor giving that assurance
       2  support the green card filing without a                 2  to the workers?
       3  lot of time delays and hassles on the                   3     MS. HANGARTNER: Can I interrupt.
       4  part of the guys that came over.                        4  You are limiting this to Pascagoula;
       5 BY MR. HOWARD:                                           5  correct?
       6     Q. In fact, they would actually                      6     MR. HOWARD: Yes, if that is what you
       7  have to go back to India --                             7  know.
       8     A. Right.                                            8     MS. HANGARTNER: Yes.
       9     Q. -- in order to qualify to come                    9     A. Yes, I don't deal with Texas.
      10 back on the green card?                                 10 BY MR. HOWARD:
      11     A. Right. That is correct.                          11     Q. So you don't know what was told
      12     MR. ALEXIS, III: Object to form.                    12 to the Texas workers at all?
      13 BY MR. HOWARD:                                          13     A. No.
      14     Q. And when you learned that, would                 14     Q. So the Mississippi workers your
      15 that have been December of 2008; is that                15 testimony is those workers were told by
      16 about right?                                            16 Mr. Schnoor in March of April of '07,
      17     A. I don't recall the exact time.                   17 that we will do what we have to do for
      18     Q. Prior to learning that, was                      18 filings for green cards for you?
      19 Signal telling all the workers you are                  19     A. That's correct.
      20 going to get your green cards, we are                   20     Q. Other than that occasion, were
      21 going to file for green cards for you?                  21 you present at any other time when Mr.
      22     A. That is two different things.                    22 Schnoor made that presentation to
      23 We told them that we would do whatever we               23 workers?
      24 could to support the filing of the green                24     A. I believe there was one other
      25 cards.                                                  25 time.

                                                                                                       13 (Pages 46 to 49)
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 1      Q. When was that?                                    1      Q. General matters.
 2      A. That would have been later on                     2      A. Most of the discussion was over
 3   that year.                                              3   the food. The biggest thing was the food
 4      Q. Fall or late in that year?                        4   and the number of people in the bunks.
 5      A. I don't recall.                                   5      Q. Did he ever report to you that
 6      Q. And what did he say on that                       6   the Indian workers were asking when they
 7   occasion?                                               7   were going to get their green cards?
 8      A. The same thing basically, that                    8      A. I don't recall if he did.
 9   we would do whatever, you know, we could                9      Q. Do you recall ever giving Mr.
10   to support their filing for their                      10   Snyder instructions what to tell workers
11   extensions and green card.                             11   or not to tell workers concerning green
12      Q. Do you know what other Signal                    12   cards?
13   representatives were telling the workers               13      A. No.
14   in Mississippi during the course of 2007               14      Q. Did you ever instruct him not to
15   about whether they would get green cards               15   discuss green cards with workers?
16   or not?                                                16      A. No.
17      A. No.                                              17      MR. HOWARD: Mark this as the next
18      Q. Have you -- I guess you did not                  18   exhibit, please. Mr. Bingle, I'm showing
19   read Mr. Snyder's testimony about his                  19   you what has been marked Exhibit 515. It
20   understanding what he was communicating                20   is application for alien employment
21   to the workers?                                        21   certification on behalf of 180 unnamed
22      A. I did not read his testimony.                    22   fitters, dated June 2006, baring your
23      Q. Mr. Snyder was at one point the                  23   signature. It is Bates Burnett-CY-00024
24   camp boss in the Mississippi camp; is                  24   through 00025.
25   that right?                                            25

                                                  Page 51                                                     Page 53

 1      A. Yes.                                              1         (Plaintiff's Exhibit 515 was
 2      Q. He reported to you?                               2   marked for identification by the court
 3      A. Yes.                                              3   reporter and said exhibit is attached
 4      Q. And did you assign him to be the                  4   hereto.)
 5   camp boss?                                              5      Q. BY MR. HOWARD: Have you seen
 6      A. Yes.                                              6   this document before?
 7      Q. Did you give him the assignment                   7      A. Yes.
 8   of sticking around in the evenings to                   8      Q. Is that your signature on page
 9   handle complaints from Indian workers?                  9   2?                                        Bingle
10      A. He did that on his own. I did                    10      A. Yes.                                53:11 - 55:10
11   not instruct him to do it, but he did                  11      Q. Did you sign this document on
12   that.                                                  12   June 2nd, 2006?
13      Q. Was he acting in his capacity as                 13      A. Yes.
14   a Signal manager when he did that?                     14      Q. Did you sign this under the
15      A. Yes.                                             15   penalty of perjury?
16      Q. When you learned he was doing                    16      A. Yes.
17   that did you tell him not to?                          17      Q. See that the top of the second
18      A. No.                                              18   page says the exact dates you expect to
19      Q. Did he ever report back to you                   19   employ the alien and it is given 10-01-06
20   what he was hearing from the workers?                  20   to 7-31-07; correct?
21      A. Yes.                                             21      A. Yes.
22      Q. And what did he report back to                   22      Q. That an accurate representation
23   you? What did he report back?                          23   to the U.S. Government?
24      A. All the different things he                      24      A. Yes.
25   reported or?                                           25      Q. How do you reconcile the fact

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 1  that you were telling the government that                 1   record, before you look at this document.
 2  you were only going to employ these                       2   When you sign Exhibit 515 on June 2nd,
 3  aliens until July 31st, 2007, and you                     3   2006, your understanding was it was
 4  testified here that it was Signal's                       4   Signal's intent to employ the H-2B
 5  intent to apply for extensions and green                  5   workers for longer than July 31st, 2007;
 6  cards and give them permanent employment.                 6   correct?
 7     A. Under the advice of our                             7      A. That's correct.
 8  immigration attorney at the time, Malvern                 8      MR. HOWARD: The next document
 9  Burnett, this is the process used to file                 9   Exhibit 516, is a two-page letter over
10 for the H-2B process. You can only file                   10   your signature dated July 26th, 2006.
11 for an H-2B Visa for 10 months, and that                  11   The Bates range here is Burnett-CY-00358
12 was the 10-month period on this                           12   through 359. I ask you to review this
13 application for filing the extensions.                    13   document, please.
14 He told us that would be taken care of at                 14        (Plaintiff's Exhibit 516 was
15 a later date.                                             15   marked for identification by the court
16     Q. Did you ask Mr. Burnett though,                    16   reporter and said exhibit is attached
17 I am a little uncomfortable signing                       17   hereto.)
18 something under oath that tells me we are                 18      Q. BY MR. HOWARD: Have you had an
19 only going to employ the aliens for 10                    19   opportunity to review that?
20 months when we have the intent to keep                    20      A. Yes.
21 them longer?                                              21      Q. And this is a letter that you
22     MS. HANGARTNER: Object to form.                       22   sent July 26, 2006, to the United States
23     A. He said that is the way the                        23   Department of Homeland Security in St.
24 process works.                                            24   Albans, Vermont?
25 BY MR. HOWARD:                                            25      A. Yes.

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 1      Q. I am asking you though, did you                    1      Q. And that is your signature?
 2   express some discomfort to Mr. Burnett                   2      A. Yes.
 3   before signing this document?                            3      Q. And how was this sent? Was this
 4      A. Yes.                                               4   sent by U.S. Mail or by fax over the
 5      Q. And he told you that was the way                   5   wire?
 6   the process worked?                                      6      A. I don't recall how it was sent.
 7      A. Yes.                                               7      Q. It was sent to the US Department
 8      Q. And so you just followed his                       8   of Homeland Security?
 9   advice?                                                  9      A. I believe this was sent. We         Bingle
10      A. Yes.                                              10   signed the letter and gave them to        57:12 - 61:21
11      Q. Did you discuss that document                     11   Malvern Burnett and he sent them off.
12   with anybody else at Signal before                      12      Q. Did Malvern Burnett prepare the
13   signing it?                                             13   letter?
14      A. I probably would have discussed                   14      A. Yes.
15   it with Lisa Spears.                                    15      Q. Did you read it before you
16      Q. Who is she?                                       16   signed it?
17      A. She is our contracts                              17      A. Yes.
18   administrator or contracts manager.                     18      Q. The last two sentences, "these
19      Q. Does she have a legal                             19   peak load temporary workers will not
20   background?                                             20   become part of the permanent work force.
21      A. I don't know.                                     21   They will work for the length of the
22      Q. Did you express to her your                       22   prescribed dates of need, will be paid in
23   concern about signing that document?                    23   accordance with the prevailing wage, and
24      A. I don't recall if I did.                          24   will return to their home country at the
25      Q. Mark this please. Just for the                    25   end of employment." Those are the

                                                                                                     15 (Pages 54 to 57)
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 1  references to the Indian workers being                   1     Q. They were inconsistent with
 2  recruited; correct?                                      2  Signal's intent?
 3     A. That is correct.                                   3     A. Yes.
 4     Q. Were those accurate statements?                    4     Q. So they were inaccurate
 5     A. They were --                                       5  statements to tell the government this in
 6     MS. HANGARTNER: Object to form.                       6  July 2006?
 7     A. They were statements that were                     7     MS. HANGARTNER: Object to form.
 8  again directed by Malvern Burnett as part                8     MR. ALEXIS, III: Object to form.
 9  of the process to get the guys over here                 9     A. Yes.
10 under an H-2B Visa.                                      10 BY MR. HOWARD:
11 BY MR. HOWARD:                                           11     Q. Did you have any problem signing
12     Q. I understand that. Were they                      12 a letter with inaccurate statements even
13 accurate and truthful statements?                        13 though your attorney was telling you to
14     MR. ALEXIS, III: Object to form.                     14 do it?
15     A. At the time of signing this                       15     MR. ALEXIS, III: Object to form.
16 letter with the H-2B process yes that was                16     A. Yes, we had problems -- I mean,
17 a correct statement.                                     17 I had a problem with it, but it's what
18 BY MR. HOWARD:                                           18 the immigration attorney who was versed
19     Q. When you signed this letter in                    19 in the H-2B process told us this is how
20 July, 2006, did you intend for the Indian                20 the process works.
21 recruits that you were bringing over to                  21 BY MR. HOWARD:
22 this country to work on a temporary basis                22     Q. When you say "told us" did he
23 and go back to Indian at the end of their                23 tell someone else besides yourself?
24 employment or were you intending to bring                24     A. I don't recall who all he told.
25 them permanently and file for green cards                25     Q. Did you go to Mr. Schnoor and

                                                  Page 59                                                     Page 61

 1  for them?                                                1  say, look, I have a problem. Our
 2      A. We were intending to file for                     2  immigration lawyer is asking me to lie to
 3  green cards for them.                                    3  the US Government?
 4      Q. So if you intending to file for                   4     MS. HANGARTNER: Object to form.
 5  green cards and had that intent in your                  5     MR. ALEXIS, III: Object to form.
 6  mind when you signed this letter, how is                 6     A. We discussed it and were told by
 7  it that you can say that it was an                       7  who we thought was a reputable
 8  accurate statement to tell the US                        8  immigration attorney at the time that
 9  Government that they will work only                      9  that's the way the process worked.
10 temporarily and go back to India when the                10 That's just the US Government.
11 work is done?                                            11 BY MR. HOWARD:
12      MS. HANGARTNER: Object to form.                     12    Q. So you just said Mr. Burnett
13 Asked and answered.                                      13 says, you know, it is okay to lie to the
14      MR. ALEXIS, III: Object to form.                    14 US Government, that's the way it works,
15      A. That is what we were told by                     15 and you accepted it?
16 Malvern Burnett the way the process                      16    MS. HANGARTNER: Object to form.
17 works.                       Bingle 59:19--60:20         17    MR. ALEXIS, III: Object to form.
18 BY MR. HOWARD:                                           18    A. Yes.
19      Q. I understand you are saying that                 19 BY MR. HOWARD:
20 Malvern Burnett told you to say this. I                  20    Q. And you signed this letter?
21 understand that he drafted the letter.                   21    A. Yes.
22 I'm asking you if those two sentences, as                22    Q. Did you ask him to change
23 drafted by Malvern Burnett, were                         23 anything in the letter?
24 consistent with Signal's intent or not?                  24    A. I don't recall if we asked him
25      A. No.                                              25 to change anything or not.

                                                                                                    16 (Pages 58 to 61)
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 1  contract person?                                          1      Q. It says, "If the employee will
 2    A. Yes.                                                 2   not work or just does not work out, the
 3    Q. And Signal considered this                           3   return ticket to India needs to be for    Bingle
 4  potential?                                                4   Global's account also." Do you see that?
 5    A. We talked about it briefly.                          5      A. Yes.
                                                                                                            72:6 - 73:22
 6    Q. And you rejected it?                                 6      Q. So is it your intent that any
 7    A. Yes.                                                 7   Indian workers who came over that did not
 8    Q. As too expensive?                                    8   work out would be sent back to India?
 9    A. Yes.                                                 9      A. Yes.
10    Q. The Indians were going to be                        10      Q. And they would not get green
11 cheaper for Signal?                                       11   cards?
12    A. Yes.                                                12      A. That is correct.
13    MS. HANGARTNER: Object to form.                        13      Q. What do you mean by working out?
14 BY MR. HOWARD:                                            14      A. Could be a variety of things.
15    Q. In the e-mail that you sent to                      15   They could come over and just not like
16 Ronald Schnoor and Lisa Spears on                         16   the area. They could get home sick.
17 February 27, 2006, on the next to last                    17   Just anything in general that would make
18 page, you start that, "Speaking with                      18   it where they would not be a valued
19 Michael Pol this morning he assured me                    19   employee for Signal.
20 that any Indian workers we would get                      20      Q. Did Signal also have the power
21 would be more willing to work on repairs                  21   to determine that a worker was not
22 and conversions. That is the background                   22   working out and needs to go home?
23 they come from." What are the repairs                     23      A. Yes.
24 and conversions that were referenced?                     24      Q. And that was your intent from
25    A. The repair and conversion work                      25   the start? That was your understanding

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 1   is the work we do at Signal as opposed to                1   from the start of this recruitment
 2   working in a fabrication shop where it is                2   process?
 3   cleaner and well lit. It is less                         3      A. That if a worker --
 4   stressful and less -- working on a repair                4      Q. If Signal decided that a worker
 5   conversion is a lot harder work then                     5   was not working out for some reason
 6   working in a fabrication shop.                           6   according to Signal they could be sent
 7      Q. And who were the Indian workers                    7   home?
 8   more willing to do this work then -- that                8      A. That is the way we do all our
 9   is a bad question.                                       9   employees, yes.
10         This suggests that the Indian                     10      Q. But you've never done employees
11   workers as opposed to some other group                  11   from India before; correct?
12   would be more willing to do this work.                  12      A. That's correct.
13   Who is the other group you had in mind?                 13      Q. And do most of your employees
14      A. I don't know what Michael was                     14   pay recruiting fees to join Signal?
15   referencing at that point. I mean, he                   15      A. No.
16   just -- they would be more willing to                   16      Q. So you would agree with me there
17   work on repair and conversions then                     17   was more of a cost to an Indian worker
18   anyone else. I guess he was making a                    18   that was paying recruiting fees and
19   general statement at that point.                        19   moving half way around the world to come
20      Q. In the next e-mail from you on                    20   to work for Signal then your normal
21   the preceding page, but later in time on                21   employees?
22   February 28, 2006, you wrote an e-mail to               22      A. Yes.
23   Ronald Schnoor and Lisa Spears; do you                  23      Q. You say we need to -- "that the
24   see that?                                               24   return ticket needs to be for Global's
25      A. Yes.                                              25   account also." So you did not want to

                                                                                                    19 (Pages 70 to 73)
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 1      A. Yes.                                               1   an hour. I don't know how long the
 2      Q. And when you talked with the                       2   meeting lasted.
 3   Consulate, did they raise the issue of                   3       Q. How many workers were there?
 4   green cards?                                             4       A. There were probably about 20.
 5      A. No.                                                5       Q. Was that meeting conducted in
 6      Q. Did they ask you how long the                      6   English or some other language?
 7   Signal's need for the workers existed?                   7       A. A little of both.
 8      A. I don't believe so.                                8       Q. What was the other language?
 9      Q. Did you tell them that the need                    9       A. That would have been Hindi, as
10   was only for 10 months?                                 10   far as I know.
11      A. We -- I told them -- I never                      11       Q. And was the Hindi portion
12   gave them a specific date range, no.                    12   translated into English so you could --
13      Q. What about Mr. Burnett?                           13       A. No.
14      A. Not that I recall.                                14       Q. And I take it you don't
15      Q. Do you recall anything about                      15   understand Hindi?
16   what you told the US Consulate?                         16       A. No.
17      A. We discussed various things,                      17       Q. The portion that was conducted
18   most of it was just a brief introduction                18   in English, what was said and by whom?
19   of Signal, what we did, why, how the                    19       A. I just greeted the guys and told
20   Coast was devastated by the hurricane and               20   them who I was in English, told them a
21   asked if they heard about Hurricane                     21   little bit about Signal, and that we were
22   Katrina, and just general information on                22   looking forward to working with them.
23   that. And we told them we needed the                    23   And then I left, and Malvern and Sachin
24   workers because our work force had moved                24   stayed behind and talked to the guys.
25   away. There were really no specific                     25       Q. During the time you were there,

                                                   Page 83                                                       Page 85

 1  questions from any of them.                               1   was anything discussed about green cards?
 2     Q. Did any of the conversations                        2      A. No.
 3  with Mr. Burnett in advance of the visit                  3      Q. Was anything discussed about
 4  to the Consulate give you any concerns                    4   H-2B Visas?
 5  over what he was advising?                                5      A. No.
 6     A. No.                                                 6      Q. Was anything discussed about
 7     MR. ALEXIS, III: Object to form.                       7   where they would be living when they came
 8 BY MR. HOWARD:                                             8   to Signal?
 9     Q. Other than meeting with the                         9      A. No.
10 Consulate, was there any other purpose                    10      Q. Was anything discussed about the
11 for your visit to India?                                  11   work when they came to Signal?
12     A. No.                                                12      A. Just what I told them about rig
13     Q. Did you do anything else while                     13   repair and not a whole lot.
14 you were in India related to the                          14      Q. At the time that you went to
15 recruitment of Indian workers?                            15   India had you prepared on behalf of
16     A. I sat in on one meeting that                       16   Signal an offer of employment for Indian
17 Sachin and Malvern had with a group of                    17   recruits?
18 the Indians.                                              18      A. I did not prepare it, but there
19     Q. Where was that?                                    19   was one prepared.
20     A. That was at the hotel in New                       20      Q. Who prepared it?
21 Deli.                                                     21      A. I don't recall who prepared it.   Bingle
22     Q. Do you recall the hotel?                           22      Q. Was it prepared for your
23     A. No.                                                23   signature?
                                                                                                          85:25 - 86:25
24     Q. How long did that meeting last?                    24      A. Yes.
25     A. I was there for probably about                     25      Q. Let me show you what has already

                                                                                                       22 (Pages 82 to 85)
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      1   been previously marked as Exhibit 381 in                1      Q. Did Signal prepare for you to
      2   this matter. Is this the offer of                       2   provide or for Sachin Dewan to provide to
      3   employment that had been prepared for                   3   the recruits any other offer of
      4   your signature?                                         4   employment in India?
      5       A. Yes.                                             5      MS. HANGARTNER: Object to form.
      6       Q. Did you actually sign this                       6      MR. HOWARD: Bad question. I'm
      7   document? Not this particular copy of                   7   sorry.
      8   it, but a version of this?                              8      Q. BY MR. HOWARD: Was it your
      9       A. I don't recall if I signed it                    9   intent that Exhibit 381, a signed version
     10   while I was -- I think I did sign some of              10   of this agreement, be given to every
     11   them while I was there. The rest of them               11   recruit who was being given an offer of
     12   would have been signed by whoever had the              12   employment to come to Signal; correct?
     13   power of attorney, I believe.                          13      A. Yes.
     14       Q. Would that have been Sachin                     14      Q. Before they arrived in
     15   Dewan?                                                 15   Mississippi or Texas, whichever was their
     16       A. I believe so.                                   16   final destination at Signal, was any
     17       Q. And he had the authority to sign                17   other offer of employment given to these
     18   your name to these offers of employment?               18   workers on behalf of Signal, to your
     19       A. Yes.                                            19   knowledge?
     20       Q. And is it your understanding                    20      A. I don't know.
     21   that this same offer of employment was                 21      Q. You don't know of any?
     22   given to every Indian recruit who was --               22      A. I don't know if -- we gave them
     23   who had passed the test and was going to               23   some information on housing and tools and
     24   be coming to work for Signal?                          24   some other things. I don't know if it
     25       A. Yes.                                            25   was another offer of employment or what

Bingle 87:1-13                                         Page 87                                                     Page 89

      1     Q. Was this offer of employment                       1   it was, but we gave them some information
      2  also -- what was the purpose of giving                   2   on what would be required of them when
      3  them this offer of employment; do you                    3   they got here.
      4  know?                                                    4      Q. And what would be required in
      5     A. No, I don't know.                                  5   terms of salary deductions?
      6     Q. Did you understand it to be                        6      A. Yes.
      7  Signal's offer of employment?                            7      Q. Anything else?
      8     A. Yes.                                               8      A. I don't recall the specifics.
      9     Q. So you understood that the                         9      Q. For example, the workers who
     10 Indian workers when they got this would                  10   were being given an offer of employment
     11 rely on it as what Signal was offering                   11   had been tested for their skills;
     12 for them?                                                12   correct?
     13     A. Yes.                                              13      A. Yes.
     14     Q. Just for the record, again,                       14      Q. Welders were given an actual
     15 every worker who Signal was recruiting to                15   skills test welding?
     16 come work for Signal got the same offer                  16      A. Yes.
     17 of employment?                                           17      Q. And that test was conducted by
     18     A. I don't know --                                   18   Signal employees; correct?
     19     MS. HANGARTNER: Object to form.                      19      A. It was witnessed by Signal
     20     A. I don't know that because I did                   20   employees, yes.
     21 not hand them out.                                       21      Q. In fact, Signal insisted its
     22 BY MR. HOWARD:                                           22   employees go over there to witness the
     23     Q. Was it the intent of Signal to                    23   testing; right?
     24 have everyone get them?                                  24      A. That is correct.
     25     A. Yes.                                              25      Q. Signal did not want to rely on

                                                                                                         23 (Pages 86 to 89)
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Bingle
90:4-8;
90:4-19                                                 Page 90                                                      Page 92

    1     anyone else to determine if these workers                1   Signal, had anyone from Signal itself,
    2     were qualified to come work at Signal?                   2   that is an employee of Signal, gone to
    3        A. Yes.                                               3   India other than yourself and the
    4        Q. And everyone who was given an                      4   gentlemen who were witnessing the skills
    5     offer of employment, such as Exhibit 381,                5   test?
    6     had passed this test to the satisfaction                 6      A. No.
    7     of Signal's employees; correct?                          7      Q. Do you know whether the
    8        A. Yes.                                               8   gentlemen who went to administer and
    9        Q. Did you, on behalf of Signal,                      9   witness the skills tests were authorized
   10     tell any recruit whom you gave this offer               10   to say anything to the workers on behalf
   11     of employment, a version of Exhibit 381,                11   of Signal?
   12     that when they came to Signal they would                12      A. I don't know that we
   13     receive further testing, and if they did                13   specifically told them they could not say
   14     not pass that testing their salary, which               14   anything. They were there to witness the
   15     is listed in Exhibit 381 as $18 per hour                15   test, administer the test and witness the
   16     could be reduced?                                       16   test.
   17        A. Did I tell anyone that?                           17      Q. And I asked before about the
   18        Q. Correct.                                          18   welding tests. Tests were given to
   19        A. No.                                               19   fitters as well; correct?
   20        Q. Do you know if any of the Signal                  20      A. Yes.
   21     employees who you sent or Signal sent to                21      Q. That's a written test?
   22     conduct or witness the testing were                     22      A. It is a written test, yes.
   23     instructed to the tell the workers that?                23      Q. Did you on behalf of Signal or
   24        A. No.                                               24   anyone else on behalf of Signal, to your
   25        Q. Do you know whether any of Mr.                    25   knowledge, tell the Indian recruits who

                                                        Page 91                                                      Page 93

    1  Dewan, Mr. Pol, or Mr. Burnett were                         1   received a signed version of Exhibit 381
    2  instructed to tell the recruits that                        2   that if they came to Signal and their
    3  fact?                                                       3   work was not to Signal's satisfaction
    4     A. No, I don't know.                                     4   that they would be terminated and sent
    5     Q. Is there anyone at Signal who                         5   back to India?
    6  would know that?                                            6      A. Could you repeat that again, the
    7     A. Not that I am aware of.                               7   first part of it.
    8     Q. Did anyone from Signal go to                          8      MR. HOWARD: Could you read that
    9  India in connection with the recruiting                     9   back.
   10 process other than yourself and employees                   10      (The reporter read the record.)
   11 who conduct or witness the tests?                           11      A. No.
   12     A. At which time?                                       12      Q. BY MR. HOWARD: When -- prior to
   13     Q. Before any Indian worker arrived                     13   going to India, had you had any
   14 at Signal? The first Indian workers                         14   conversations or communications with
   15 arrived at Signal in late October 2007?                     15   Sachin Dewan?
   16     A. Yes.                                                 16      A. I don't believe so.
   17     Q. So prior to a late October 2007,                     17      Q. And you met him for the first
   18 other than yourself?                                        18   time when you got there?
   19     MS. HANGARTNER: October 2006.                           19      A. Yes.
   20     MR. HOWARD: I'm sorry. Now you've                       20      Q. So that was also the first time
   21 got me doing it.                                            21   you spoke with him?
   22     MS. HANGARTNER: It's okay.                              22      A. As far as I remember. I might
   23 BY MR. HOWARD:                                              23   have talked to him on the phone briefly
   24     Q. So prior to late October 2006,                       24   but we never had any in depth
   25 when the first Indian workers arrived at                    25   conversations.

                                                                                                           24 (Pages 90 to 93)
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 1      Q. When you got there did you have                     1   we've got to do is get you situated.
 2   in depth conversations with him?                          2   There is processes we have to go through.
 3      A. No.                                                 3   We have to file for extensions. We have
 4      Q. What did you discuss with him?                      4   to do everything in due course." And
 5      A. Just not really anything. He                        5   that would all come, but the first thing
 6   was more of a guide taking me around to                   6   was to get everybody settled and get them
 7   the different consulates.                                 7   ready to go to work.
 8      Q. Did you discuss with him the                        8      Q. And did they tell you anything
                                           Bingle
 9   H-2B Visa program?                                        9   else in those first couple days about
10      A. No.                             94:11 - 23         10   what they had been promised when they     Bingle
11      Q. Did you discuss with him green                     11   were in India?
                                                                                                             96:13-25
12   cards?                                                   12      A. No.
13      A. No.                                                13      Q. Going back to your conversation
14      Q. Did he ask you any questions                       14   with Mr. Dewan, is it your testimony that
15   about what Signal was going to be doing                  15   you never told them Signal would apply
16   with respect to green cards?                             16   for green cards for the workers?
17      A. No.                                                17      A. Told?
18      Q. Did you have any discussion with                   18      Q. Sachin Dewan.
19   him at all about what representations                    19      A. I don't recall if I told him
20   were being made to the workers as to what                20   that or not. I don't recall having an in
21   would happen when they got to the US                     21   depth conversations with Sachin about the
22   vis-a-vis green cards?                                   22   green card process.
23      A. No.                                                23         Our understanding was that the
24      Q. Now, in late October, early                        24   process was all Michael Pol and Malvern
25   November 2006, workers began arriving --                 25   and Sachin were all aware of the process.

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 1      A. Yes.                                                1      Q. How did you have that
 2      Q. -- correct? How soon after                          2   understanding?
 3   workers arrived did you come to learn                     3      A. Just based on the conversations
 4   that they were expecting to get green                     4   with Michael and Malvern that they had
 5   cards?                                 Bingle             5   worked together before. They had worked
 6      A. The day the first ones arrived.                     6   together as a team.
                                            94:24-96:7,
 7      Q. How did that happen?                                7      Q. So they told you that Sachin
 8      A. I met -- I went to the airport 95:2-96:7            8   Dewan knows the process?
 9   and met the guys at the airport and we                    9      A. Yes.
10   had buses arranged to bring them from the                10      Q. Did the workers that you picked
11   airport to Signal. And I went back to                    11   up at the airport and brought to get
12   Signal just to give them -- you know,                    12   settled in in Mississippi tell you how
13   just to talk to them and give them a face                13   much money they paid in order to have the
14   to -- you know, being far from home just                 14   opportunity to come to work for Signal?
15   somebody to talk to, somebody that they                  15      A. No.
16   could, you know, just if they had any                    16      Q. When did you first learn how
17   questions about anything that was going                  17   much money they had paid?
18   on. And once they got to the housing                     18      A. I don't recall when we first
19   facility a group of them come up and said                19   learned about it. John Sanders is the
20   when do we get our green cards.                          20   one that brought it to our attention.
21      Q. And what did you tell them?                        21      Q. Do you know if it was a matter
22      A. At that point, I mean it kind of                   22   of days? Weeks? Months after workers
23   took me by surprise that they were                       23   begin?
24   thinking they were getting green cards                   24      A. I don't remember.
25   right away. I said, "Well, first thing                   25      Q. Do you recall the conversations

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 1   or were you party to conversations at                   1     A. We were lied to by Michael Pol
 2   Signal about terminating Mr. Pol?                       2  about the amount of money the Indians
 3      A. Yes.                                              3  paid to come over.
 4      Q. Do you recall when those were?                    4     Q. At that point, that is before
 5      A. Later after we found out that he                  5  November 22, 2006, did Signal have an
 6   had lied to us about how much the guys                  6  understanding that Mr. Pol had lied to
 7   were going to pay to come over.                         7  them about anything else other than the
 8      Q. And if I represent that was in                    8  money?
 9   November of 2006, would that be                         9     MS. MCARTHUR: Object to form.
10   consistent with your general                           10    A. At that point in time, I don't
11   recollection?                                          11 know if we knew the process, the green
12      A. I don't recall.                                  12 card process would take longer. I don't
13      MR. HOWARD: For the record, I am                    13 recall at that point in time. I don't
14   showing you what has been marked as                    14 believe this was at this point.
15   Exhibit 520. It is a two-page document                 15 BY MR. HOWARD:
16   with Bates range SIGE 0002092 to 2093 on               16    Q. But the lie about the money was
17   Signal International letterhead, dated                 17 sufficient for Signal in November of 2006
18   November 22, 2006, a letter from Ron                   18 to terminate Mr. Pol?
19   Schnoor to Michael Pol.                                19    A. Yes.
20         (Plaintiff's Exhibit 520 was                     20    Q. In what way did you understand
21   marked for identification by the court                 21 Mr. Pol had lied to the workers?
22   reporter and said exhibit is attached                  22    MS. MCARTHUR: Object to form.
23   hereto.)                                               23    A. Well, maybe he had not lied to
24      Q. BY MR. HOWARD: Have you seen                     24 the workers. Maybe it was just that he
25   this letter before?                                    25 had charged them more money then he told

                                                  Page 99                                                   Page 101

 1    A. Yes.                                                1  us.                   Bingle 101:3-5
 2    Q. Did you see it before it went                       2 BY MR. HOWARD:
 3  out November 22, 2006?                                   3    Q. And he charged them an amount of
 4    A. Yes.                                                4  money that Signal thought was exorbitant?
 5    Q. Was it discussed with you by Mr.                    5    A. Yes.
 6  Schnoor or others?                                       6    Q. How did you learn about the
 7    A. Yes.                                                7  amounts of money that Mr. Pol and the
 8    Q. And who else besides Mr.                            8  others had in fact charged the workers?
 9  Schnoor?                                                 9    MR. ALEXIS, III: Object to form.
10    A. I don't recall who else was all                    10    A. Some of the guys out in the camp
11 in the conversations.                                    11 were complaining about it to John
12    Q. And what were those                                12 Sanders.
13 conversations leading up to this letter?                 13 BY MR. HOWARD:
14    MS. MCARTHUR: Object to form.                         14    Q. And you said it was causing a
15    A. That we felt we had been lied                      15 problem, some dissension in the camp;
16 to, and the Indian workers had been lied                 16 correct?
17 to. And that it was causing dissension                   17    A. Yes.
18 amongst the workers keeping them from                    18    Q. In what way was the amount of
19 doing their work. It was taking away                     19 fees that the workers had paid causing
20 their focus and in that case it was a                    20 problems?
21 problem for them and a problem for us                    21    A. At that point, I don't believe
22 because they were Signal employees.                      22 that the guys realized that Signal was
23 BY MR. HOWARD:                                           23 not involved in how much money they paid.
24    Q. In what way had Signal been lied                   24 They thought that we were more involved
25 to and by whom?                                          25 in bringing them over then we really

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 1  3,000?                                                   1  all these fees, $15,000 a person to come
 2    MS. MCARTHUR: Object to form.                          2  here, and if they don't work out Signal
 3    A. No, he did not.                                     3  is going to send them home and not file
 4 BY MR. HOWARD:                                            4  for a green card for them maybe it is
 5    Q. Going back to Mr. Sanders notes                     5  better to not bring them at all?
 6  preceding the meeting, Signal understood                 6     MS. HANGARTNER: Object to form.
 7  that the assurance of the green card is                  7     MR. ALEXIS, III: Object to form.
 8  what they relied on to come to Signal?                   8     A. Did I think that at the time?
 9    MR. ALEXIS, III: Object to form.                       9 BY MR. HOWARD:
10    MS. HANGARTNER: Are you asking him                    10     Q. Correct.
11 for the best of his knowledge or to refer                11     A. Based on what we knew at the
12 to this?                                                 12 time if they paid that much money to come
13    MR. HOWARD: I'm asking him whether                    13 here based on the amount of time the
14 his knowledge going into the meeting with                14 extensions and everything they could have
15 Mr. Pol was consistent with the notes                    15 worked, then you know it would -- still
16 from Mr. Sanders.                                        16 would have been profitable for them to be
17    Q. BY MR. HOWARD: Whether going                       17 here. They were -- they could pay off
18 into that meeting you understood that the                18 what they owed and made a little bit of
19 reason the Indian workers had come to                    19 money.
20 Signal was the assurance of a green card?                20     Q. So you were making an economic
21    MR. ALEXIS, III: Object to form.                      21 decision on their behalf?
22    A. My understanding was that they                     22     A. I'm making an economic
23 came over here because we paid higher                    23 decision -- well, yes, at that point
24 wages, and they come over under the                      24 that's all we could go on. They were
25 process. Once I saw this, then yeah, I                   25 already here and had already paid the

                                                 Page 115                                                     Page 117

 1  mean we found out that some of the guys                  1   money.
 2  said that they only came because they                    2      Q. I am talking about the ones that
 3  were getting a green card.            Bingle             3   were not here yet.
 4 BY MR. HOWARD:                         115:9-19;          4      A. The ones that weren't there had
 5     Q. Did that cause you concern?                        5   still paid some of the money. We did not
                                          115:9 - 118:5
 6     A. I don't recall if it caused me                     6   know at that point how much. So, yes, we
 7  concern since we were planning on going                  7   were making an economic decision.
 8  for the green cards.                                     8      Q. Okay. Just so I understand.
 9     Q. Even as of November 20th, were                     9   You were deciding on behalf of the people
10 you planning on going for the green cards                10   who had not yet come that they had
11 for every worker that was coming from                    11   already paid money which you assumed
12 India?                                                   12   would not be refunded; correct?
13     A. Again, under the same basis as                    13      A. That is correct.
14 before as long as they met Signal's                      14      Q. And that was an assumption on
15 expectations, yes.                                       15   your part?
16     Q. So if they did not meet Signal's                  16      A. Yes.
17 expectations Signal would not go for                     17      Q. And you thought to yourself,
18 their green card?                                        18   well, even if they don't ultimately work
19     A. That's correct.                                   19   out and we don't get them the green card,
20     Q. Did you ever think as of                          20   and even though we know that that is what
21 November 2006, when there are still                      21   they are coming for for the green card we
22 Indian workers over in India that have                   22   will pay them enough that they will be
23 not yet come, that if they are only                      23   able to pay back the recruiting fees and
24 coming here to get the green card and                    24   maybe make a little bit of money so it is
25 there is a chance they are going to pay                  25   worth it to them, so we will keep

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 1  bringing them in.                                       1   skill levels up?
 2     MS. HANGARTNER: Object to form.                      2      A. Then if they could not get their
 3 BY MR. HOWARD:                                           3   skill levels up then they would be
 4     Q. Is that what you telling me?                      4   terminated.
 5     A. Yes.                                              5      Q. Did these workers include
 6     Q. Do you see in Mr. Sanders' notes                  6   welders and fitters who had taken the
 7  that he said that workers took out loans                7   tests administered and overseen by Signal
 8  from family members, or else pledged                    8   employees?
 9  houses, land, farms, et cetera as                       9      A. Yes.
10 collateral to money lenders.                            10      Q. Did you have an understanding
11     MS. HANGARTNER: Alan, which page?                   11   why they were able to pass the tests in
12     MR. HOWARD: The first page. It is                   12   India and yet were not turning out to be
13 2084. They are out of order.                            13   the best workers when they got to Signal?
14     MS. HANGARTNER: Thank you.                          14      A. We had various -- we thought
15 BY MR. HOWARD:                                          15   different things. We did not know
16     Q. Did Mr. Sanders indicate that                    16   exactly why.
17 fact to you as well going in to the                     17      Q. Did you ever come to an
18 November 20th meeting?                                  18   understanding as to why?
19     A. I was probably given a copy of                   19      A. Some of them just were not the
20 this. I don't recall all the details.                   20   guys that tested. Some of them did not
21     Q. Now, it says in the second page,                 21   test at all.
22 front on which M. Pol is wrong. And                     22      Q. How do you know that?
23 under the heading Signal, the first                     23      A. Well, we don't know that they
24 bullet point is not providing us with the               24   did not test, but some of the guys just
25 best workers, only those that paid the                  25   -- I mean, if they passed the test over

                                                Page 119                                                      Page 121

 1  money. Was that your feeling in November                1   there their skill level when they got
 2  2006?                                                   2   here there was no way that they could
 3    A. Some of the guys that come over                    3   have passed the test over there and then
 4  that -- that yes.                                       4   come over here and perform at such a low
 5    Q. Okay. So already by November                       5   level.
 6  2006, you had an indication that the                    6      Q. And you knew this in November
 7  workers who were being recruited from                   7   2006?
 8  India were not the best workers and were                8      A. I don't recall exactly. I mean,
 9  not what you had expected; correct?                     9   we had a lot of people coming in and we
10    A. That's correct.                                   10   had a lot of works. I don't know that --
11    Q. So did you already have an                        11   I mean, we worked with everybody so they
12 indication by November 2006, that some of               12   had some skills.
13 these workers were not going to work out                13      Q. But in November 2006, is it fair
14 and you would not be filing for green                   14   to say there was some dissatisfaction
15 cards for them?                                         15   with the workers that were coming?
16    MS. HANGARTNER: Object to form.                      16      A. Yes.
17    A. No.                                               17      Q. And there was even speculation
18 BY MR. HOWARD:                                          18   on your part that there may have been
19    Q. What was your thinking what                       19   some shenanigans in India as far as who
20 would be done with these people that were               20   is taking the test and who is coming
21 not the best workers?                                   21   here?
22    A. That we would work with them and                  22      A. Yes.
23 try to get their skills -- get their                    23      Q. And who else was involved in
24 skill levels up.                                        24   that testing besides Signal
25    Q. And if they could not get their                   25   representatives, was that Sachin Dewan?

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    1    A. Yes.                                               1   minute. But you were not prepared to
    2    Q. Did you have a concern that                        2   take the step and terminate them in
    3  maybe Dewan was not being totally upfront               3   November 2006; correct?
    4  with this process?                                      4      A. That's correct.
    5    A. Yes.                                               5      Q. Whose decision was that?
    6    Q. And you had that concern as of                     6      A. I don't recall.
    7  November 2006?                                          7      Q. Were you party to that decision?
    8    A. As far as I remember.                              8      A. I am sure I was in discussions.
    9    MR. SHAPIRO: Object to form.                          9      Q. Ultimately who made the
   10 BY MR. HOWARD:                                          10   decision, was that Mr. Schnoor or Mr.
   11    Q. Why did you continue to work                      11   Marler?
   12 with him?                                               12      A. Mr. Schnoor.
   13    A. Because we were -- at this point                  13      Q. Um... the third bullet point
   14 in time all the guys we were still                      14   under Signal on page two says, "unhappy
   15 working with them and there was, you                    15   workers, dissension not fair after we
   16 know, I mean, the guys had already paid                 16   spent several million and have by our
   17 the money, a lot of the money, and they                 17   estimate the best camp in the world."
   18 already were just, you know, close to                   18   And I can't read the rest. I see WOR.
   19 getting their visas and paying their                    19   You are talking about the millions Signal
   20 final money to come over.                               20   spent on the camp; correct?
   21    Q. You understood that Sachin Dewan                  21      A. That's correct.
   22 was your agent over there, didn't you?                  22      MS. HANGARTNER: Object to form.
   23 I'm not just talking about a legal term.                23      MR. ALEXIS, III: Object to the form.
   24 I'm just talking -- he is working on your               24      MS. HANGARTNER: Again, he is not the
   25 behalf.                                                 25   author of the document.

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    1     MS. HANGARTNER: Object to form.                      1     MR. HOWARD: Fair. Fair enough.
    2 BY MR. HOWARD:                                           2     Q. BY MR. HOWARD: But to your
    3     Q. Correct?                                          3   understanding Signal spend millions of
    4     A. Yes.                                              4   dollars building the camps?
    5     Q. Signal gave him a power of                        5     A. Yes.
    6  attorney?                                               6     Q. And those camps were built
    7     A. Yes.                                              7   specifically for the Indian workers;
    8     Q. And you had suspicions that                       8   correct?
    9  Signal -- that he is not doing things                   9     A. That's correct.
   10 that are right; correct?                                10     Q. And the Indian workers were
   11     A. That's correct. If it was at                     11   charged a deduction from their wage?
   12 that -- at some point in time. I don't                  12     A. Yes.
   13 recall if it was exactly this point in                  13     Q. A daily fee of $35?
   14 time.                                                   14     A. Yes.
   15     Q. Why didn't Signal revoke the                     15     Q. And that was to pay for the
   16 power of attorney and tell him or say you               16   operation of the camp and the food?
   17 are working on our behalf, you refund                   17     A. Yes.
   18 that money. We don't want to work with                  18     Q. And to help Signal recoup the
   19 you anymore. We don't want to be                        19   investment of the several million
   20 party to this.                                          20   dollars; correct?
   21     A. After the Michael Pol incident                   21     A. Yes.
   22 we did talk to Sachin and Malvern both                  22     MR. HOWARD: Why don't we take a
   23 and had came up with another agreement to               23   break at this point.
   24 work with both of them.                                 24     VIDEOGRAPHER:
   25     Q. I will show you those in a                       25        We are going off the record.

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 1  each Indian worker in Pascagoula and                    1 BY MR. HOWARD:
 2  Orange Texas?                                           2     Q. Sure. Do you agree with the
 3    A. Yes.                                               3  suggestion or the statement made in this
 4    Q. Did you know that Signal was                       4  letter by Mr. Schnoor that Mr. Pol's
 5  making that request?                                    5  dishonesty is not the fault of Dewan
 6    A. Once I saw the letter I did,                       6  Consulting or Burnett Law Offices?
 7  yes.                                                    7     MR. ALEXIS, III: Same objection.
 8    Q. When did you see the letter?                       8     A. I don't know what drove Mr. Pol
 9    A. I don't recall when I saw the                      9  to dishonesty. I mean it's --
10 letter. I was not involved in the                       10 BY MR. HOWARD:
11 discussions, in these discussions.                      11     Q. Do you believe that Mr. Dewan or
12    Q. But you saw the letter in the                     12 Mr. Burnett were dishonest with Signal in
13 ordinary course, you know, sometime after               13 any way?
14 it was sent? That is not in preparation                 14     A. Yes.
15 for deposition, but some time near the                  15     Q. How?
16 time it was sent?                                       16     MR. ALEXIS, III: Object to form.
17    A. Yes.                                              17     A. As of this time, yeah. I mean,
18    Q. Do you know whether Sachin Dewan                  18 as of now. Yes.
19 and Malvern Burnett agreed to return                    19 BY MR. HOWARD:
20 $1,000 each to each worker?                             20     Q. How? In what way?
21    A. No.                                               21     MR. SHAPIRO: Object to form.
22    Q. You don't know?                                   22     A. In later documents we have not
23    A. I don't know if they did.                         23 talked about yet where they agreed they
24    MR. ALEXIS, III: Object.                             24 would represent Signal, it would show
25 BY MR. HOWARD:                                          25 Malvern Burnett was working with some of

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 1     Q. You don't?                                        1  the guys on the side to take them away
 2     A. No.                                               2  from Signal and put them with other      Bingle
 3     MR. SHAPIRO: What was the answer to                  3  companies where they could get a green   133:9 -
 4  the question?                                           4  card faster. There had been some kind of 134:22
 5     A. The answer was no.                                5  deal where they filed previously or
 6 BY MR. HOWARD:                                           6  something and that was working out at
 7     Q. In the third paragraph is says,                   7  that point in time.
 8  "Signal recognizes Mr. Pol's dishonesty                 8 BY MR. HOWARD:
 9  is not the fault of Dewan Consulting or                 9     Q. In the recruiting process in
10 Burnett Law Offices." Did you have                      10 India prior to the workers coming to work
11 discussions with Mr. Schnoor about that                 11 for Signal, do you believe that Malvern
12 issue?                                                  12 Burnett or Sachin Dewan were dishonest
13     A. No.                                              13 with Signal in any way?
14     Q. Do you know why he said that?                    14     MS. HANGARTNER: And, again, you are
15     A. No.                                              15 speaking now?
16     Q. Do you agree with that?                          16     MR. SHAPIRO: Object to form.
17     MR. ALEXIS, III: Object to form.                    17 BY MR. HOWARD:
18     MS. HANGARTNER: Are you talking now                 18     Q. Now, what you know now?
19 or when he -- the first time he read the                19     A. Now, yes.
20 letter?                                                 20     Q. In what way?
21 BY MR. HOWARD:                                          21     A. They promised the workers they
22     Q. Well, what about now?                            22 would get green cards. I mean, you can't
23     MR. ALEXIS, III: Same.                              23 promise a guy is going to get a green
24     A. Now? Can you restate the                         24 card and you can't promise it's going to
25 question.                                               25 be approved. You don't know.

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 1    Q. Well, to the extent they                           1  wage" are you talking $18 an hour?
 2  promised every worker that Signal would                 2     A. No, there was a prevailing wage
 3  apply for green cards for every worker                  3  that we are requiring to pay by the Visa
 4  was that dishonest?                                     4  process and it was 12 dollars and
 5    MR. ALEXIS, III: Object to form.                      5  something.
 6 BY MR. HOWARD:                                           6     Q. And there were some workers that
 7    Q. Based on what you know now?                        7  Signal was not prepared to pay that wage?
 8    A. Based on what I know now, yes.                     8     A. That is correct.
 9    Q. In what way?                                       9     Q. Was every worker that came over
10    A. We would only apply for their                     10 to Signal in this recruiting process
11 green card if they were good workers, if                11 subject to the qualification that if you
12 they were skilled, highly skilled                       12 don't work out we are not going to apply
13 workers.                                                13 for a green card for you?
14    Q. So to the extent the promise                      14     MS. HANGARTNER: Object to the form.
15 that Signal was going to apply for green                15     A. When you say "subject to" what
16 cards for every worker from whom Sachin                 16 do you mean by that? I mean --
17 Dewan, Michael Pol, and Malvern Burnett                 17 BY MR. HOWARD:
18 collected recruiting fees that was a                    18     Q. Every worker who was -- there
19 false promise?                                          19 was -- would you agree with me there was
20    MR. SHAPIRO: Object to form.                         20 not a single worker brought over where if
21    MR. ALEXIS, III: Object to form.                     21 it turned out that they were not up to
22    A. Now, yes.                                         22 Signal's standards as far as their work
23 BY MR. HOWARD:                                          23 goes, Signal would not apply for a green
24    Q. Well, was it a -- when did it                     24 card on their behalf?
25 become a false promise?                                 25     A. Yes.

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 1    A. When the guys that --                              1     Q. Is it also correct that as of
 2    MR. SHAPIRO: Object to form.                          2  March 2007, Signal made the determination
 3    A. When the guys that were brought                    3  that workers who were competent
 4  over here did not meet the requirements                 4  skill-wise, but were somehow disruptive
 5  that Signal stated and required.                        5  in the man camp would not -- Signal would
 6 BY MR. HOWARD:                          Bingle           6  not apply for a green card for them?
 7    Q. And that happened as early as 135:10-15            7     A. No.
 8  November 2006?                                          8     MS. HANGARTNER: Object to form.
 9    A. We had some communications, yes.                   9 BY MR. HOWARD:
10    Q. And is it correct that by March                   10     Q. At any time was Darrell Snyder
11 of 2007, Signal had made the                            11 asked by you for names of workers who
12 determination that there were going to be               12 were disruptive in the man camp for
13 some workers for whom Signal would not                  13 purposes of not having their Visas
14 even offer Visa extensions?                             14 extended?
15    A. Yes.                                              15     A. I don't recall.
16    Q. When was that determination                       16     Q. If he testified that he was
17 made?                                                   17 asked to provide such names, would you
18    A. I don't recall the exact date.                    18 have a basis to disagree with that
19 I mean, once we found out that some of                  19 testimony?
20 the guys just could not do work that was                20     MS. HANGARTNER: Form.
21 commensurate with the minimum amount                    21     A. No.
22 required for us to pay by the prevailing                22 BY MR. HOWARD:
23 wage we realized we could not keep those                23     Q. Do you recall -- but you don't
24 guys.                                                   24 recall giving him that direction
25    Q. When you say "the prevailing                      25 yourself?

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 1  The time is 12:17 p.m.                                  1      A. At the housing facility.
 2     (Lunch recess.)                                      2      Q. In Mississippi?
 3     VIDEOGRAPHER:                                        3      A. Yes.
 4       We are back on the record. The                     4      Q. Were all the workers from
 5  time is 1:41 p.m.                                       5   Mississippi there?
 6 BY MR. HOWARD:                                           6      A. I don't know if all of them were
 7     Q. Good afternoon, Mr. Bingle.                       7   there because we work two shifts. Some
 8  Before the lunch break I provided you                   8   of them might have been working. I don't
 9  with a copy of what has been marked                     9   know. At some point in time we might
10 Exhibit 524, which again for the record                 10   have given them some time off so
11 is a rough transcript done by us of an                  11   everybody could be here. This might have
12 audio file that had been previously                     12   been one of those times. We did that
13 produced of a meeting for the Indian                    13   every so often.
14 workers, at which Ronny Schnoor and                     14      Q. Was a similar -- so was the
15 Malvern Burnett gave addresses. Have you                15   address given only one time or did you do
16 had an opportunity to review the                        16   one for the day shift and one for the
17 document?                                               17   night shift?
18     A. Yes.                                             18      A. I think this one probably would
19     Q. Based on the transcript --                       19   have been done for both shifts. We
20     MR. ALEXIS, III: Alan, I apologize.                 20   probably would have held the night shift
21 Just to make it easier, I am going to                   21   from going in.
22 object to this whole line of questioning                22      Q. Were any workers excluded from
23 and make it continuing so you can ask                   23   the meeting?                              Bingle
24 your questions without interruption; is                 24      A. No.                                 148:25-
25 that okay?                                              25      Q. Were any workers for whom --        149:16

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 1      MR. HOWARD: That's fine. Thank you,                 1   well, as of this point in time March
 2   Ralph.                                                 2   2007, had there already been
 3      MS. HANGARTNER: And I will reiterate                3   consideration at Signal not to extend the
 4   my objection as well.                                  4   Visas of certain workers?
 5      MR. HOWARD: That is fine.                           5       A. Is the date on the top of this
 6      Q. BY MR. HOWARD: Based on your                     6   the date this actually took place?
 7   reading of the transcript, do you know                 7       Q. I believe so. March 12th.
 8   whether you were in attendance at this                 8       A. Then at this point in time we
 9   meeting?                                               9   would have already terminated some
10      A. Yes, I was.                                     10   employees.
11      Q. Who else from Signal was there,                 11       Q. You would have terminated some
12   to your recollection?                                 12   and you would have also been considering
13      A. Just Ron and I were there, and                  13   not extending the Visas of others;
14   according to this transcript Chris was                14   correct?
15   there. So I do recall Chris being there.              15       A. We would have been discussing
16      Q. That is Chris Cunningham, the                   16   it.
17   Signal CFO?                                           17       Q. Would the people whom you were
18      A. Yes.                                            18   discussing not extending their Visas
19      Q. And was Mr. Burnett there?                      19   nonetheless invited to this meeting?
20      A. Yes.                                            20       A. Yes.
21      Q. Was anyone else there other than                21       Q. Was a similar meeting held with
22   the Indian workers?                                   22   the Texas workers?
23      A. I don't recall.                                 23       A. I don't know.
24      Q. Where did this meeting take                     24       Q. Do you know whether any
25   place?                                                25   instructions were given by Ron Schnoor

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 1   the guys were scared into thinking they                   1     A. No.
 2   would get fired they would run.                           2     Q. Did you have an understanding
 3       Q. Was there efforts made to                          3  reading that one sentence what he meant
 4   conceal from the workers the fact that                    4  by that?
 5   they were being evaluated for                             5     MS. HANGARTNER: Understanding now or
 6   consideration whether extensions would be                 6  understanding at the time?
 7   given?                                                    7 BY MR. HOWARD:
 8       A. I don't know that we concealed                     8     Q. Understanding at the time?
 9   it from them. I don't know that we went                   9     A. At the time, I mean, I had a
10   out and told them specifically why we                    10 basic idea what he was talking about,
11   were doing what we were doing.                           11 which was to, you know, tell the guys if
12       Q. As a matter of fact just a few                    12 you want to get your skill level up. I
13   days before this Mr. Schnoor had assured                 13 mean a lot of guys in the workforce when
14   all of the workers in the Mississippi                    14 you talk about attitude I think you are
15   camp that they were the long-term                        15 confusing a lot of the attitude. The
16   solution; correct?                                       16 attitude on the work force, some of the
17       MS. HANGARTNER: Object to form.                      17 guys just did not want to learn what they
18       A. I don't know if that is exactly                   18 were out there to do.
19   what he said. But he said the ones that                  19     Q. So you read the attitude there
20   were the long-term solution were the guys                20 to be workplace attitude as opposed to
21   that would be, you know, work with us. I                 21 man camp attitude?
22   mean, you would have to ask him what his                 22     A. That's correct.
23   intent was in that statement. I did not                  23     Q. The question was: In what way
24   make the statement. I don't know what                    24 was the extension to be used by Signal as
25   his intent was.                                          25 leverage to give an incentive in

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 1 BY MR. HOWARD:                                              1   improvement in skill and attitude?
 2     Q. Well, you would agree thought                        2      A. If we wanted to use it as
 3  that Signal did not take the initiative                    3   leverage we could go to the guys and say,
 4  or take the steps in mid March 2007 to                     4   look, your skills out there are not
 5  actually tell the Indian workers, look,                    5   improving and you need to -- you are not
 6  for those of you who just don't get up to                  6   as productive as you need to be. You
 7  snuff with your work or for whatever                       7   need to take the initiative to go ahead
 8  reason we are not going to choose to                       8   and get your skill level up.
 9  exercise your extensions. You did not                      9      Q. But did you tell them in that
10 tell them that?                                            10   context as the leverage you need to do
11     A. Not in mid March until we did                       11   this in order to get a Visa extension?
12 this evaluation.                                           12      A. Did I tell them that?
13     Q. As a matter of fact, they were                      13      Q. Correct.
14 not told until the very end of June;                       14      A. No.
15 correct?                                                   15      Q. Did you instruct anybody else to Bingle
16     A. I don't know when they were                         16   tell them that?                           165:18 - 166:21
17 told.                                                      17      A. No.
18     Q. Um... Mr. Schnoor wrote back to                     18      Q. If you were not going to tell
19 you, Bing agreed and the extension is                      19   them about the extension because you were
20 leverage we could use to incentive to                      20   afraid that they were scared they weren't
21 improvement in skill and attitude. Do                      21   going to get it they would abscond, why
22 you know what he meant by that?                            22   did Mr. Schnoor telling you to use the
23     A. No.                                                 23   extension as leverage?
24     Q. Did you ask him what he meant by                    24      MS. HANGARTNER: Object to form.
25 that?                                                      25   Speculation.

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 1     A. That's -- sometimes Ron says                       1  thereby minimizing the need for expensive
 2  things that -- they are suggestions that                 2  contract workers." And that was your
 3  may or may not be followed.                              3  thinking at the time?
 4 BY MR. HOWARD:                                            4     A. Yes.
 5     Q. In this case your testimony is                     5     Q. Was there any consideration
 6  you did not follow your boss's                           6  given in your thinking to getting workers
 7  suggestion?                                              7  up to speed in their skill level so that
 8     A. No.                                                8  their Visas could be extended? The
 9     Q. Now, would you agree with me                       9  promises that had been made to the
10 that part of Signal's incentive in having                10 workers to bring them over to this
11 workers improve their skill level to the                 11 country?
12 point where they could be extended, have                 12     MR. ALEXIS, III: Object to form.
13 their Visa extended, was an economic                     13     A. Could you read that question
14 decision for Signal because if Signal                    14 back to me, please.
15 lost those workers replacing them would                  15 BY MR. HOWARD:
16 be more expensive for Signal?                            16     Q. Sure. Let me rephrase it. In
17     A. Yes.                                              17 making the decision to give the bubble
18     Q. These Indian workers were                         18 guys an opportunity to improve their
19 cheaper than the contract workers with                   19 skills so they would have their Visas
20 whom you would have to replace them?                     20 extended by Signal, did you give any
21     A. Yes.                                              21 consideration to the promises that had
22     Q. And that was part of the                          22 been made to these workers to bring them
23 thinking in the process of trying to                     23 over to this country or was it strictly
24 improve their skill level?                               24 an economic decision for Signal?
25     A. Part of the process, yes.                         25     A. It was probably a little of

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 1      MR. HOWARD: Mr. Bingle, I'm showing                  1   both. And when you talk about the bubble
 2   you another document, which has been                    2   guys, it was the bubble guys and the guys
 3   marked 525. It is a multipage document                  3   that were nos at the time that we
 4   Bates range SIGE 00057052 through 058.                  4   intended to bring along, it was not just
 5   It is an e-mail that goes for two pages                 5   the bubble guys.
 6   from March 2007, with an attachment of                  6      Q. For all of those guys then, it
 7   Indian worker names and indications under               7   was then part of your consideration that
 8   column extend.                                          8   promises had been made to them, we got to
 9         (Plaintiff's Exhibit 525 was                      9   do what we can to be in a position to
10   marked for identification by the court                 10   extend their Visas; right?
11   reporter and said exhibit is attached                  11      A. To do what we can, yes.
12   hereto.)                                               12      Q. But for some of them you decided
13      Q. BY MR. HOWARD: Do you recognize                  13   no at the end of the day; is that right?
14   this document?                                         14      A. I don't recall what we -- you
15      A. Yes. Excuse me.                                  15   know, whether we terminated any more and
16      Q. And did you write the e-mail                     16   sent them home after this I don't recall.
17   March 21st, 2007?                                      17      Q. Were there any for whom -- I'm
18      A. Yes.                                             18   sorry. Were there any that you told in
19      Q. Subject: Indians. And in that                    19   July we are not exercising your Visa
20   e-mail you say, "the intent of this is to              20   extension?
21   take marginal candidates and make them                 21      A. I don't recall.
22   stronger by way of offering guidance and               22      Q. Who would know that?
23   opportunities to practice their                        23      A. Probably Malvern or whoever
24   deficiencies so we can make first-class                24   whenever we did the Visa extensions. I
25   workers out of as many as possible,                    25   would have to look at a list to know for

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    1      sure.                                                    1      Q. Did you have input into that
    2         Q. Well, he was authorized by you                     2   process?
    3      to do the Visa extensions for everybody;                 3      A. No.
    4      right?                                                   4      Q. You just accepted their
    5         A. Right.                                             5   recommendations?
    6         Q. And you were going to take the                     6      A. We talked about some of them. I
    7      decision at Signal as to whether to tell                 7   mean, I went through and looked at them
    8      the workers that got the Visa extension                  8   and asked them for certain guys if they
    9      whether they could keep working for you;                 9   had comments and I would go back and talk
   10      right?                                                  10   to them about the comments to see what we
   11         A. Right. But we had a lot of guys                   11   could do to, you know, just to make sure
   12      that quit between -- that absconded                     12   everything was right.
   13      between, you know, starting at this point               13      Q. What additional training was
   14      in time started leaving.                                14   provided for the nos and bubble guys?
   15         Q. And isn't it a fact that some of                  15      A. It just depends on what the guy
   16      those guys were absconding because they                 16   was. We had a training center that they
   17      found out that they were being evaluated                17   could go and do after-hours training on
   18      and their Visas might not get extended at               18   fitting or welding or whatever their
   19      all by Signal?                                          19   craft was or whatever their skill level
   20         A. I don't know why they left.                       20   was.
   21         Q. That was a concern you had up                     21      Q. I mean, were there official
   22      front and why you did not want to tell                  22   classes set up or was this on-the-job
   23      them about this; right?                                 23   training?
   24         A. It was a concern.                                 24      A. No. It was not on-the-job
   25         MS. HANGARTNER: Object to form.                      25   training. It was after-hours training

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    1 BY MR. HOWARD:                                                1   where they could and work with our --
    2    Q. What was the percentage                                 2   work with some guys and get their skill
    3  breakdown, if you know, offhand? And I                       3   level up. And some of it was on-the-job
    4  don't need you to do a calculation how                       4   training. A lot of what we do is
    5  many yes's and how many no's?                                5   on-the-job training.
    6    A. I don't know. I would have to                           6      Q. Were they paid for the hours
    7  look at it and give you a breakdown.                         7   they were given this training after the
    8    Q. But whatever is reflected on the                        8   job?
    9  chart under the column "extend" and the                      9      A. No.
   10 yes's are the yes's and the no's are the                     10      Q. And was that after-hours
   11 no's?                                                        11   training for which they are not paid kind
   12    A. At that point in time, yes.                            12   of a prerequisite for them to become a
   13    Q. Would you agree that the                               13   yes?
   14 evaluation process by which the Indian                       14      A. No.
   15 workers were judged was a subjective one?                    15      Q. So if they said they would not
   16    A. Subjective meaning what?                               16   do the training would they become a yes
   17    Q. Well, that they were not given a                       17   from a no?
   18 test pass/fail, they were evaluated on a                     18      A. If they -- if their skill level
   19 host of criteria according to Signal and                     19   improved by being on the job every day.
   20 given a subjective score?                                    20      Q. How long a process was
   21    A. Yes.                                                   21   envisioned? Like were you just going to
   22    Q. And who participated in that                           22   train them from March until the Visa
   23 scoring process?                                             23   extension deadline ended or was there a
   24    A. The individual guys foremen and                        24   set time that you had in mind we have to
   25 their superintendents.                                       25   make a decision yes or no?

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 1     MS. HANGARTNER: Object to form.                       1     Sanders. And that is Mr. Sanders view as
 2     MR. ALEXIS, III: Object to form.                      2     of July 26, 2007, only a few days before
 3     A. I don't know that I thought                        3     the Visas were to expire, that to date
 4  about it in that context at that point in                4     Signal had not done the best job it could
 5  time.                                                    5     about communication with the workers, and
 6 BY MR. HOWARD:                                            6     by failing to do that it was a
 7     Q. Did your thinking about green                      7     possibility that some of the yes workers
 8  cards for the H-2B workers change over                   8     will run away after July 31st, due to
 9  time?                                     Bingle         9     lack of information. Is that a concern
10     MR. ALEXIS, III: Object to form.                     10     he expressed to you?
                                              182:14 -20;
11     A. Not particularly. I mean, I                       11        A. No.
12 don't think so.                            182:14-183:6; 12        Q. Mr. Sanders -- what was Mr.
13 BY MR. HOWARD:                             182:21-183:6 13      Sanders role vis-a-vis the Mississippi
14     Q. You testified this morning that                   14     workers and the Texas workers; do you
15 in the first bus ride over to Mississippi                15     know?
16 with the workers from the airport in late                16        A. Not in detail. He kind of -- I
17 October '06 or early 2007 you told all of                17     don't know if he took over for Darrell in
18 those workers we were going to take care                 18     the camp or Darrell was after him in the
19 of the filings for you; correct?                         19     camp. I think Darrell -- I don't
20     A. Yes.                                              20     remember how it went.
21     Q. Subsequent to that did you ever                   21        Q. Do you know if he had some
22 have any conversations with any of the                   22     responsibilities for Texas?
23 workers where you indicated to them a                    23        A. Yes.
24 change in position by Signal that it was                 24        Q. What were those?
25 not going to file paperwork for all of                   25        A. I mean, I know he had some. I

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 1  the workers?                                               1   don't know they were. I just knew he was
 2    A. No.                                                   2   just back and forth between the two
 3    Q. Why not?                                              3   facilities.
 4    A. Never had the opportunity, I                          4      Q. Did he report to you?
 5  guess, or did not see the need to tell                     5      A. No.
 6  them.                                                      6      Q. Mr. Bingle, I want to go back to
 7    MR. HOWARD: Let's go off the record.                     7   an issue we touched upon this morning,
 8    VIDEOGRAPHER:                                            8   which were the applications for the H-2B
 9       Going off the record. The time                        9   Visas to the US Government. And I showed
10 is 2:20 p.m.                                               10   you what was marked as, I believe,
11    (Brief recess.)                                         11   Exhibit 515, which is an application that
12    VIDEOGRAPHER: We are back on the                        12   you signed?
13 record. The time is 2:21 p.m.                              13      A. Yes.
14 BY MR. HOWARD:                                             14      Q. How many applications do you
15    Q. Mr. Bingle, do you recall ever                       15   recall signing to the US Government?
16 hearing from John Sanders either by                        16      A. I don't recall.
17 e-mail or in person. And I just want to                    17      Q. Would it be more than one?
18 preface that telling you the document is                   18      A. Yes.
19 an e-mail on which you are not copied. I                   19      Q. Do you recall signing one on
20 am not going to quiz you on something and                  20   behalf of unnamed fitters?
21 then show you an e-mail. I only have a                     21      A. Yes.
22 one copy. It was previously marked                         22      Q. And the one we looked at was on
23 Exhibit 390. So rather then go through                     23   behalf of 180 unnamed fitters. Do you
24 the whole process of reviewing ot I will                   24   recall signing on behalf of 140 unnamed
25 just ask you if you heard this from Mr.                    25   fitters, the second one?

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 1   production aspects of all the people not                 1  original application. If Malvern was --
 2   just Indians but all the workers.                        2  at that point in time Malvern was still
 3      Q. As of July 2007, was it Signal's                   3  advising us on how to proceed and that is
 4   intent at least on behalf of some of the                 4  the way he said the process worked and we
 5   workers to file for permanent residency                  5  took that at face value.
 6   for them?                                                6 BY MR. HOWARD:                             Bingle
 7      A. Yes.                                               7     Q. I understand your testimony that    192:7-19
 8      Q. Did you have an understanding                      8  you took Mr. Burnett your attorney's
 9   that Signal in July of 2007, that the                    9  advice at face value. My question is as
10   workers from -- the H-2B workers from                   10 a factual matter what Signal knew that
11   India wanted to stay in the United                      11 these workers expected about green cards
12   States?                                                 12 and permanent residency, was it an
13      A. Yes.                                              13 inaccurate statement in July 2007, to
14      Q. Would it have been an inaccurate                  14 tell the Government they are only going
15   statement to tell the Government in July                15 to work 10 months and then they are going
16   2007, that the H-2B workers on behalf of                16 to go back to India?
17   whom you were seeking an extension of                   17     MS. HANGARTNER: Form.
18   their H-2B Visa were going to work for                  18     MR. ALEXIS, III: Object to form.
19   the prescribed dates of need and then                   19     A. Yes. I am going to ask for a
20   return to their home country at the end                 20 break here shortly, my back is starting
21   of the employment?                                      21 to tighten up.
22      MS. HANGARTNER: Object to form.                      22     MR. HOWARD: Why don't we take one
23      MR. ALEXIS, III: Object to form.                     23 now, because I might be moving on to
24      A. Dependant on what time we                         24 another subject.
25   realized what the actual H-2B process                   25     VIDEOGRAPHER:

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 1  green card process, at that time we would                 1       We are going off the record.
 2  file for their Visa or their green cards,                 2  The time is 2:33 p.m.
 3  but if they had to go home before that                    3     (Brief recess.)
 4  then that was the intent. I don't know                    4     VIDEOGRAPHER:
 5  what the intent was at the point in time                  5       We are back on the record. The
 6  when they signed the letter. Like I                       6  time is 2:47 p.m.
 7  said, I was working with the guys in the                  7 BY MR. HOWARD:
 8  yard and not dealing with the extensions                  8     Q. Mr. Bingle, I put before you
 9  and the green cards and all that.                         9  Exhibit 527, a one-page document Bates
10 BY MR. HOWARD:                                            10 SIGE 0356221. It's a November 17, 2006,
11     Q. If I were to represent to you it                   11 e-mail from Lisa Spears to Michael Pol,
12 was not until later in the year that Mr.                  12 Malvern Burnett, Sachin Dewan. Copying
13 Burnett was terminated and Ms. Bollman                    13 John Sanders.
14 was hired by Signal, that it was after                    14       (Plaintiff's Exhibit 527 was
15 July 2007, would that representation,                     15 marked for identification by the court
16 would it have been inconsistent with what                 16 reporter and said exhibit is attached
17 you knew about the workers and their                      17 hereto.)
18 intent and expectation of getting a green                 18       It says, "Michael, Malvern, and
19 card to tell the US Government that they                  19 Sachin, in the attached you will note
20 would work for 10 more months and then go                 20 that Bill had requested a copy of all
21 back to India at the end of the                           21 signed documents. To date I have
22 employment?                                               22 received none." Do you recall making a
23     MS. HANGARTNER: Object to form.                       23 request to get signed documents signed on
24     MR. ALEXIS, III: Object.                              24 Signal's behalf by any other party?
25     A. Again, it is just like the                         25     A. I don't recall making the

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 1   request, but obviously I did.                            1      Q. I mean, were you in favor of
 2      Q. Do you recall there being an                       2   building man camps?
 3   issue in this November 2006 time period,                 3      A. Yes.
 4   the same time you are about to have the                  4      Q. For what reason?
 5   meeting with Michael Pol that Signal had                 5      A. To give the guys a place to live
 6   not received documents that had been                     6   when they got here. We knew after
 7   signed on Signal's behalf by Global                      7   Katrina that the housing market in the
 8   Resources or any of the other entities                   8   area was very depressed, and rather than
 9   with whom you were doing business?                       9   have the guys try to go out and find a
10      A. Do I recall discussion -- what?                   10   place to stay we could provide it for
11      Q. Discussions or the issue you                      11   them. Plus it would help the local
12   were having problems getting documents                  12   community be more accepting of the guys
13   that these other parties had signed on                  13   coming in if they were not taking up
14   Signal's behalf?                                        14   housing that the local people needed to
15      A. I don't recall discussions to                     15   use while they were rebuilding their
16   that effect, no.                                        16   homes.
17      Q. Do you recall that issue coming                   17      Q. Did you have involvement in the
18   up at all?                                              18   practical processes, hiring GE, and the
19      A. Not really, no.                                   19   actual building of the camp?
20      Q. Do you recall why you wanted to                   20      A. No.
21   see documents that had been signed on                   21      Q. Did you have any knowledge of
22   behalf of Signal?                                       22   what went on in that regard?
23      A. No.                                               23      A. I had basic knowledge of the
24      Q. Mr. Bingle, did you have any                      24   fact that it was being done; that we were
25   involvement in the decision to build man                25   getting prices from different people and

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 1   camps to house the Indian H-2B workers?                  1   things like that.
 2       A. Yes.                                              2       Q. Did you have any involvement in,
 3       Q. What was your involvement in                      3   for example, assurances that the camp
 4   that decision?                                           4   would comply with OSHA?
 5       A. It was just a discussion on                       5       A. Did I have --
 6   whether we should do it, why we would do                 6       Q. Involvement with that?
 7   it, and things like that.                                7       A. Yeah, I mena that was always a
 8       Q. Who did you have that discussion Bingle           8   discussion that we would be in full
 9   with?                                   195:12-19        9   compliance with all regulations.
10       A. That would have been with Ron                    10       Q. Do you know how Signal complied,
11   and probably Chris Cunningham, the CFO.                 11   if it did, with the regulations with
12       Q. Whose decision was it to build                   12   respect to the man camp?
13   the man camps?                                          13       A. We got the -- we had the City
14       A. I don't know if I know exactly                   14   come out and inspect it.
15   whose decision it was. It was probably                  15       Q. Did OSHA ever inspect it?
16   Ron's decision with approval from Chris                 16       A. No.
17   and Dick.                                               17       Q. Do you know what OSHA
18       Q. That is Dick Marler?                             18   requirements are for living space for
19       A. Yes.                                             19   workers?
20       Q. The -- did you have approval                     20       A. No.
21   authority over that decision?                           21       Q. Do you know what issues, if any,
22       A. No.                                              22   Signal faced in making these trailers
23       Q. What input did you give to that                  23   OSHA compliant?
24   decision?                                               24       A. No.
25       A. I don't recall specifically.                     25       Q. Who would have been involved in

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 1      Q. Complaining about the number of                     1   financially compelled to live in the
 2   workers in the trailers?                                  2   camps?
 3      A. Yes.                                                3      A. Yes.
 4      Q. Were some of the trailers up to                     4      COURT REPORTER: I'm sorry, did you
 5   -- they had a capacity of 24 workers per                  5   --
 6   trailer; correct?                                         6      THE WITNESS: Yes.
 7      A. I don't recall the exact                            7      COURT REPORTER: Thank you.
 8   numbers.                                                  8      MR. HOWARD: Mr. Bingle, I am showing
 9      Q. Do you know the number of                           9   you now what has been marked as Exhibit
10   workers maximum that were in each                        10   528. It's another series of e-mails,
11   trailer?                                                 11   with the Bates range SIGE 0009628 through
12      A. No.                                                12   9630.
13      Q. Would you agree that it was a                      13        (Plaintiff's Exhibit 528 was
14   general complaint among the workers of                   14   marked for identification by the court
15   the conditions and the food?                             15   reporter and said exhibit is attached
16      A. It was a -- I would not say a                      16   hereto.)
17   constant complaint. I don't know if it                   17      Q. BY MR. HOWARD: Please just let
18   was general complaint amongst all of                     18   me know when you've had the opportunity
19   them.                                                    19   to read theses.
20      Q. You had an understanding that                      20      A. Okay.
21   there were workers who would prefer to                   21      Q. These are e-mails from August
22   live away from the camp; correct?                        22   2007; correct?
23      A. Yes.                                               23      A. Yes.
24      Q. Did you also have an                               24      Q. Now, in August of 2007, this was
25   understanding that these workers could                   25   a time period when Signal was considering

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 1  not afford to live away from the camp if                   1   bringing more H-2B workers in from India;
 2  they also had to pay $1,000 a month to                     2   correct?                                  Bingle
 3  Signal for the camp? You understood                        3      A. Yes.
 4  that; right?                                               4      Q. And there was discussion at
                                                                                                             205:4-206:12
 5    A. It depends on how many of them                        5   Signal about whether these Indian workers
 6  went and got a place to live and what it                   6   would also be required to live in the man
 7  cost them. I wasn't -- I don't know                        7   camps; correct?
 8  exactly. You know?                                         8      A. Correct.
 9    Q. Did you have a general                                9      Q. And the decision was made that
10 understanding that these workers were                      10   yes they would be required to live in the
11 financially strapped including based on                    11   man camps; right?
12 the recruiting fees and debt they                          12      A. Yes.
13 incurred to come to work at Signal?                        13      Q. And the reasoning for that was
14    MS. HANGARTNER: Object to form.                         14   you still had to pay off the costs of the
15    MR. ALEXIS, III: Object to form.                        15   man camp; right?
16    A. I don't know that they were -- I                     16      A. Yes. And because of the
17 mean, that's a -- some of them might have                  17   housing. The housing situation had not
18 been.                    Bingle 203:20-204:3               18   got much better by then.
19 BY MR. HOWARD:                                             19      Q. But there was some housing
20    Q. Did Signal understand that by                        20   available for the Indian workers in the
21 having a policy that required each of the                  21   area, wasn't there?
22 workers to pay Signal a thousand dollars                   22      A. There was some, yes.
23 toward the man camp, even if they those                    23      Q. And, in fact, what is indicated
24 to live elsewhere, the effect of that                      24   in these e-mails, including specifically
25 policy would be that the workers would be                  25   the e-mail from John Sanders to yourself

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 1   and others on August 7th, was that once                   1      MR. HOWARD: Showing you now what has
 2   you filled the camp to capacity with the                  2   been marked as Exhibit 529. Another set
 3   new H-2B workers some of the existing                     3   of e-mails. Bates range SIGE 0010999
 4   workers could live offsite on a lottery                   4   through 11002. These are e-mails from
 5   basis; correct?                                           5   the March 2008 time period, including
 6      A. Yes.                                                6   ones from yourself.
 7      Q. So, in other words, he was                          7         (Plaintiff's Exhibit 529 was
 8   contemplating having a lottery, where if                  8   marked for identification by the court
 9   you won the lottery you got to live                       9   reporter and said exhibit is attached
10   outside the man camp; correct?                           10   hereto.)
11      A. That is what John was saying,                      11      Q. BY MR. HOWARD: Have you had an
12   yes.                                                     12   opportunity to review this?
13      Q. Did you have an understanding of                   13      A. Yes.
14   his proposal?                                            14      Q. Going back -- first of all, this
15      A. Yes.                                               15   is the March 2008 time period. At this
16      Q. Did you agree with it?                             16   point, were there indications of
17      A. I agreed that if the camp was                      17   substantial unrest in the remaining
18   full and we had extra guys then some of                  18   Indian H-2B worker population in
19   them might be able to live offsite. I                    19   Mississippi?
20   did not necessarily agree with the                       20      A. Yes.
21   lottery for doing it.                                    21      Q. And you referred in your e-mail
22      Q. But how were you going to                          22   of March 5th to Rhonda George, Tracy
23   determine which ones could live offsite                  23   Binion, Darrell Snyder, wit a re line,
24   and which ones had to stay in the camp?                  24   "All quiet on the home front. No
25      A. I didn't have a -- we didn't                       25   rumblings. No shifting of the eyes. No

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 1  have an idea at that time. This was just                   1   quiet whisperings. Question mark. What
 2  an idea of John's.                                         2   are the moles saying?" What is that a
 3     Q. And would you agree the idea of                      3   reference to?
 4  John's was these ones who -- or whether                    4      A. Just some of the -- some of the
 5  on a lottery basis or not got to live                      5   guys in the camp who were happy with
 6  offsite would not have to pay the $35 a                    6   everything that was going on would
 7  day or $1,000 a month; correct?                            7   sometimes go to Darrell or Rhonda and
 8     A. Correct.                                             8   give them some information about what the
 9     Q. So you did not necessarily agree                     9   other guys were talking about.
10 that would be like winning the lottery                     10      Q. And those are who you are
11 for these workers?                                         11   referring to as the moles?
12    A. I did not think of it at that                        12      A. Yes.
13 point.                                                     13      Q. Those are other Indian workers
14    COURT REPORTER: I'm sorry.                              14   who are kind of talking about their
15    THE WITNESS: I did not think of --                      15   colleagues?
16 the guys winning a lottery.                                16      A. Yes.
17 BY MR. HOWARD:                                             17      Q. To you?
18    Q. Those additional H-2B workers                        18      A. No.
19 never came to Signal; correct?                             19      Q. To you Signal?
20    A. That's correct.                                      20      A. To Signal, yes.
21    Q. And Signal never changed its                         21      Q. And that information made its
22 policy about charging $35 a day even if                    22   way up to you?
23 you chose to live off the -- outside the                   23      A. Sometimes, yes.
24 camp; correct?                                             24      Q. And in this case you were asking
25    A. We -- that's correct.                                25   about what they were saying?

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 1      A. Right.                                               1   the $35 a day payment; correct?
 2      Q. Was there anything in particular                     2      A. Yes.
 3   happening at the time that gave you                        3      Q. And your response on March 5th
 4   suspicion that something was in the                        4   to Darrel Snyder is, "Good thing about
 5   works?                                                     5   the contract is that it's a payroll
 6      A. Yeah, sometimes we got                               6   deduct. They can complain, but they
 7   information that we were told that some                    7   can't stop it from being deducted." That
 8   of the guys were going to abscond.                         8   is a reference to the $35 a day?
 9      Q. Did you ever get information                         9      A. Yes.
10   about guys, that is Indian workers,                       10      Q. And that was your view?
11   talking to lawyers or immigration                         11      A. Yes.
12   specialists?                                              12      Q. Mr. Bingle, I want to talk for a
13      A. Sure.                                               13   bit about wages. The wages that were in
14      Q. And that had been going on for                      14   the original offer of employment that you
15   quite a long time; correct?                               15   gave to workers in India, and also had
16      A. Yes.                                                16   Mr. Dewan giving to workers on Signal's
17      Q. And that included all the way                       17   behalf, said that they would be paid $18
18   back to the previous March, just before                   18   an hour; correct?
19   the March 9th incident with Sabulal                       19      A. Yes.
20   slitting his wrists; right?                               20      Q. And that was the prevailing wage
21      A. Yes.                                                21   for first-class workers?
22      Q. And I promised we would get to                      22      A. That was a little less. It was
23   that and we will get to it shortly.                       23   in the range of the first-class workers.
24         There is discussion if in one of                    24   It was not top money, but it was in the
25   the e-mails from Mr. Snyder about                         25   range, yes.

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 1   suggesting that Signal needs to be                         1      Q. What was top money?
 2   prepared to terminate these guys for                       2      A. I believe -- I don't recall. It
 3   breach of the employment agreement if                      3   was 18.50 or 18.75, somewhere around
 4   they balk at the $35 per day. Do you                       4   there.
 5   know what he was talking about there?                      5      Q. Why was the decision made to not
 6      A. In which part, the employment                        6   pay them the top money, but a little
 7   agreement?                                                 7   less?
 8      Q. Well, his discussion that it                         8      A. That is normal practice we have
 9   would be a breach of the employment                        9   for people that we don't know. Even guys
10   agreement if they balked at the $35 a                     10   from the United States, if we don't know
11   day?                                                      11   them we won't pay them top money to start
12      A. Yeah, if they said they did not                     12   with. We will wait to see how they work
13   want to pay it.                                           13   out and then give them raises as they
14      Q. Well, in fact, what this is                         14   progress or show progress.
15   about; right, isn't that if workers leave                 15      Q. And in the case of these workers
16   the worksite, abscond, Mr. Snyder                         16   some of them did get raises; correct?
                                                                                                             Bingle
17   suggesting they could be terminated for                   17      A. Yes.
18   breach of the employment agreement                        18      Q. And others actually had their      213:18 -
19   because they are not going to be paying                   19   salary wages reduced?                    214:16
20   the $35 a day; correct?                                   20      A. Yes.
21      A. Well, if they abscond they're in                    21      Q. Correct?
22   accordance with H-2B law, they are                        22      A. Yes.
23   illegals and we have to turn them in and                  23      Q. To what level?
24   terminated their employment.                              24      A. To the level commensurate with
25      Q. But he is actually tying it to                      25   their skills.

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 1      Q. And would that be in the range                     1   complain there would be no problem;
 2   of 13 or 14 dollars an hour?                             2   correct?
 3      A. Some of them probably.                             3       A. If they understood they were
 4      Q. And some of them even less?                        4   being paid that because that was their
 5      A. We could not go below the                          5   skill level if they agreed to it.
 6   prevailing wage.                                         6       Q. But if they complained, why
 7      Q. When did you find out you could                    7   would it be an issue? Would it be a
 8   not go below the prevailing wage?                        8   legal issue because of the H-2B rules?
 9      A. I don't recall. But it was some                    9       A. Yes.
10   time before we terminated the guys in                   10       Q. And how did you learn that?
11   March.                                                  11       A. I don't recall whether I asked
12      Q. Leading up to that did you --                     12   Tracey or whether we talked to Malvern.
13   there was an issue that some of the guys                13   I mean, I would have asked Tracey and she
14   that were being terminated were actually                14   would have asked -- you know, she would
15   below the $13 an hour a range; correct?                 15   have gone into H-2B into the rules and
16      A. Yes.                                              16   regulations at that point to try to find
17      Q. They were at about $9.00 an                       17   it.
18   hour?                                                   18       Q. And so at this point you kind of
19      A. Yes.                                              19   made a decision for these guys who you
20      Q. And did you have an                               20   thought had skill levels at a 9 dollar
21   understanding going into that process                   21   level, which was below prevailing wage to
22   that if we pay the prevailing wage there                22   terminated them; correct?
23   is no problem. If we pay a guy less than                23       A. Yes.
24   the prevailing wage and he agrees to it                 24       Q. And how many of those were
25   and does not complain no problem. If we                 25   there?

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 1  pay a guy less and he complains it could                  1      A. Six.
 2  be an issue. Do you recall that mindset                   2      Q. Now, are you aware that the
 3  of yours?                                                 3   decision was made by Signal to terminate
 4     MS. HANGARTNER: Object to form.                        4   more than just those six workers at this
 5     A. From just a purely Indian                           5   point in time?
 6  standpoint, yes.                                          6      A. Yes.
 7 BY MR. HOWARD:                                             7      Q. Were you part of the decision to
 8     Q. What do you mean from just a                        8   terminate the other workers?
 9  purely Indian standpoint?                                 9      A. Yes.
10     A. From the workforce, from a whole                   10      Q. Who were the other workers?
11 workforce as a whole, if I was paying a                   11      A. One was Sabulal and one was
12 guy that did not have 13 dollar skills 13                 12   Josey Joseph, I believe.
13 dollars because he was an H-2B guy and I                  13      Q. Jacob Joseph?
14 needed to pay him that legally to keep                    14      A. Jacob Joseph.
15 him here, but I had other guys that were                  15      Q. Were you in agreement with the
16 working on the rig that were from the                     16   decision to terminate Sabulal and Jacob
17 United States or for contract labor from                  17   Joseph?
18 another -- well, contract labor wouldn't                  18      A. Yes.
19 matter. But if they were Signal direct                    19      Q. Whose recommendation was it to
20 hires that I was paying only $9.00 an                     20   terminate those two individuals?
21 hour to do the same job I was paying a                    21      A. Darrell's recommendation
22 $13 an hour guy it would cause problems                   22   initially.
23 within the workforce as a whole.                          23      Q. And to whom did he make that
24     Q. So you wanted to pay the Indian                    24   recommendation?
25 guys less, and if the Indian guys did not                 25      A. Ron and I.

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 1      A. Yes.                                                1   to happen?
 2      Q. Did Ron Schnoor discuss with you                    2      A. No.
 3   what he had discussed with Darrell Snyder                 3      Q. I take it you were not involved
 4   about how to handle the termination?                      4   in the planning meetings with -- that Mr.
 5      A. He gave me a general idea.                          5   Snyder had with the security guards or
 6      Q. What did he tell you?                               6   with Signal security personnel in the
 7      A. That we should do it in the                         7   afternoon of March 8th or the morning of
 8   morning before the guys went to work.                     8   March 9th about how this was going to be
 9      Q. And why was that?                                   9   handled?
10      A. To keep the disruptions out on                     10      A. No.
11   the workplace as little as possible.                     11      Q. Would it be fair to say things
12      Q. Did you have a discussion with                     12   did not go as smoothly as you would have
13   him about maybe it would be better to                    13   hoped?
14   invite the workers individually off the                  14      A. Yes.
15   worksite rather than to do it in front of                15      Q. When did you first find out that
16   the whole camp?                           Bingle         16   things on March 9th had not gone as
17      A. No.                                 222:18 -       17   smoothly as you would have hoped?
18      Q. Did he indicate it was going to 223:6              18      A. Darrell called me and let me
19   be done early in the morning at the time                 19   know that there was some problems.
20   when both shifts would be in the camp?                   20      Q. What were the problems that he
21      A. Both shifts would -- he did not                    21   told you about?
22   indicate that, but both shifts will be in                22      A. That Sabulal had tried to go --
23   the camp. The second shift would have --                 23   had gone in the bathroom and tried to cut
24   they got off at -- they could have been                  24   his wrists and there was general mayhem
25   asleep at that point in time.                            25   at that point in time.

                                                   Page 223                                                      Page 225

 1      Q. They got off at 3:00 or 4:00 in                     1      Q. And what was your reaction?
 2   the morning?                                              2      A. Kind of concerned and
 3      A. Yes.                                                3   immediately went over to the camp.
 4      Q. And the shift was going in at                       4      Q. What did you see when you got to
 5   6:00?                                                     5   the camp?
 6      A. Yes.                                                6      A. Just a bunch of guys standing
 7      Q. So this was to be done at 5:00                      7   around. A lot of the guys were just
 8   a.m.?                                                     8   standing around outside in the common
 9      A. I don't know the exact time.                        9   area just in little groups talking.
10   The day shift goes in at 6:30.                           10      Q. Do you have a recollection at
11      Q. Did you have any discussions                       11   what time you arrived at the camp?
12   with Mr. Schnoor or Mr. Snyder that by                   12      A. I don't recall, no.
13   doing this in the camp at a time when it                 13      Q. Would it be late morning? Early
14   camp was full that it might actually                     14   morning?
15   cause more disruption in the camp?                       15      A. It would have been sometime
16      A. No.                                                16   probably around 7:00 or a little after
17      Q. Did that ever occur to you that                    17   7:00 maybe.
18   that might happen?                                       18      Q. I can tell from many of your
19      A. No.                                                19   e-mails you're a guy who gets in pretty
20      Q. Did you have an understanding                      20   early; right?
21   from your discussions with Mr. Schnoor                   21      A. Yes.
22   that Swetman guards were going to be used                22      Q. I see some of them as early as
23   in this process?                                         23   like 6:00 a.m.?
24      A. No.                                                24      A. Yes.
25      Q. You did not know that was going                    25      Q. So you would have already been

                                                                                                     57 (Pages 222 to 225)
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 1   at the camp when you got the call?                       1   did not meet what they -- what we needed
 2      A. I don't -- at that point in                        2   and we had to send them home based on the
 3   time, and this is kind of a strange                      3   process, but everybody else was fine and
 4   thing, but there is a restaurant in town                 4   we needed them to go back to work.
 5   that opens at 6:00 that I used to go to                  5      Q. Did you also tell them that two
 6   for breakfast, so I would have eaten                     6   of the guys were being terminated because
 7   breakfast and then gone after that, so it                7   they were talking on the rigs?
 8   probably would have been about 6:30 that                 8      A. No, I did not tell them that.       Bingle
 9   I would have been at work that day.                      9      Q. Did you have an understanding as    228:9-21
10         Nowadays, I go at 6:00. I don't                   10   of March 5th, 2007, when you got Exhibit
11   go to that restaurant anymore for                       11   443 about the skill level of Sabulal and
12   breakfast, so that's just -- I found                    12   Jacob Joseph?
13   someplace that serves breakfast before                  13      A. I don't recall. I mean, I am
14   6:00.                                                   14   sure they were pretty well, pretty
15      Q. So it would have been sometime                    15   skilled guys.
16   in the 7:00, 8:00 a.m. range, you figure?               16      Q. Do you know whether they in fact
17      A. Probably about 7:00, 7:30,                        17   got merit raises in the days before that?
18   somewhere around there.                                 18      A. I know Sabulal did.
19      Q. And you went directly over to                     19      Q. That would be an indication that
20   the camp?                                               20   he was a skilled worker?
21      A. Yes.                                              21      A. Yes.
22      Q. When you got to the camp, did                     22      Q. Did -- what were the concerns
23   Mr. Snyder or anybody else tell you that                23   that were being expressed to you by the
24   there were certain workers who were in                  24   Indian workers when you were talking to
25   trailer 15?                                             25   them in the camp the morning of March 9,

                                                  Page 227                                                   Page 229

 1      A. Yeah, he told me that some of                      1  2007?
 2   the guys that were terminated were in one                2     A. They -- just that they were all
 3   of the trailers, one of the lounge areas.                3  going to get shipped home. They were
 4      Q. Did you go into the trailer to                     4  just all concerned that they were going
 5   see them?                                                5  to be sent home like everybody else and
 6      A. I did at some point, yes.                          6  they weren't going to get their
 7      Q. Well, did you do it at that                        7  extensions or anything else. There was
 8   point when you were told or sometime                     8  just a general panic with the guys at
 9   later?                                                   9  that time.
10      A. I don't know if it was                            10     Q. Would it be fair to say that the
11   specifically when he told me they were                  11 proceedings of that morning had led to
12   there. I mean, I was walking around                     12 that panic?
13   talking to all the guys that were                       13     A. Probably.
14   outside. I don't know if Darrell come up                14     Q. Do you agree with me that
15   to me right when I got there. I got                     15 Signal's decision to use security guards
16   there and just started talking to the                   16 to round up workers the morning of March
17   guys that were there.                                   17 9th --
18      Q. And what were you talking to the                  18     MS. HANGARTNER: Object to form.
19   guys who were there about?                              19 BY MR. HOWARD:
20      A. Just trying to get them to go in                  20     Q. -- contributed to a panic among
21   to work because they were already late,                 21 these workers?
22   and just trying to reassure them of the                 22     A. I don't know that they used
23   fact that we are not out trying to                      23 security guards to round anybody up. I
24   terminate everybody. We are -- you know,                24 don't know how it was done, but I don't
25   that unfortunately some guys skill levels               25 think we had security guards going in and

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 1      MR. HOWARD: We have to change the                     1      A. I don't recall.
 2   tape.                                                    2      Q. Was it from the start that there
 3      VIDEOGRAPHER: We are going off the                    3   was just going to be a zero alcohol
 4   record. The time is 3:27 p.m.                            4   policy for the camp?
 5      (Brief recess.)                                       5      A. Yes.
 6      VIDEOGRAPHER: We are back on the                      6      Q. Who came up with the idea of a
 7   record. The time is 3:29 p.m.                            7   no visitors rule for the camp?
 8      MR. HOWARD: Mr. Bingle, let me show                   8      A. I don't recall who come up with
 9   you what has been marked as Exhibit 530.                 9   that.
10   An e-mail chain with the Bates range SIGE               10      Q. Was that one you were in
11   0322906 through 2909. And these are                     11   agreement with?
12   e-mails from April 2007 time period,                    12      A. Yes.
13   April 9th to be exact.                                  13      Q. Why?
14         (Plaintiff's Exhibit 530 was                      14      A. Just because some people could
15   marked for identification by the court                  15   bring somebody in to came that the other
16   reporter and said exhibit is attached                   16   guys did not like. It was just a -- it
17   hereto?)                                                17   was more of a community camp then it was
18      Q. BY MR. HOWARD: Before you                         18   an individual's home, so it was more of a
19   review that, let me ask you were you                    19   basis on what was, you know, what was the
20   generally involved with the rules that                  20   best way to, you know, keep everybody
21   Signal implemented for the man camps?                   21   happy.
22      A. Yes.                                              22      Q. So you would agree that because
23      Q. And one of the rules was that no                  23   these Indian H-2B workers were living in
24   alcohol was to be allowed in the camps;                 24   a community camp rather than a private
25   correct?                                                25   home they had to give up some of the

                                                  Page 235                                                    Page 237

 1      A. That's correct.                                    1  rights they would enjoy if they did live
 2      Q. What was the rational for that                     2  in a private home?
 3   rule?                                                    3     MS. HANGARTNER: Object to form.
 4      A. Just because we had a lot of                       4     A. Yes.
 5   guys living in a small area. Just                        5 BY MR. HOWARD:                            Bingle
 6   thought it would be better then, you                     6     Q. And the camp was built for the
 7   know, to have somebody getting inebriated                7  Indian H-2B workers; correct?
                                                                                                          237:6-21
 8   and causing trouble.                                     8     A. That's correct.
 9      Q. Who came up with that rule?                        9     Q. And only Indian H-2B workers
10      A. I don't recall who come up with                   10 lived there; correct?
11   that rule.                                              11     A. Yes.
12      Q. Were you in agreement with it?                    12     Q. And only Indian H-2B workers
13      A. Yes.                                              13 were allowed to live there by Signal;
14      Q. Do you see any concern that,                      14 correct?
15   you know, depriving guys who were living                15     A. Yes.
16   there the opportunity to have a beer                    16     Q. And if an American worker said,
17   after work or something in their own                    17 you know, my house was destroyed in
18   home, so to speak, would be a cause for                 18 Katrina, I got no place to live, I would
19   complaint?                                              19 like to live in the man camp. Would you
20      A. No.                                               20 have let them?
21      Q. Did the guys complain about it?                   21     A. No.
22      A. Some of them did.                                 22     Q. And what was the consequence for
23      Q. Were any considerations given                     23 Indian workers who did not abide by the
24   for alternatives where alcohol could be                 24 rules of the man camp?
25   allowed in a designated area?                           25     A. I think there were some

                                                                                                  60 (Pages 234 to 237)
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 1  test that was given to the welder                                  1          CERTIFICATE OF COURT REPORTER
 2  applicants and the written fitter test                             2       I, CRYSTAL LYNN MORRIS, CSR 1704, Court
 3  that was given to the fitter applicants                            3   reporter and Notary Public, in and for the
 4  those who passed those test were extended                          4   county of Harrison, State of Mississippi,
 5  an offer of employment with Signal;                                5   hereby certify that the foregoing pages contain
 6  correct?                                                           6   a true and correct transcript of the testimony
 7     A. Yes.                                                         7   of the witness, as taken be me at the time and
 8     Q. And was that the Exhibit 381                                 8   place heretofore stated, and later reduced to
 9  Offer of Employment that you signed as                             9   typewritten form by computer-aided
10 was dated October 5, 2006, that is                                 10   transcription under my supervision, to the best
11 Exhibit 381?                                                       11   of my skill and ability.
12     A. Yes.                                                        12       I further certify that the witness was
                                                                      13   placed under oath to truthfully answer all
13     MR. HOWARD: I have nothing further.
                                                                      14   questions I this matter under the authority
14 Thank you. Thank you on the phone
                                                                      15   vested in me by the State of Mississippi.
15 everyone.                                                          16       I further certify that I am not in the
16     VIDEOGRAPHER:                                                  17   employ of, or related to, any counsel or party
17        This deposition has ended. The                              18   in this matter, and have no interest, monetary
18 time is 4:49 p.m.                                                  19   or otherwise, in the final outcome of the
19 (Deposition session concluded at 4:29 p.m.)                        20   proceedings.
20                                                                    21       Witness my signature and seal, this the
21                                                                    22   10th day of November, 2009.
22                                                                    23
23                                                                    24   _____________________________
24                                                                         Crystal L. Morris, CSR #1704
25                                                                    25   My Commission Expires February 4, 2012

                                                           Page 275

 1         SIGNATURE OF WITNESS
 2      I,_____________________, do
 3   Solemnly swear that I have read the foregoing
 4   ______ pages and that the same is a true and
 5   correct transcript of the testimony given by me
 6   at the time and place hereinbefore set forth,
 7   with the following corrections:
 8
 9   PAGE: LINE: SHOULD READ: REASON FOR CHANGE:
10   ___________________________________________________
11   ___________________________________________________
12   ___________________________________________________
13   ___________________________________________________
14   ___________________________________________________
15   ___________________________________________________
16   ___________________________________________________
17               NOTARIZATION
18       I, ______________, notary public
19   For the State of Mississippi, _____________
20   county, do hereby certify that ______________
21   personally appeared before me this ______ day of
22   ___________, 2009, at ________, Mississippi.
23   My commission expires:
24   ___________________            ____________________
25                 (NOTARY PUBLIC)


                                                                                                            70 (Pages 274 to 276)
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DEPOSITION EXCERPTS

   TRACEY A. BINION
                                                                           Page 1

  1                UNITED STATES DISTRICT COURT
  2                EASTERN DISTRICT OF LOUISIANA
  3      KURIAN DAVID, SONY            CIVIL ACTION
         VASUDEVAN SULEKHA,
  4      PALANYANDI THANGAMANI,        NO. 08-1220
         MARUGANANTHAM KANDHASAMY,
  5      HEMANT KHUTTAN, ANDREWS       SECTION "A"
         ISSAC PADA VEETTIYL, AND
  6      DHANANJAYA KECHURA, ON        MAGISTRATE 3
         BEHALF OF OTHER SIMILARLY
  7      SITUATED INDIVIDUALS, AND
         SABULAL VIJAYAN, KRISHAN
  8      KUMAR, JACOB JOSEPH
         KADDAKKARAPPALLY, KULDEEP
  9      SINGH, AND THANASEKAR
         CHELLAPPAN, INDIVIDUALLY,
 10
                        PLAINTIFFS
 11
         VERSUS
 12
         SIGNAL INTERNATIONAL,
 13      LLC, MALVERN C. BURNETT,
         GULF COAST IMMIGRATION
 14      LAW CENTER, L.L.C., LAW
         OFFICES OF MALVERN C.
 15      BURNETT, A.P.C.,
         INDO-AMERI SOFT L.L.C.,
 16      KURELLA RAO, J & M
         ASSOCIATES, INC. OF                 VOLUME 1
 17      MISSISSIPPI, GLOBAL
         RESOURCES, INC., MICHAEL
 18      POL, SACHIN DEWAN, AND
         DEWAN CONSULTANTS PVT.
 19      LTD. (a/k/a MEDTECH
         CONSULTANTS).
 20
                        DEFENDANTS.
 21
        Videotaped Rule 30(b)(6) deposition of SIGNAL
 22     INTERNATIONAL, L.L.C., given through its
        designated representative, TRACEY A. BINION, 601
 23     Bayou Cassotte Parkway, Pascagoula, Mississippi
        39581, taken in the offices of Middleberg, Riddle
 24     & Gianna, 31st Floor, 201 St. Charles Avenue, New
        Orleans, Louisiana 70170, on Monday, the 28th
 25     day of September, 2009, beginning at 9:23 a.m.


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Binion 30:3-31:3
                                                       Page 30                                                       Page 32

     1   it could have been the same person, you know, for        1           (Whereupon, Exhibit Number
     2   a while.                                                 2       413 was marked for identification.)
     3        Q. Okay. Okay. And were there forms                 3   EXAMINATION BY MS. TSU:
     4   that the Indian H2B workers signed that other            4       Q. Tracey, will you confirm that you
     5   people didn't sign?                                      5   appeared here today pursuant to that?
     6        MS. BOLLMAN:                                        6       A. Yes, I'm here.
     7            Object to form.                                 7       Q. Pursuant to the Notice of
     8        A. Yes.                                             8   Deposition?
     9   EXAMINATION BY MS. TSU:                                  9       MS. TSU:
    10        Q. Okay. And by that, you mean that                10           Off the record.
    11   there were forms that Indian H2B workers signed         11       THE VIDEOGRAPHER:
    12   that non-Indian workers didn't sign?                    12           We're now off the record at
    13        A. You talking, like, the Employment               13       9:47.
    14   Agreement?                                              14           (Whereupon, a discussion was
    15        Q. I think that would be one of them.              15       held off the record.)
    16   There would be an Employment Agreement. There           16       THE VIDEOGRAPHER:
    17   would also be housing rules, I would assume. Is         17           We're now back on the
    18   that something that only H2B workers signed?            18       record. The time is 9:48.
    19        A. Yes.                                            19   EXAMINATION BY MS. TSU:
    20        Q. Man camp rules and regulations --               20       Q. So, Tracey, I'm going to give you
    21        A. Yes.                                            21   something that's been marked as Exhibit 414, and
    22        Q. -- is that something that only H2B              22   pass that around.
    23   workers would sign?                                     23       MS. TSU:
    24        A. Yes.                 Binion 30:25-31:3          24           People on the phone, it's
    25        Q. Payroll deduction form for the $35 a            25       SIGE0006389.

                                                       Page 31                                                       Page 33

     1   day deduction, is that something only H2B workers        1             (Whereupon, Exhibit Number
     2   would sign?                                              2        414 was marked for identification.)
     3         A. Yes.                                            3   EXAMINATION BY MS. TSU:
     4         Q. All right. Is there anything else               4        Q. Tracey, let me know when you've had
     5   that you can think of that only they would sign?         5   a trance to look at that.
     6         A. Tool deduct.                                    6        A. Okay. I've seen it.
     7         Q. Okay. They're the only ones who had             7        Q. Okay. Do you recognize this?
     8   tools deducted, the cost of tools deducted from          8        A. I do.
     9   their wages?                                             9        Q. What is it?
    10         A. No, that's not true.                           10        A. It's a copy of a combination to the
    11         Q. Okay.                                          11   locks.
    12         A. If you bought tools, every employee            12        Q. What would the locks be used for?
    13   paid it through their paycheck, but they signed         13        A. We gave it to them for their
    14   it at the time they bought the tools.                   14   lockers.
    15         Q. I see. Okay. Anything else?                    15        Q. Okay. So, you gave it to the H2B
    16         A. No.                                            16   workers for the lockers in their -- in their
    17         Q. Okay. Let's see.                               17   trailers?
    18         MS. TSU:                                          18        A. Yes.
    19              I'd like to introduce --                     19        Q. Is that how you refer to them?
    20         it's SIGE3689. Oh, you know what,                 20   Okay. And, so, Signal had the combination to the
    21         I'm sorry, everyone. Before we do                 21   workers -- to open the temporary workers'
    22         this, can I just have the very                    22   lockers?
    23         top? Can we mark this as Exhibit                  23        A. We kept them in the personnel file
    24         413, please? It's the Notice of                   24   because they were losing their combinations.
    25         Deposition.                                       25        Q. Okay. Did Signal ever search the

                                                                                                            9 (Pages 30 to 33)
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                         Binion 38:3-19
                                                     Page 38                                                        Page 40

 1   States?                                                    1        Q. Okay.
 2         A. I'm not aware of that.                            2        A. I really don't.
 3         Q. To your knowledge, did anyone tell                3        Q. Do you have any sense of numbers?
 4   the workers they would be subject to demotion              4        A. I don't do the testing.
 5   based on retesting?                                        5        Q. Okay. Would you say -- would you
 6         A. No.                                               6   say that more than half of their wages reduced?
 7         Q. To your knowledge, did anyone from                7        A. No, I would not say that.
 8   Signal tell them that they would be subject to             8        Q. Okay. Would you say 10 percent?
 9   termination?                                               9        A. Possibly.
10         A. Yes.                                             10        Q. Okay. Is there a number that you
11         Q. Okay. Who told them that?                        11   would feel comfortable saying percentage or hard
12         A. Well, they got it in their                       12   number that got their wages reduced?
13   Employment Agreement. It said employment at               13        A. No. No.
14   will.                                                     14        Q. Okay. Who decided if a worker
15         Q. Okay. When did they get that                     15   needed to be retested?
16   Employment Agreement?                                     16        A. Came from Production.
17         A. I know they got it during                        17        Q. Okay. What is Production? What
18   orientation. I do not know if they also looked            18   does that mean?
19   at it in India.                                           19        A. Basically, the workers, when they're
20         Q. Okay. Was there anybody who --                   20   producing out in the field, that's referred to as
21   strike that question.                                     21   production. So, their supervision.
22             Okay. Could -- the -- to be clear,              22        Q. Okay. How does that line of
23   the H2B workers, once they arrived in the United          23   authority go? From the workers in the field, who
24   States, all of them were retested; is that right?         24   supervises them?
25         A. I don't know if everyone was                     25        A. First thing, they have a foreman.

                                                     Page 39                                                        Page 41

 1   retested.                                                  1         Q. Okay.
 2        Q. Were some of them retested?                        2         A. Then, they have a general foreman.
 3        A. Yes.                                               3         Q. Okay.
 4        Q. Okay. And were some of them                        4         A. Then, they have a superintendent.
 5   demoted?                                                   5   Then, they have a department head. Then, it's
 6        A. Yes.                                               6   the VP of Production, and the VP reports to the
 7        Q. Okay. And were some of their wages                 7   senior VP and general manager.
 8   cut?                                                       8         Q. Okay. So, at what level of
 9        A. They were reduced based on the                     9   authority can somebody say that a worker needs to
10   skill, yes.                                               10   be retested?
11        Q. Okay. And were some of them                       11         A. I would say the foreman can suggest
12   terminated?                                               12   it to the general foreman, but there is no black-
13        A. Yes.                                              13   and-white policy on that.
14        Q. Okay. And were all of them subject                14         Q. Okay. And do you know who was
15   to demotion if Signal thought that was the                15   suggesting it in these cases?
16   appropriate -- if Signal thought that was                 16         A. No.
17   appropriate?                                              17         MS. BOLLMAN:
18        A. All employees are.                                18             Object to form.
19        Q. Okay. Including the H2B workers?                  19   EXAMINATION BY MS. TSU:
20        A. Yes.                                              20         Q. Okay. Who is -- is now or was --
21        Q. Okay. Thank you.                                  21   well, who is now the vice president of
22            And just to try to get more of a                 22   Production?
23   sense of things, would you say that more than             23         A. Bill Bingle.
24   half are retested?                                        24         Q. Okay. And was he the vice president
25        A. I don't know.                                     25   of Production from 2006 till the present day?

                                                                                                         11 (Pages 38 to 41)
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                                                        Page 54                                                      Page 56

 1   work hours you work, you know, technically, the               1        A. We don't have the bonus now.
 2   more recordables you could have and still keep                2        Q. When was the bonus phased out?
 3   the goal. If the entire work force met the goal,              3        A. Sometime this year.
 4   then, you were eligible to get it. Then, it went              4        Q. Okay. Why was it phased out?
 5   to the next level and looked at, were you                     5        A. Needed to cut back on costs.
 6   specifically eligible, have you been                          6        Q. Okay. Who made that decision?
 7   disqualified.                                                 7        A. CEO.
 8        Q. Okay.                                                 8        Q. That would be Richard Marler?
 9        A. That better?                                          9        A. Yes.
10        Q. That makes sense. Thank you.                         10        Q. Okay. Okay. And -- let's see. So,
11        A. Okay.                                                11   do you remember whether overtime was ever paid on
12        Q. Okay. And, so, if a worker got the                   12   the safety bonus itself?
13   bonus, how much extra would he get in his check              13        A. Yes, it was.
14   per hour?                                                    14        Q. Okay.
15        A. There was a scale based on what your                 15        A. Yes.
16   position was, and it's changed throughout the                16        Q. Okay. So, does that mean that it
17   program.                                                     17   would be -- would that be for hours that the
18        Q. Okay.                                                18   employee worked over 40 -- hold on. Let me try
19        A. Started at around 25 or 35¢ per                      19   to think how to explain this. Would that just be
20   hour, plus overtime.                                         20   for -- I don't know how to explain this right.
21        Q. Okay.                                                21   Okay. I'll probably have to come back to that.
22        A. And it was based on whether you were                 22             Okay. So, was overtime paid on the
23   first-class and below or a foreman or a general              23   safety bonus, at the safety bonus rate, for the
24   foreman. There were three ratings.                           24   entire time that the safety bonus existed?
25        Q. Okay. And, then -- so, then when                     25        A. Yes.

                                                        Page 55                            Binion 57:4-13            Page 57

 1   did the program, the safety bonus program start?              1        Q. And is that reflected on the payroll
 2        A. I think '03 or '04. I don't really                    2   records that Signal gives to its workers?
 3   remember on that.                                             3        A. Yes.
 4        Q. Okay. And did it go up at some                        4        Q. Okay. Did all arriving Indian H2B
 5   point from the 25 to 35¢ an hour?                             5   workers live in the man camps, whether in Texas
 6        A. Yes. I believe it went to 55¢.                        6   or Mississippi?
 7        Q. And was that for everybody, or were                   7        A. Yes.
 8   there still three rates?                                      8        Q. Did any non-Indians live in the man
 9        A. There were still three rates. That                    9   camps?
10   was the lowest.                                              10        A. Some of the cooks.
11        Q. Okay. And when was that?                             11        Q. Okay. Did any of Signal's other
12        A. I don't remember when it went to                     12   workers live on-site?
13   55¢.                                                         13        A. No.
14        Q. Okay. And you said that they -- and                  14        Q. And did you ever receive complaints
15   that was per hour?                                           15   about the food?
16        A. Yes.                                                 16        A. Personally?
17        Q. Okay. For the entire month?                          17        Q. Did anybody -- either you personally
18        A. Per worked hour for the entire                       18   or somebody in your department that reported to
19   month.                                                       19   you.
20        Q. Okay. And then was that -- was                       20        A. No.
21   that, say, 25¢ an hour calculated as part of the             21        Q. Okay. Who would those complaints
22   regular rate of pay when Signal was determining              22   have gone to, if any?
23   overtime?                                                    23        A. Probably the camp manager.
24        A. I don't know. I don't remember.                      24        Q. Were you aware of people complaining
25        Q. Okay. Is it still calculated now?                    25   about the food?

                                                                                                           15 (Pages 54 to 57)
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 1        A. Yes.                                                 1        A. Yes.
 2        Q. Were you aware if Signal -- Signal's                 2        Q. Okay.
 3   responses?                                                   3        A. That would have been just for
 4        A. Yes.                                                 4   Mississippi.
 5        Q. Who would be the best person to ask                  5        Q. Okay. Who was the man camp manager
 6   about Signal's responses?                                    6   for Texas?
 7        A. Darrell Snyder.                                      7        A. Ravinder Reddy.
 8        Q. To the best of your knowledge, did                   8        Q. Okay. Do you know if Mr. Snyder is
 9   Signal ever change caterers --                               9   capable of talking about the situation in Texas?
10        A. No.                                                 10        A. No, he's not.
11        Q. -- while the Indian H2B workers were                11        Q. Does Mr. Reddy still work for
12   present?                                                    12   Signal?
13        A. Sorry. No.                                          13        A. No, he does not.
14        Q. To the best of your knowledge, did                  14        Q. When did he stop working for Signal?
15   Signal ever give the workers a choice of not                15        A. I believe when the camp closed.
16   paying Signal for food?                                     16        Q. When did the camp close?
17        A. No.                                                 17        A. March of '08.
18        Q. Okay. To the best of your                           18        Q. Okay. Are you still in contact with
19   knowledge, did Signal ever allow workers to cook            19   Mr. Reddy?
20   their own food?                                             20        A. No.
21        A. Yes.                                                21        Q. Did Signal offer him a job in a
22        Q. Under what circumstances?                           22   different department?
23        A. I just know the workers would tell                  23        A. I don't know.
24   me they had cooked themselves.                              24        Q. Is that the sort of thing that you
25        Q. Okay. Okay. Were they allowed to                    25   would know if it happens?

                                                       Page 59                                                        Page 61

 1   use the kitchen --                                           1        A. I mean, I would think I would know,
 2        A. Yes.                     Binion 59:9-12              2   but I don't know. It could have -- it could have
 3        Q. -- to cook?                                          3   happened and me not know about it, absolutely.
 4        A. Yes.                                                 4        Q. Okay. Did Signal, to the best of
 5        Q. At any hour? Were there any                          5   your knowledge, ever get rid of the guards at the
 6   restrictions placed on when they could use the               6   man camps while there were workers there?
 7   kitchen?                                                     7        MS. BOLLMAN:
 8        A. I don't know.                                        8            Object to form.
 9        Q. Workers who cooked their own food,                   9   EXAMINATION BY MS. TSU:
10   did they still have the general deduction, the              10        Q. Let me reask that question. I'm not
11   $35 a day, taken from their paycheck?                       11   talking about after Texas closed, for example.
12        A. Yes.                                                12   I'm just talking about when the man camps
13        Q. What about complaints about housing,                13   actually had people in them. But did Signal ever
14   did those go to you or your staff?                          14   get rid of the guards at the man camps?
15        A. Specifically what about housing?                    15        A. You talking at both man camps or
16        Q. If people didn't want to pay the                    16   which one?
17   rates or if people wanted to shift where they               17        Q. At both.
18   were or if people had a problem with the -- say             18        A. Did they ever get rid of the guards
19   there was a leak, any of that.                              19   while people were living there?
20        A. Typically, no, that would not come                  20        Q. Uh-huh.
21   through HR.                                                 21        A. No, I'm not aware of that.
22        Q. Where would that go?                                22        Q. Okay. Did you have anything to do
23        A. To the man camp manager.                            23   with the setting of the $35 a day deduction for
24        Q. Okay. So, Darrell Snyder or Rhonda                  24   room and board?
25   George?                                                     25        A. No.

                                                                                                            16 (Pages 58 to 61)
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                                                    Page 94                                                         Page 96

 1        A. You would have to ask Darrell. He                 1       Q. Let's keep going through the people.
 2   was the one that was threatened.                          2   Kuldeep Singh, what's your understanding as to
 3        Q. And then Jacob Joseph                             3   why he was terminated?
 4   Kaddakkarappally?                                         4       A. Poor skill level.
 5        A. The same.                                         5       Q. Do you know who it was who decided
 6        Q. So, he was also seeking the green                 6   he had a poor skill level?
 7   card and you understood him to be threatening and         7       A. No.
 8   harassing workers?                                        8       Q. Krishan Kumar?
 9        A. I wouldn't characterize it as                     9       A. Poor skill level.
10   seeking the green card. I would say that he was          10       Q. Do you know who decided he had a
11   threatening that if Signal did not get him a             11   poor skill level?
12   green card, that he would continue to create             12       A. No.
13   unrest in the facility.                                  13       Q. Thanasekar?
14        Q. What kind of unrest was Signal                   14       A. Poor skill level.
15   experiencing in the facility?                            15       Q. Again, do you know who made that
16        A. Just constant commotion.                         16   determination?
17        Q. What kind of commotion?                          17       A. No.
18        A. They were constantly, you know,                  18       Q. Okay. What did you think about the
19   questioning about what are you going to do for           19   process of how they were terminated?
20   us, what are you going to do for us, what are you        20       MS. BOLLMAN:
21   going to do for us, that type of thing.                  21           Object to form.
22        Q. Under what circumstances would                   22       A. I wasn't there when they were
23   workers ask Signal what it was going to do for           23   terminated.
24   them?                                                    24   EXAMINATION BY MS. TSU:
25        A. Well, it was shortly after, you                  25       Q. I'm sorry. I couldn't hear you.

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 1   know, when they were asking -- telling us about           1        A. I wasn't there that morning when
 2   all the money they had paid. It was around that           2   they were terminated.
 3   time we had found out, you know, just how much            3        Q. What time were they terminated?
 4   the recruiters had, you know, charged them.               4        A. Before I got there. I don't know
 5   Obviously, we didn't know about that and we were          5   specifically what time.
 6   pretty upset. The workers were upset, thinking            6        Q. Were you -- what time did you arrive
 7   that Signal had something to do with it, and we           7   that day?
 8   obviously didn't.                                         8        A. Shortly after 6:00.
 9        Q. And did that commotion die down                   9        Q. And were you aware of anything that
10   after Sabulal and Jacob Joseph left?                     10   was different?
11        A. Pretty much.                                     11        MS. BOLLMAN:
12        Q. So, that was part of the goal of                 12           Object to form.
13   firing them then?                                        13        A. Different?
14        A. I don't know --                                  14   EXAMINATION BY MS. TSU:
15        MS. BOLLMAN:                                        15        Q. In the sense that -- in the sense
16            Object to form.                                 16   that when you drove up to work that day, did
17        A. I don't know if that was the goal.               17   anything look different?
18   You would have to ask the people that wanted them        18        A. I didn't drive up to work that day.
19   fired.                                                   19        Q. How did you get to work?
20   EXAMINATION BY MS. TSU:                                  20        A. I drove, but I wasn't starting the
21        Q. Do you know who wanted them fired?               21   day there.
22        MS. BOLLMAN:                                        22        Q. Where were you at 6:00 a.m.?
23            Object to form.                                 23        A. I was at home first. I was called
24        A. No.                                              24   to come there.
25   EXAMINATION BY MS. TSU:                                  25        Q. Okay. Who called you?

                                                                                                        25 (Pages 94 to 97)
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     1        Q. What would be normal?                             1   workers, it was costing us around another hundred
     2        A. Depends on when it is and what                    2   to $200,000 a day. A day.
     3   contracts I have in the yard, what the manning            3        Q. Okay. Right after the storm, what
     4   needs are. It could be as high as 30 percent.             4   percentage of your work -- of Signal's work
     5   Could be as low as 3 to 4.                                5   was -- what percentage of your work force was
     6        Q. Okay. Did the H2B workers generally               6   constituted by subcontracted workers?
     7   replace subcontracted workers?                            7        A. When was that? I'm sorry.
     8        A. Did they generally replace?                       8        Q. Right after the storm.
     9        Q. When they came in, the people that                9        A. I really don't remember. See,
    10   they were -- did they -- did Signal stop seeking         10   here -- you know, I don't -- I don't -- I don't
    11   out subcontracted workers when the H2Bs came in?         11   really remember our numbers. We didn't have good
    12        A. No.                                              12   numbers then because we still had people in the
    13        MS. BOLLMAN:                                        13   system hoping they would come back. We didn't
    14           Object to form.                                  14   terminate people waiting to see if they evacuated
    15        MR. ALEXIS:                                         15   and were wanting to come back. So, I don't
    16           Object to form.                                  16   really have good numbers for directly after the
    17        A. We couldn't because the workers kept             17   storm. But I would say probably around January,
    18   absconding. So, I kept needing to keep my                18   it was probably 30 to 35 percent.
    19   subcontractors -- if they had not all absconded,         19        Q. Okay. And the $100,000 a day, can
    20   I would have been able to displace all the subs,         20   you break that down to a percentage? For
    21   probably.                                                21   example, how much would you approximate a first-
    22   EXAMINATION BY MS. TSU:                                  22   class welder would make if they were a direct
    23        Q. The subcontracted workers, are they              23   employee versus a subcontracted employee?
    24   mostly American citizens?                                24        A. Assuming they were top pay?
    25        A. I don't know.                                    25        Q. Sure.

Binion 127:8-128:2                                     Page 127                                                        Page 129

     1        Q. Okay. Do they mostly speak English?               1        A. At that -- what time frame? Sorry.
     2        A. I mean, I didn't work with them and               2        Q. Say 2006.
     3   I didn't process them in myself. I've seen a lot          3        A. Well, I don't specifically remember.
     4   of their limited paperwork, but we don't track --         4   I don't remember what top pay was then, so, let's
     5   we don't track -- I don't believe I track the             5   just kind of assume something.
     6   subcontractors' race. I don't remember if I do            6        Q. That's fine.
     7   or not.                                                   7        A. If it were maybe $19 an hour
     8        Q. Okay. If there was an e-mail                      8   compared to $40 an hour, plus benefits. There's
     9   somewhere about Bill Bingle talking about                 9   not a burden rate added on to that 19. So, then,
    10   replacing Hispanics with Indians, would you think        10   you've got to add on a couple extra dollars per
    11   he might be talking about replacing subcontracted        11   hour for the burden rate.
    12   workers with H2B workers?                                12        Q. Is the burden rate then what the
    13        A. I would say yeah. Yeah.                          13   benefits costs the employer?
    14        Q. Okay. And why would you want to                  14        A. Yes.
    15   displace subcontracted workers?                          15        Q. And it's just a couple dollars?
    16        A. Because it was so expensive.                     16        A. Yeah, it's just, like, two or three
    17        MS. BOLLMAN:                                        17   dollars.
    18            Object to form.                                 18        Q. An hour. Okay.
    19   EXAMINATION BY MS. TSU:                                  19        A. (Nods head affirmatively.)
    20        Q. How much more were subcontracted                 20        Q. What benefits do direct hires have?
    21   workers versus direct workers?                           21        A. You want me to list them all?
    22        A. I don't remember specifically. I                 22        Q. Sure.
    23   mean, that's not really my kind of area,                 23        A. Medical, dental, vision, cancer,
    24   department, the costs of subcontract labor, but I        24   long-term disability, 401(k), vacation, sick. I
    25   believe at the time they were bringing in the H2B        25   think that's it. There may be others I'm

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 1        A. Ask whatever you want to ask.                     1   preceding.
 2        Q. Okay. No one specifically?                        2        A. Okay. About 30 transferred in March
 3        A. (Shakes head negatively.)                         3   of '08.
 4        Q. Okay. That's fine. I'm not going                  4        Q. Okay. And why were they transferred
 5   to answer that right now.                                 5   from Texas to Mississippi?
 6        A. Okay.                                             6        A. Because the work was ending in Texas
 7        Q. I was just curious. I think you                   7   and they had mostly government work and, so, we
 8   were put up for specific ones. Okay.                      8   moved them to Mississippi, where we could work
 9             Back at the beginning of the                    9   them on rigs.
10   deposition, you said that Signal stopped                 10        Q. Okay. And the -- and prior to that,
11   accepting H2B workers because of issues with job         11   how many people? Was there another transfer
12   skills at Texas; is that right?                          12   before that?
13        A. Yes.                                             13        A. Well, we actually tried to transfer
14        Q. Okay. Were all of the H2B workers                14   the whole group, but more than 30 absconded, so,
15   in Texas -- did they all have poor job skills?           15   we only ended up with 30.
16        A. I don't know that.                               16        Q. How many -- you said you had 200 or
17        Q. Okay. Did -- well, did some of                   17   so workers that went to Texas; is that right?
18   them, in fact, come to Mississippi at some point?        18        A. Around. (Nods head affirmatively.)
19        A. Yes.                                             19        Q. And, so, 30 ended up being
20        Q. They were transferred to                         20   transferred to Mississippi in March of '08.
21   Mississippi?                                             21        A. Yes.
22        A. Yes.                                             22        Q. What happened to the other 170?
23        Q. And then were they retested once                 23        A. There were two other transfers.
24   they were in Mississippi and kept on?                    24   Three individuals came at one time in the middle
25        A. I'm not aware of any retesting when              25   of '07. I don't remember the exact date. And

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 1   they got to Mississippi.                                  1   then there was another small transfer, I'd say,
 2       Q. It would be your understanding that                2   maybe 20 people, sometime between the summer of
 3   those people who were kept on and brought over to         3   '07 and March of '08. The rest absconded.
 4   Mississippi had good job skills?                          4        Q. The transfer in mid-'07, how many
 5       A. Could have been. I assume so. I                    5   people came on that?
 6   don't know.                                               6        A. Three.
 7       Q. Okay. Do you -- if you told me this                7        Q. Three. So, three, 20 and 30 came
 8   before, I apologize. Do you know who made the             8   over --
 9   decision to not bring over any more workers to            9        A. Approximately.
10   the Texas site?                                          10        Q. -- approximately, from Texas. Okay.
11       MS. BOLLMAN:                                         11   So, you're saying that approximately 150
12            Object to form.                                 12   absconded?
13       A. No.                                               13        A. Approximately, if that's the math.
14   EXAMINATION BY MS. TSU:                                  14        Q. The three that transferred in the
15       Q. Why were workers brought from Texas               15   middle of '07, was that related in any way to
16   to Mississippi?                                          16   visa extensions?
17       A. When are you talking about?                       17        A. No.
                                                                                            Binion 137:18-141:23
18       Q. In, I guess it would be, in the                   18        Q. You did apply to extend visas in the
19   month leading up to March, '08, when the H2B camp        19   middle of '07; is that right?
20   in Texas was closed.                                     20        A. Yes.
21       A. So, you're saying immediately                     21        Q. And how many people did you apply to
22   preceding the closing.                                   22   extend visas for from Texas?
23       Q. In the months before that, uh-huh.                23        MS. BOLLMAN:
24       A. How many months?                                  24           Object to form.
25       Q. Well, let's start with immediately                25        A. In July?

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 1   EXAMINATION BY MS. TSU:                                      1   you applied for extensions of visas for all Texas
 2        Q. In July of '07.                                      2   workers? Is that what you said?
 3        A. Everyone that was there.                             3        A. From the first visa. Yes, that's my
 4        Q. Okay. And how many people was that                   4   recollection, is that it was for everyone.
 5   in Texas?                                                    5        Q. Does that mean everybody had a
 6        A. I don't remember. I don't remember                   6   passing grade on their evaluation?
 7   the active count then.                                       7        A. No.
 8        Q. Okay. I've seen things in the                        8        Q. And why did you keep the people who
 9   evidence of about a yes/no program. Are you                  9   did not have passing grades on the evaluation?
10   familiar with that program or with that term?               10        A. I didn't say we kept them. I said
11        A. It wasn't a program --                              11   that we applied for their extension.
12        MS. BOLLMAN:                                           12        Q. Okay. And when did you find out --
13            Object to form.                                    13   when did you -- and why were you going -- why did
14        A. -- but I'm familiar with what you're                14   you apply for their extensions?
15   talking about.                                              15        MS. BOLLMAN:
16   EXAMINATION BY MS. TSU:                                     16            Object to form.
17        Q. Okay. Is there another -- is there                  17        A. My attorney told me it was easier
18   a better way for me to refer to it?                         18   just to keep everybody on there.
19        A. Evaluation.                                         19   EXAMINATION BY MS. TSU:
20        Q. Okay. So, there was an evaluation                   20        Q. Okay. And who was the attorney?
21   program that went on.                                       21        A. Malvern Burnett.
22        A. (Nods head affirmatively.)                          22        Q. Okay. And what did you understand
23        Q. And when did that start in 2007?                    23   to mean by it was easier to keep everyone on
24        A. In 2007, prior to the extension -- I                24   there. What does "on there" mean?
25   mean, until the visa ending.                                25        A. Because the evaluations weren't

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 1        Q. Okay. And, so, the visa ended on                     1   completed at the time we needed to finalize the
 2   July 31st, right?                                            2   extension paperwork.
 3        A. The first one, yes.                                  3        Q. Okay. So, you didn't have a final
 4        Q. Okay. And do you know when the                       4   answer. So, you applied for everybody?
 5   program started?                                             5        A. Correct.
 6        MR. ALEXIS:                                             6        Q. And when did you file those
 7            I'm going to object to the                          7   extension paperworks -- paperwork?
 8        form of the question.                                   8        A. I didn't. My attorney did.
 9        A. What program?                                        9        Q. When did you sign it?
10   EXAMINATION BY MS. TSU:                                     10        A. July. I don't remember the exact
11        Q. The evaluation program.                             11   date, but it would have been July.
12        A. Okay. It wasn't a program. It was                   12        Q. Okay. When did you get -- well, let
13   an evaluation, just like we evaluate all                    13   me go to Mississippi first. You said that there
14   employees. It was an evaluation.                            14   were about 288 workers into Mississippi; is that
15        Q. Okay. So, when did the evaluation                   15   right?
16   start?                                                      16        A. Correct.
17        A. Sometime preceding the end of the                   17        Q. Okay. And did you apply for
18   visa -- sometime before July. I don't remember              18   extensions of H2B visas for all of the ones who
19   exactly when it started.                                    19   were there in July of 2007?
20        Q. How long did the evaluation go on?                  20        A. To my knowledge, yes.
21        A. (Shakes head negatively.)                           21        Q. And those applications also went in
22        Q. Who conducted the evaluation?                       22   in July of 2007?
23        A. I don't know. Wasn't me. I don't                    23        A. Correct.
24   know. Could have been different people.                     24        Q. And was -- did you apply for
25        Q. And, so, it's your testimony that                   25   everyone for the same reason, because Mr. Burnett

                                                                                                        36 (Pages 138 to 141)
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 2
 3
 4            I, CAROL VALLETTE SLATER, Certified
 5   Court Reporter, Registered Professional Reporter,
 6   in and for the State of Louisiana, as the officer
 7   before whom this testimony was taken, do hereby
 8   certify that TRACEY A. BINION, after having been
 9   duly sworn by me upon authority of R.S. 37:2554,
10   did testify as hereinbefore set forth in the
11   foregoing pages; that this testimony was reported
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13   prepared and transcribed by me or under my
14   personal direction and supervision, and is a true
15   and correct transcript to the best of my ability
16   and understanding; that I am not related to
17   counsel or the parties herein, nor am I otherwise
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DEPOSITION EXCERPTS

  MALVERN BURNETT
                                                                             Page 1

  1                     UNITED STATES DISTRICT COURT
  2                     EASTERN DISTRICT OF LOUISIANA
  3
          KURIAN DAVID, SONY                    CIVIL ACTION
  4       VASUDEVAN SULEKHA,
          PALANYANDI THANGAMANI,                NO. 08-1220
  5       MARUGANANTHAM KANDHASAMY,
          HEMANT KHUTTAN, ANDREWS               SECTION "A"
  6       ISSAC PADA VEETTIYL, AND
          DHANANJAYA KECHURA, ON                MAGISTRATE 3
  7       BEHALF OF OTHER SIMILARLY
          SITUATED INDIVIDUALS, AND
  8       SABULAL VIJAYAN, KRISHAN
          KUMAR, JACOB JOSEPH
  9       KADDAKKARAPPALLY, KULDEEP
          SINGH, AND THANASEKAR
 10       CHELLAPPAN, INDIVIDUALLY,
 11                  PLAINTIFFS
 12       VERSUS
 13       SIGNAL INTERNATIONAL,
          LLC, MALVERN C. BURNETT,
 14       GULF COAST IMMIGRATION
          LAW CENTER, L.L.C., LAW
 15       OFFICES OF MALVERN C.
          BURNETT, A.P.C.,
 16       INDO-AMERI SOFT L.L.C.,
          KURELLA RAO, J & M
 17       ASSOCIATES, INC. OF
          MISSISSIPPI, GLOBAL
 18       RESOURCES, INC., MICHAEL
          POL, SACHIN DEWAN, AND                VOLUME 1
 19       DEWAN CONSULTANTS PVT.
          LTD. (a/k/a MEDTECH
 20       CONSULTANTS).
 21                  DEFENDANTS.
 22
        Videotaped deposition of MALVERN C. BURNETT, 1523
 23     Polymnia Street, New Orleans, Louisiana 70130,
        taken in the offices of Middleberg, Riddle &
 24     Gianna, 31st Floor, 201 St. Charles Avenue, New
        Orleans, Louisiana 70170, on Tuesday, the 17th
 25     day of November, 2009, beginning at 9:20 a.m.


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 1   when you met with Signal and discussed your              1   a lot during that storm. I'm asking -- when I
 2   approximately $3,750 fee, you don't remember             2   ask you these questions, I'm asking you based on,
 3   whether the fees that Mr. Dewan charged also came        3   you know, the best of your recollection what you
 4   up?                                                      4   think the answer is. If you don't remember, you
 5        MR. SHAPIRO:                                        5   don't remember, and that's the truthful answer.
 6            Object to form.                                 6   And I think, you know, that's how you've answered
 7        A. Let me explain something to you.                 7   the questions.
 8   EXAMINATION BY MR. WERNER:                               8            When you met with Signal in the fall
 9        Q. Sure.                                            9   of 2006 to discuss your fees, did anybody at
10        A. All right? I went through the most              10   Signal -- you've testified earlier that you told
11   horrific experience in my life on August 29th of        11   the folk at Signal that --
12   2005. I had a house that I built -- my dream            12        A. I told the boat?
13   house that I built in 2000 on the beach in              13        Q. The folk.
14   Waveland, Mississippi, destroyed with everything        14        A. The folk.
15   that I collected and possessed. I had my wife --        15        Q. -- the people at Signal that you
16   my wife's mother killed -- she lived four blocks        16   thought these fees were reasonable; is that
17   away. She did not evacuate. She just moved down         17   correct?
18   15 months before. She was killed in the storm.          18        A. Correct.
19   I got dislocated from my family for almost a            19        Q. Okay. Did anybody at Signal agree
20   four-year period -- I mean, I was dislocated from       20   with you that it was a reasonable fee, indicate
21   my family, evacuated my family to Lafayette. I'm        21   their agreement to you that it was a reasonable
22   having to stay here. I lost both of my offices          22   fee?
23   in Mississippi entirely. My office in Bay St.           23        A. If I recall, I suggested that they
24   Louis, not even the front steps were left. My           24   contact other counsel, immigration counsel, in
25   office in Gulfport, the whole bottom floor of the       25   the region to compare, to see, and I think this

                                                   Page 95                                                       Page 97

 1   13-story Markham Building was blown out and I was        1   letter speaks for itself.
 2   on the frigging first floor. Okay. So, you               2        Q. At that time, was -- do you believe
                                                                                                                  Burnett
 3   know, my memory ain't as sharp as it used to be.         3   it was clear to Signal that your $3,750 fee --
 4   And I've gone to a couple of psychologists at the        4        A. I said approximately. I got less in     97:2-9
 5   request of family members, and they say, you             5   some cases, I got more in some cases.
 6   know, you're doing a good job, you're handling it        6        Q. Was it clear at that time that your
 7   all right because you're able to keep things             7   approximately $3,750 fee was on top of the fee
 8   together. Well, you know, my memory ain't what           8   that Michael Pol charged?
 9   it was and it probably will never be. And, so,           9        A. Most assuredly.
10   when you're asking these questions, I'm doing the       10        Q. So, Signal understood that at that
11   very level best that I can at responding, and           11   time?
12   you're just going to have to be patient with me.        12        A. Most assuredly.
13   Al right? I'm not asking for sympathy. I'm just         13        Q. Do you remember if at that meeting
14   laying it on the line. I continue to live with          14   Signal confronted you and said we've found out
15   what I think is a disability of having gone             15   about these fees. What's up with this? Or was
16   through this, like the rest of this freaking            16   it just a general meeting to talk about fee
17   city, you know, and the rest of this region, you        17   arrangements?
18   know, and that's the long and short of it. All          18        A. I don't think that you could
19   right?                                                  19   characterize it as a confrontation. I mean,
20         Q. You know, I understand that --                 20   we -- I'm trying to think if it occurred in the
21         A. So, when you press me for details              21   context of, you know, Michael's gone, this is
22   and I tell you that I don't recall, hey, bud, I         22   what, you know, he charged. We understand that
23   don't recall.                                           23   you charged, you know, this amount because
24         Q. I understand that you and the rest             24   workers were -- told them basically what they
25   of the people in this region really went through        25   were paying. You know, at one point, I think

                                                                                                       25 (Pages 94 to 97)
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 1   being with -- my mind is starting to drift on me.          1         Q. There was some concern about not
 2   Give me a second -- John Sanders when the visas            2   being paid, too.
 3   first got issued, and I don't know when he was             3         MR. SHAPIRO:
 4   there. I was -- I don't know.                              4             Object to form.
 5         Q. I'm just trying to get to the bottom              5         A. My concern was that these people
 6   of this apparent dispute that you had with Mr.             6   were coming on visas that were not valid. In
 7   Dewan and then we're going to break for lunch.             7   fact, I told Signal of this. I said, it's my
 8   The --                                                     8   belief that people are coming on these visas.
 9         A. I think I can explain it to you this              9   They did revoke -- they did send notices out
10   way.                                                      10   revoking the visas.
11         Q. Okay. Go for it.                                 11   EXAMINATION BY MR. WERNER:
12         A. Let me try to explain it to you this             12         Q. You said just a couple minutes ago
13   way. You know, there were people who -- who --            13   that part of your concern was also that you
14   who claimed that they were -- they claimed that           14   weren't getting paid for these guys.
15   they were instructed by Sachin Dewan to state             15         A. Not necessarily these guys, but
16   that they had been refunded all of their monies,          16   people who -- who had paid -- I mean, the fact is
17   when, in fact, they state that they had not.              17   if -- if people were -- if people were claiming
18         Q. Okay. And how many installments                  18   that they were refunded -- if they were being
19   would they have made -- had they made their first         19   instructed they were refunded and they weren't
20   two installments that you know of?                        20   being refunded, you know, how would I know that
21         MR. SHAPIRO:                                        21   people who -- who had claimed to have been
22            Object to form.                                  22   refunded in the past were, in fact, refunded?
23         A. I -- I had it alluded to me that --              23         Q. I mean --
24   that they had paid a substantial sum of money.            24         A. You see my point?
25   EXAMINATION BY MR. WERNER:                                25         Q. I see where you're going. Isn't --

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 1        Q. Was it the full amount, all three                  1   part of your concern -- I mean, you had this
 2   installments, or you think it was maybe two of             2   agreement with Mr. Dewan and Mr. Pol that this
 3   three?                                                     3   money was essentially going to be split three
 4        A. I can't say for a fact how many                    4   ways; is that right?
 5   installments, but it was -- it was a substantial           5        MR. ALEXIS:
 6   sum of money.                                              6             Object to form.
 7        Q. And what was that substantial sum of               7   EXAMINATION BY MR. WERNER:                 Burnett
 8   money?                                                     8        Q. With some variation.               169:11-21
 9        A. You know, varying amounts.                         9        A. I was expecting my reasonable
10        Q. Between what and what?                            10   attorney's fees.
11        A. Between 15 and $30,000.                           11        Q. And your reasonable attorney's fees,
12        Q. Is -- was part of your concern that               12   you believed to be generally --
13   Mr. Dewan had collected the full amount, was              13        A. Three thousand, seven hundred
14   sending the workers to the U.S. and then was              14   fifty -- just depended.
15   pocketing the money without you getting your              15        Q. It was somewhere between -- what was
16   share of it?                                              16   the maximum reasonable attorney's fees that
17        MR. SHAPIRO:                                         17   workers were expected to pay?
18            Object to form.                                  18        A. It may have been -- the maximum,
19        A. My concern -- my concern was that --              19   there may have been a few between five and six.
20   well, there was some concern associated with              20        Q. Five and $6,000?
21   whether or not I was getting paid. You know, you          21        A. Between, yeah.
22   never knew. But my main concern was that the              22        Q. So -- and these H2B workers are
23   workers were coming to the United States on visas         23   workers who you had already done work -- you had
24   that were not valid.                                      24   already done the immigration work for the ones
25   EXAMINATION BY MR. WERNER:                                25   who you were concerned about Dewan was sending to

                                                                                                       43 (Pages 166 to 169)
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 1        A. Says the attorney will represent                  1        Q. And it was for that that Signal was
 2   worker as a licensed attorney in the United               2   to pay you a retainer fee of $5,000, an advance
 3   States and file all necessary documents with the          3   of $5,000?
 4   government to assist the worker make application,         4        A. This was an accommodation. When we
 5   make application, for the permanent residency             5   discussed -- when I discussed this with Signal,
 6   program.                                                  6   for one thing, it was getting late -- it started
 7   EXAMINATION BY MR. WERNER:                                7   late in the process to be filing this petition,
 8        Q. Right. So, again, going back to                   8   but they decided that they -- that they had a
 9   what happened at the consular interview, if this          9   need for workers and wanted to supplement their
10   had been presented to a candidate before the             10   workforce. I forget the exact circumstances, but
11   consular interview, the candidate would have gone        11   I don't know if it was in -- I don't know if it
12   into that consular interview with the                    12   was -- if it was a -- a naval contract that had
13   understanding that a permanent resident                  13   pulled some of their normal -- their U.S. worker
14   application was going to be applied for on his           14   workforce away that mandated this, but for
15   behalf by you.                                           15   whatever the reason, it was supposed to be and it
16        MR. ALEXIS:                          Burnett        16   was my understanding that I would do the H2B and
17            Object to the form of the        266:25 -       17   also be permitted to visa process the workers.
18        question, but subject to that, go    269:17         18   In other words, to bring over the H2B workers.
19        ahead.                                              19   And it was discussed with -- with Sanjay Keswani
20        A. Perhaps at some point -- I mean, at              20   that he and I -- in fact, he represented to me
21   some point in the future, but there was no -- no         21   that -- that it was his understanding with
22   timeline set forth, you know, when they would            22   consultations with Darrell Snyder that Sachin and
23   assist in making that application.                       23   I would be doing the visa processing, bringing
24   EXAMINATION BY MR. WERNER:                               24   the workers over, and we discussed even, you
25        Q. Let me have you look at Exhibit 575,             25   know, using of -- use of recruiters and which

                                                   Page 267                                                      Page 269

 1   which is the -- it's dated March 6th, 2007.               1   fees to charge. We discussed fees ranging from
 2        A. No. No. I've got it September 6th,                2   1,500 to, you know, five, $6,000 per worker. So,
 3   2007.                                                     3   they were going to supplement basically the fees
 4        Q. September 6th. You're correct. I'm                4   that I was receiving from Signal.
 5   reading my numbers wrong. September 6th, 2007.            5        Q. Who was going to -- the workers were
 6   Fee Agreement between yourself and Signal                 6   going --
 7   International. It's SIGE0008010. It's not                 7        A. The workers were going to pay. The
 8   signed by any -- the one that we have is not              8   workers were going to pay us. He was going to be
 9   signed by anybody. Do you know if this Fee                9   the recruiter and I was going to be doing the
10   Agreement was eventually signed by somebody at           10   immigration work.
11   Signal?                                                  11        Q. And this is long after Signal
12        A. Excellent question. I would assume               12   already knew that you had charged somewhere --
13   it was. I mean, it was in -- they had it. I              13        A. This is just for the H2B.
14   mean, I can just assume it was.                          14        Q. This is --
15        Q. Let me just ask a few questions                  15        A. This is going to be just H2B.
16   about this. Have you ever seen this Fee                  16   Straight H2B. Not permanent residency. H2B
17   Agreement?                                               17   alone.
18        A. Yes.                                             18        Q. And what did you ultimately settle
19        Q. Okay. Does this memorialize the Fee              19   on, if anything, with Signal in terms of the
20   Agreement that you actually had with Signal at           20   amount?
21   some point?                                              21        A. Nothing. The very day -- the very
22        A. It was my understanding that we had              22   day the visa was approved, I was fired.
23   a Fee Agreement that -- that purported to                23        Q. And why were you fired?
24   authorize me to represent the filing of H2Bs -- a        24        A. Conflict of interest.
25   separate filing of H2Bs, I should say.                   25        Q. And what was the conflict?

                                                                                                     68 (Pages 266 to 269)
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 1        the question.                                         1            WITNESS' CERTIFICATE
 2        A. Yeah. The form's already loaded.                   2
 3   You know, the forms are -- you could load the              3
 4   draft forms, you know, basically. We're just               4
 5   waiting for advertising, for recruitment and --            5           I, MALVERN C. BURNETT, the
 6   EXAMINATION BY MR. WERNER:                                 6   undersigned, do hereby certify that I have read
 7        Q. Yeah. Here's my question. You                      7   the foregoing deposition and it contains a true
 8   could have done the advertisement and the                  8   and correct transcript of the testimony given by
 9   recruitment starting in 2004 and had                       9   me:
10   everything --                                             10
11        A. But not to use with the PERM.                     11
12        Q. But you could have used -- you could              12      ( ) Without corrections.
13   have used that with the PERM.                             13      ( ) With corrections as reflected on
14        A. No, you could not have used. No,                  14         the errata sheet(s) prepared by me
15   absolutely not. You're wrong. You're wrong.               15         and made a part hereof.
16        Q. So --                                             16
17        A. You didn't know what to do until the              17
18   regulations came out.                                     18
19        Q. The regulations came out in                       19
20   December, 2004.                                           20
21        A. No. But they were amended, revised                21
22   and took effect in March. You had to wait. You            22            MALVERN C. BURNETT
23   had to -- there was absolutely no way that you            23
24   could start a job order under PERM until after            24            DATE
25   the effective date. And anyone that had PERMs,            25

                                                    Page 307                                                           Page 309

 1   anyone that did RIRs by then -- you know, if they          1           REPORTER'S CERTIFICATE
 2   did an RIR in 2004, 2003, those babies were                2
 3   sitting in the backlog elimination center, and             3
 4   they were in limbo, absolutely limbo.                      4            I, CAROL VALLETTE SLATER, Certified
 5        Q. The final regs were published in                   5   Court Reporter, Registered Professional Reporter,
 6   December of 2004, is that correct, for PERM?               6   in and for the State of Louisiana, as the officer
 7        A. I don't know the exact date. I                     7   before whom this testimony was taken, do hereby
 8   remember they took effect in March.                        8   certify that MALVERN C. BURNETT, after having
 9        Q. Right. Right.                                      9   been duly sworn by me upon authority of R.S.
10        A. Now, and you could only start the                 10   37:2554, did testify as hereinbefore set forth in
                                                               11   the foregoing pages; that this testimony was
11   process in March.
                                                               12   reported by me in the stenotype reporting method,
12        Q. That's March of 2005.
                                                               13   was prepared and transcribed by me or under my
13        A. Correct.                                          14   personal direction and supervision, and is a true
14        MR. WERNER:                                          15   and correct transcript to the best of my ability
15            Let's go ahead and quit for                      16   and understanding; that I am not related to
16        the day.                                             17   counsel or the parties herein, nor am I otherwise
17        THE VIDEOGRAPHER:                                    18   interested in the outcome of this matter.
18            It is now 5:54 p.m. This                         19
19        concludes the video deposition of                    20
20        Malvern C. Burnett at 5:54 p.m.                      21          CAROL VALLETTE SLATER (CCR 78020)
21            (Whereupon, the testimony of                                 CERTIFIED COURT REPORTER
22        the witness was adjourned at 5:54                    22          REGISTERED PROFESSIONAL REPORTER
23        p.m.)                                                23
24                                                             24
25                                                             25


                                                                                                        78 (Pages 306 to 309)
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  1                     UNITED STATES DISTRICT COURT
  2                     EASTERN DISTRICT OF LOUISIANA
  3
          KURIAN DAVID, SONY                    CIVIL ACTION
  4       VASUDEVAN SULEKHA,
          PALANYANDI THANGAMANI,                NO. 08-1220
  5       MARUGANANTHAM KANDHASAMY,
          HEMANT KHUTTAN, ANDREWS               SECTION "A"
  6       ISSAC PADA VEETTIYL, AND
          DHANANJAYA KECHURA, ON                MAGISTRATE 3
  7       BEHALF OF OTHER SIMILARLY
          SITUATED INDIVIDUALS, AND
  8       SABULAL VIJAYAN, KRISHAN
          KUMAR, JACOB JOSEPH
  9       KADDAKKARAPPALLY, KULDEEP
          SINGH, AND THANASEKAR
 10       CHELLAPPAN, INDIVIDUALLY,
 11                  PLAINTIFFS
 12       VERSUS
 13       SIGNAL INTERNATIONAL,
          LLC, MALVERN C. BURNETT,
 14       GULF COAST IMMIGRATION
          LAW CENTER, L.L.C., LAW
 15       OFFICES OF MALVERN C.
          BURNETT, A.P.C.,
 16       INDO-AMERI SOFT L.L.C.,
          KURELLA RAO, J & M
 17       ASSOCIATES, INC. OF
          MISSISSIPPI, GLOBAL
 18       RESOURCES, INC., MICHAEL
          POL, SACHIN DEWAN, AND                VOLUME 2
 19       DEWAN CONSULTANTS PVT.
          LTD. (a/k/a MEDTECH
 20       CONSULTANTS).
 21                  DEFENDANTS.
 22
        Videotaped deposition of MALVERN C. BURNETT, 1523
 23     Polymnia Street, New Orleans, Louisiana 70130,
        taken in the offices of Middleberg, Riddle &
 24     Gianna, 31st Floor, 201 St. Charles Avenue, New
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 25     day of November, 2009, beginning at 9:20 a.m.


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 1   vastly improved since the first months                    1   workforce" was included in the letter that
 2   immediately following the disasters, not even             2   supported Signal's application for extension of
 3   half of the entire pre-Katrina population has             3   the H2B workers in Mississippi?
 4   returned, rendering it still difficult to find            4        A. Do I know if it was considered?
 5   qualified skilled workers throughout the area.            5        Q. Do you know if that was included in
 6        Q. Reading at the bottom of Page 8043,               6   that letter?
 7   second sentence of the last paragraph, starting           7        A. It's -- I don't know -- I can't say
 8   with: "Although Signal International" -- do you           8   for a fact, but it is -- it is typical that you
 9   see what I'm referring to?                                9   would include such a statement.
10        A. Uh-huh.                                          10        Q. Okay. And you would include such a
11        Q. "Although Signal                                 11   statement even though on or about March 10th --
12        International employs                               12   March 12th, you attended a meeting where you
13        permanent workers, we must, at                      13   confirmed that during an earlier meeting with
14        this time, supplement the                           14   John Sanders, you had told the workers that you
15        permanent workforce with                            15   intended to apply for permanent residence.
16        temporary workers because of                        16        MR. KUPPERMAN:
17        the described peak load need.                       17            Object to the form.
18        these peak load, temporary                          18        MR. ALEXIS:
19        workers will not become a part                      19            Object to form.
20        of the permanent workforce."                        20        A. Yeah. But, you know, you got to
21        A. Correct.                                         21   understand that permanence is a very relative
22        Q. Okay. You're suggesting that this                22   concept, and permanent workforce on one day is
23   particular letter was for a new group of H2B             23   not permanent workforce on another day. In other
24   workers that Signal hopes to bring in; is that           24   words, it may be a year or two before these guys
25   correct?                                                 25   returned to come to work for Signal. See what
                         Burnett
                         456:22-458:21             Page 456                                                       Page 458

 1        MR. ALEXIS:                                          1   I'm saying? In other words, there's -- does not
 2             Object to form.                                 2   necessarily mean that these people converting
 3        A. Either bring in or transfer.                      3   from temporary directly to permanent, does not
 4   EXAMINATION BY MR. WERNER:                                4   necessarily require or state that as a fact.
 5        Q. Transfer from --                                  5   EXAMINATION BY MR. WERNER:
 6        A. Another location.                                 6        Q. Yeah, but -- but what it states
 7        Q. Maybe from Texas to Mississippi?                  7   unequivocally is that the temporary workers will
 8        A. Correct.                                          8   not become a part of the permanent workforce, and
 9        Q. Okay.                                             9   if that was part of the H2B extension
10        A. I might add that further in that                 10   application --
11   paragraph that I was referring to, it says:              11        A. At that time. At that time.
12            "Every day more houses and                      12        Q. But the workers themselves had been
13        apartments are being completed and                  13   told earlier that they would have -- some of the
14        ready for habitations. With the                     14   workers intended to become a part of the
15        citizens of the area making their                   15   permanent work force?
16        way back to their homes, we                         16        MR. KUPPERMAN:
17        estimate that there will be much                    17            Let me object. Repetitive.
18        improvement in the local workforce                  18        MR. ALEXIS:
19        within the coming year, further                     19            Object to form, but go
                                                                                                                Burnett
20        contending our current need is a                    20        ahead.
21        peak load need."                                    21        A. I stand by my answer.                458:23-
22        Q. Do you remember -- let's see if we               22   EXAMINATION BY MR. WERNER:                   461:9
23   can find the document. Do you remember whether           23        Q. Later in the recording that I
24   the sentence: "These peak load temporary workers         24   played, there's a discussion about the T visa
25   will not become a part of the permanent                  25   process; is that correct?

                                                                                                      38 (Pages 455 to 458)
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 1        A. Yes.                                                 1        Q. Even though the data was readily
 2        Q. How long -- do you know when the T                   2   available that -- the number T visas that had, in
 3   visa was created, when people could start                    3   fact, been granted?
 4   applying for T visas, what year?                             4        MR. KUPPERMAN:
 5        A. I know that they started -- they                     5            Object; argumentative.
 6   started applying for them, I think, sometime                 6        A. How readily available is it?
 7   around 2003-2004, if I'm not mistaken.                       7        MR. ALEXIS:
 8        Q. Okay.                                                8            Object to form.
 9        A. I know that some, as indicated in                    9        A. I don't know. You tell me.
10   the letter, that some Falcon's Field people                 10        MR. ALEXIS:
11   applied for them.                                           11            Objection.
12        Q. So, in the recording, there's a part                12   EXAMINATION BY MR. WERNER:
13   where, apparently -- and, again, reserving Mr.              13        Q. Later in the recording, again,
14   Alexis' right to object to authenticity --                  14   without you waiving any right to object to its
15            "In my 20 years of                                 15   authenticity, you indicate that -- and I'll
16        practicing immigration law, I have                     16   quote, and this is 44:36 through 44:56.
17        never known anyone to get this                         17            "If you don't want to talk
18        visa granted."                                         18        to me, ask around the Indian
19        MR. ALEXIS:                                            19        community, ask to speak to an
20            I'll just object to the                            20        employee, whoever works for
21        form, but you can --                                   21        Falcon's Field. Falcon's Field
22        A. This is true.                                       22        employees, many of them filed for
23   EXAMINATION BY MR. WERNER:                                  23        the T visa, not one of has been
24        Q. Right. Even though the visa program                 24        approved. The majority that were
25   itself was only maybe four or five years old.               25        in the United States illegally, or

                                                      Page 460                                                            Page 462

 1        A. I can't tell you exactly how old the                 1        they've already been sent home."
 2   visa process is. I can tell you that in my                   2        MR. ALEXIS:
 3   experience, it had never been granted. I'd not               3            I'll object to the form of
 4   known anyone to have it granted.                             4        the question because of the way it
 5        Q. Had you done any research to see how                 5        was worded, but subject to that --
 6   many visas had been granted before you made that             6        A. Yeah, that was my understanding.
 7   statement?                                                   7   EXAMINATION BY MR. WERNER:
 8        MR. ALEXIS:                                             8        Q. Okay. So, you did offer, to the
 9           Object to form.                                      9   best of your recollection, during this meeting to
10        A. No. I just know from my practice.                   10   have a former Falcon's Field employee go and talk
11   EXAMINATION BY MR. WERNER:                                  11   to Signal's workers about his experience applying
12        Q. Would it surprise you that by the                   12   for a T visa?
13   end of 2006, there had been 899 T visas granted?            13        A. No. I offered to provide the name
14        MR. ALEXIS:                                            14   and number of the individual so if anyone wanted
15           Object to form.                                     15   to talk to him about the process, what he went
16        A. No, it wouldn't surprise me.                        16   through. And I also answered questions at that
17   EXAMINATION BY MR. WERNER:                                  17   discussion. Moreover, for the benefit of the
18        Q. Okay. So, if that wouldn't surprise                 18   applicants, I left a copy of the T visa
19   you, then, why did you say to the workers that,             19   applications with the instruction sheets with the
20   to your knowledge, none had ever been granted?              20   Signal camp manager so that anyone who wanted to
21        MR. ALEXIS:                                            21   could review it.
22           Object to form.                                     22        Q. I'm showing you what's been marked
23        A. Because, to my knowledge, none had                  23   as Exhibit 598. Please take a look at this
24   been granted. That's why.                                   24   document. Again, this is Exhibit 598, and it's
25   EXAMINATION BY MR. WERNER:                                  25   Bates-stamped Number DEWAN 000645.

                                                                                                           39 (Pages 459 to 462)
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 1   Restaurant meeting, but, basically, I went                  1   likelihood, you'd file -- you know, file one
 2   through the process, that you apply through the             2   application, and if you saw an extension, you
 3   Department of Labor for alien labor                         3   could file an extension, and while the
 4   certification, you go through recruitment of U.S.           4   application is pending, the regulations allow for
 5   workers, establishing that there are no U.S.                5   an automatic extension of work authorization for
 6   workers available at the prevailing wage, and               6   a period of 240 days or until a decision is
 7   once the labor certification recruitment is                 7   rendered by the district director.
 8   finalized, you submit the completed recruitment             8   EXAMINATION BY MS. BOLLMAN:
 9   results to the Department of Labor, and they                9         Q. And what did you tell Signal at that
10   decide whether or not to approve on deny it, and           10   meeting about the immigrant process, the
11   thereafter, you apply to the USCIS via H2B visa            11   employment-based green card process?
12   petitions, and once those get approved, they are           12         A. I basically described the PERM
13   forwarded abroad to the U.S. consulate, noted on           13   process and the time periods that it takes, and
14   the applications.                                          14   that the filing of a PERM application in and of
15   EXAMINATION BY MS. BOLLMAN:                                15   itself is -- is -- well, the timing -- basically,
16         Q. Did you discuss with Signal at this               16   I told them what it takes -- how long it takes to
17   meeting the time frame --                                  17   file the PERM.
18         MR. ALEXIS:                                          18         Q. And how long did you say that was?
19            Object to form.                                   19         A. Particularly three to six months to
20   EXAMINATION BY MS. BOLLMAN:                                20   get the -- to get the PERM done, and then the
21         Q. -- that -- the length of time that                21   I-140, anywhere from six to nine months, and visa
22   an H2B worker can remain in the United States?             22   process thereafter. You're looking at about a
23         A. Typically -- we say time frame.                   23   two-year period with current priority dates.
24   It's a two -- it's a -- time frame of the process          24   Now, at that time, the priority dates weren't
25   is 120 days, and the Department of Labor                   25   current, but we had no idea when they might be

                                                     Page 516                                Burnett                    Page 518

 1   typically approved applications in increments of            1   current again.          518:11-519:7
 2   ten months.                                                 2        Q. And did you discuss that with
 3        Q. My question is: Did you explain to                  3   Signal, the fact that the priority dates weren't
 4   Signal at that meeting how -- the time period               4   current at that time?
 5   that the H2B worker can remain in the United                5        A. Uh-huh. Uh-huh. Yeah.
 6   States on an H2B visa?                                      6        MR. ALEXIS:
 7        A. Ten months initially with extensions                7            Oh, I was going to say, you
 8   thereafter. A full period -- there's a -- the               8        have to verbalize your answer.
 9   law stipulates that you can remain in the United            9        A. Yeah. Yeah. I'm sorry. Yeah.
10   States for a full period of three years. I did             10   Yeah.
11   not indicate it to them, but I'd never known that          11   EXAMINATION BY MS. BOLLMAN:
12   to happen.                                                 12        Q. And how far were they backlogged at
13        Q. What did you tell Signal the                       13   that point in time, do you recall?
14   realistic expectation for the time frame that an           14        A. Well, it went from being current in
15   H2B worker could stay in the United States, based          15   200- -- in June of 2005 to backlogged to, if I'm
16   on your experience?                                        16   not mistaken, 2001 or 2002. 2001 or 2002. I
17        MR. ALEXIS:                                           17   forget. I forget what it was.
18            Object to form.                                   18        Q. It was several years, though?
19        A. It really depended on how the                      19        A. Yeah, it was several years. It was
20   Department of Labor would react to the H2B                 20   several years. But the visa numbers were
21   petitions filed post-Katrina. You know, I said             21   bouncing -- bouncing all around, and there was
22   it could be -- it could just be one ten -- one             22   various discussion on how long it might -- it
23   ten-month period, and that would be it, or, you            23   might take. But, initially, the whole idea was
24   know, we could obtain extensions thereafter. I             24   that Signal understood that they would be filing
25   do clearly remember stating to them that, in all           25   for permanent residency if the H2B visas were

                                                                                                         53 (Pages 515 to 518)
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 1   even denied, because the H2B process was                  1   said something -- I'm sorry. Let me start over.
 2   speculation at that point because it had been --          2             You said that when you had this
 3   up to that point, the H2Bs -- all H2Bs had been           3   discussion about the H2B process and the
 4   denied for shipyard workers.                              4   employment-based green card process, that it
 5        Q. And did you discuss that with Signal              5   was -- the green card process was going to be in
 6   at the time --                                            6   lieu of the H2B visas, if they didn't -- if the
 7        A. Uh-huh.                                           7   H2Bs were denied?
 8        Q. -- that --                                        8        MR. ALEXIS:
 9        A. You keep saying at the time. It's                 9             I'm going to object to form.
10   over a series of meetings and, you know, at this         10        A. I remember stating to them that the
11   Opus -- this Opus luncheon, you know, it was             11   regulation, it says that the filing of a
12   basically an overview. I'm not sure if we had a          12   permanent residency application on behalf of the
13   teleconference at a later time that we called in         13   beneficiary in the same or similar skill will be
14   or if I went in and met with management -- I             14   reason in and of itself to deny a temporary alien
15   mean, I went to Signal several times to discuss          15   labor certification.
16   this process, and met with Signal, met with              16   EXAMINATION BY MS. BOLLMAN:
17   Bingle, met with Rigolo in Pascagoula.                   17        Q. So, you discussed that with Signal?
18        Q. All right. Well, let's say for                   18        A. Uh-huh. Yeah.
19   purposes of the discussion we're having right now        19        Q. And do you remember who you
20   about what you told Signal about the various             20   specifically discussed that with?
21   immigration processes, that we're talking about          21        A. Signal management. I mean, again, I
22   this luncheon meeting and any other meetings you         22   met with so many people. Signal's got probably
23   had with management or telephone conversations           23   six -- six or eight various managers. Different
24   between the time that you first came in contact          24   people who we dealt with at different times. You
25   with Signal, were introduced to Signal, until the        25   know, I met -- I met and discussed immigration

                                                   Page 520                                                       Page 522

 1   time when you actually began the work on the H2B          1   with Darrell Snyder, with Ron Schnoor, with Tom
 2   visa petitions. So, any conversations that you            2   Rigolo, with Tracey Binion, with John Sanders,
 3   had with them where you were explaining or                3   with -- there was a young lady that was working
 4   discussing both the H2B visa process and the              4   in the man camp that I talked about these things
 5   employment-based green card process. Okay? I'm            5   with. Bill Bingle. I mean -- and, so, it's
 6   just trying to --                                         6   difficult for me to, you know, discern with whom
 7        A. Is that a question?                               7   I said specific things.
 8        Q. No. I'm trying to get an                          8        Q. Well, in -- in -- with respect to
 9   understanding that we can just talk -- when we're         9   that, did you have one person at Signal that you
10   talking about this now -- because you're saying I        10   were using as your contact to explain the whole
11   didn't say it just at that April, 2006 meeting.          11   process so that they understood the totality of
12   So, I'm saying we can just agree that we're              12   what you were saying?
13   talking about any meetings or conversations you          13        MR. ALEXIS:
14   had during that time frame. When did you meet            14            Object to form.
15   them, February of -- or get introduced to them,          15        A. No. They had -- they had no one
16   February of '06 until you started the actual             16   person. They had no one person designated.
17   filing.                                                  17   EXAMINATION BY MS. BOLLMAN:
18        A. Yeah. It was --                                  18        Q. Well, did you ever discuss that with
19        MR. ALEXIS:                                         19   someone at Signal management, that you needed one
20            Wait. There's no question.                      20   person who could understand the entire process so
21        There's no question.                                21   that they could make educated decisions about
22   EXAMINATION BY MS. BOLLMAN:                              22   what you were telling them?
23        Q. So, with that context, that we're                23        MR. ALEXIS:
24   talking about all of those together, you -- did          24            Object to form.
25   you discuss with Signal -- well, no. You just            25        A. I would hope that a corporation of

                                                                                                      54 (Pages 519 to 522)
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 1       and you were filing I-140s for the                         1           REPORTER'S CERTIFICATE
 2       same workers for another employer?                         2
 3       MR. ALEXIS:                                                3
 4            I'm going to instruct him                             4            I, CAROL VALLETTE SLATER, Certified
 5       not to answer it, because I                                5   Court Reporter, Registered Professional Reporter,
 6       really -- I just think that's                              6   in and for the State of Louisiana, as the officer
 7       totally out of bounds. I mean,                             7   before whom this testimony was taken, do hereby
 8       it's probably the last question                            8   certify that MALVERN C. BURNETT, after having
 9       anyway.                                                    9   been duly sworn by me upon authority of R.S.
10       MS. HANGARTNER:                                           10   37:2554, did testify as hereinbefore set forth in
11            Change the tape.                                     11   the foregoing pages; that this testimony was
12       MS. BOLLMAN:                                              12   reported by me in the stenotype reporting method,
                                                                   13   was prepared and transcribed by me or under my
13            Change the tape.
                                                                   14   personal direction and supervision, and is a true
14       THE VIDEOGRAPHER:
                                                                   15   and correct transcript to the best of my ability
15            We're going off the record.                          16   and understanding; that I am not related to
16       It's 5:22. This is the end of                             17   counsel or the parties herein, nor am I otherwise
17       Tape 6.                                                   18   interested in the outcome of this matter.
18            (Whereupon, a discussion was                         19
19       held off the record.)                                     20
20            (Whereupon, the testimony of                         21          CAROL VALLETTE SLATER (CCR 78020)
21       the witness was adjourned at 5:22                                     CERTIFIED COURT REPORTER
22       p.m.)                                                     22          REGISTERED PROFESSIONAL REPORTER
23                                                                 23
24                                                                 24
25                                                                 25

                                                        Page 572

 1            WITNESS' CERTIFICATE
 2
 3
 4
 5           I, MALVERN C. BURNETT, the
 6   undersigned, do hereby certify that I have read
 7   the foregoing deposition and it contains a true
 8   and correct transcript of the testimony given by
 9   me:
10
11
12      ( ) Without corrections.
13      ( ) With corrections as reflected on
14         the errata sheet(s) prepared by me
15         and made a part hereof.
16
17
18
19
20
21
22            MALVERN C. BURNETT
23
24            DATE
25

                                                                                                           67 (Pages 571 to 573)
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  1                     UNITED STATES DISTRICT COURT
  2                     EASTERN DISTRICT OF LOUISIANA
  3
          KURIAN DAVID, SONY                    CIVIL ACTION
  4       VASUDEVAN SULEKHA,
          PALANYANDI THANGAMANI,                NO. 08-1220
  5       MARUGANANTHAM KANDHASAMY,
          HEMANT KHUTTAN, ANDREWS               SECTION "A"
  6       ISSAC PADA VEETTIYL, AND
          DHANANJAYA KECHURA, ON                MAGISTRATE 3
  7       BEHALF OF OTHER SIMILARLY
          SITUATED INDIVIDUALS, AND
  8       SABULAL VIJAYAN, KRISHAN
          KUMAR, JACOB JOSEPH
  9       KADDAKKARAPPALLY, KULDEEP
          SINGH, AND THANASEKAR
 10       CHELLAPPAN, INDIVIDUALLY,
 11                  PLAINTIFFS
 12       VERSUS
 13       SIGNAL INTERNATIONAL,
          LLC, MALVERN C. BURNETT,
 14       GULF COAST IMMIGRATION
          LAW CENTER, L.L.C., LAW
 15       OFFICES OF MALVERN C.
          BURNETT, A.P.C.,
 16       INDO-AMERI SOFT L.L.C.,
          KURELLA RAO, J & M
 17       ASSOCIATES, INC. OF
          MISSISSIPPI, GLOBAL
 18       RESOURCES, INC., MICHAEL
          POL, SACHIN DEWAN, AND                VOLUME 4
 19       DEWAN CONSULTANTS PVT.
          LTD. (a/k/a MEDTECH
 20       CONSULTANTS).
 21                  DEFENDANTS.
 22
        Deposition of MALVERN C. BURNETT, 1523 Polymnia
 23     Street, New Orleans, Louisiana 70130, taken in
        the offices of Middleberg, Riddle & Gianna, 31st
 24     Floor, 201 St. Charles Avenue, New Orleans,
        Louisiana 70170, on Wednesday, the 13th day of
 25     January, 2010, beginning at 1:17 p.m.


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 1   extension?                                                     1        Q. Okay. So, this is an agreement -- I
 2        A. An H2B extension.                                      2   think you stated yesterday you did not draft the
 3        Q. Oh, there'd be a third extension to                    3   agreement; is that right?
 4   the original?                                                  4        A. I did not.
 5        A. You can extend, as I indicated, by                     5        Q. Do you recall who did?
 6   law, you're permitted to extend an H2B worker or               6        A. No, I do not. I am not sure if
 7   continue with H2B status for a continuous                      7   Michael Pol's attorney, Jimmy Heidelberg --
 8   duration of three years.                                       8        Q. That's just Michael Pol's
 9        Q. Okay. Because I thought you said                       9   attorney --
10   two extensions, each one being ten months?                    10        A. I'm not sure if he -- typically, he
11        A. And three times ten is 30.                            11   would have his lawyers look at the documents and
12        Q. Right.                                                12   draft in particular if they're in effect here. I
13        A. And, conceivably, there's a third                     13   think this is probably something Jimmy Heidelberg
14   one beyond that. You can file it. Typically,                  14   had a hand in, but I can't be sure.
15   you know, even if it were denied, you can still               15        Q. Okay. But you don't have any Burnett
16   take an extension while the application is                    16   recollection of that?
17   pending. The workers can continue to work for a               17        A. No.                                    782:18-783:13
18   period of up to 240 days.                                     18        Q. Okay. And, so, from Paragraph V,
19        Q. Oh, I see. So, you can draw it out                    19   and it starts: All parties agree to charge five
20   like that; is that right?                                     20   lakh or 500,000 rupees, would you agree?
21        A. I don't know if that's a correct                      21        A. Yeah. We had that issue previously,
22   characterization, but the law permits workers for             22   and I think that's the way we resolved it.
23   whom timely applications for extensions have been             23        Q. Okay. That's the price of a
24   filed to work for a period of up to 240 days or               24   permanent residency green card?
25   until a decision from the district director is                25        MR. ALEXIS:

                                                        Page 781                                                       Page 783

 1   rendered, whichever shall come first.                          1            Object to form.
 2        Q. Okay. How much would it cost --                        2        MR. SHAPIRO:
 3   well, let's just look at Exhibit 577. You have                 3            Object to form.
 4   the exhibits in front of you?                                  4        A. That's what it -- that's what it --
 5        A. No, I do not.                                          5   that's what it appears to state, yes.
 6        Q. You don't have all the exhibits from                   6   EXAMINATION BY MR. SANDLER:
 7   your deposition at your --                                     7        Q. Okay. Thanks. And on the back
 8        A. I just told you I do not.                              8   page -- you will forgive me if this was asked
 9        MR. SANDLER:                                              9   yesterday, but that's -- these are the three
10            Does other counsel have it                           10   parties to the agreement, Michael Pol, Sachin
11        available to make it available to                        11   Dewan and yourself, Malvern Burnett. I'm looking
12        Mr. Burnett?                                             12   at DEWAN 00945 right now.
13        MS. HANGARTNER:                                          13        A. Correct.
14            I'm getting it. What was                             14        Q. Okay. How much does -- suppose that
15        the exhibit? 577?                                        15   a worker simply wanted -- scratch that.
16        THE WITNESS:                                             16            I want to look at Exhibit 583. It's
17            Okay. I've got the document                          17   an e-mail from you and Michael Pol to Sachin
18        in front of me.                                          18   Dewan, and the Bates number is DEWAN 000508 to
19   EXAMINATION BY MR. SANDLER:                                   19   509.
20        Q. Great. I'm not going to ask you to                    20        A. I see it.
21   look at too much, but you can look at the whole               21        Q. Now, in the third paragraph -- do
22   thing if you don't recall it, and then I'll                   22   you want a moment to read it over or --
23   ask -- well, it's really just Paragraph V that I              23        A. You can ask me a question.
24   want to ask you about, Roman Numeral V.                       24        Q. Okay. Sure. In the third
25        A. Okay. I'm looking at it.                              25   paragraph, which begins:

                                                                                                           10 (Pages 780 to 783)
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 1            Object to form.                                1   MR. SANDLER:
 2   EXAMINATION BY MR. SANDLER:                             2        No. I respectfully disagree
 3        Q. If I were an Indian worker in this              3   with that, Ralph.
 4   time period, say, the '06 time period, and I just       4   MR. ALEXIS:
 5   wanted an H2B, what would a normal charge for           5        Hold on one second, if you
 6   that be?                                                6   please. Let's stop a second.
 7        A. It just depended.           Burnett             7        I'm going to instruct him
 8        MR. ALEXIS:                                        8   not to answer because if you go
 9            Object to form, but go     865:16-857:16       9   to, just for example, Page 361 and
10        ahead.                                            10   362, this whole line of
11   EXAMINATION BY MR. SANDLER:                            11   questioning was gone into by
12        Q. No, I understand it depends.                   12   Dan --
13        A. It would depend, you know, who the             13   MR. SANDLER:
14   petitioner was, what the duration of employment        14        What was the line?
15   was, what the type of employment was.                  15   MR. ALEXIS:
16        Q. Say that the duration would be ten             16        -- about, you know, how
17   months and I wanted to go work for Signal and all      17   much -- how much do you charge for
18   I wanted was an H2B. How much would you charge?        18   various things. If you look at
19        MR. ALEXIS:                                       19   Page 361, 362.
20            I'm going to object to the                    20        Would you please read back
21        form of that question.                            21   the question?
22        A. It would depend on the -- on the               22   MR. SANDLER:
23   success rate, on --                                    23        Before Carol does that,
24   EXAMINATION BY MR. SANDLER:                            24   plaintiffs' position is you can
25        Q. Right.                                         25   always get a clarification for the

                                                 Page 857                                                 Page 859

 1        A. -- the type of employment, the                  1   record. We're just trying to get
 2   earnings ability of the employment, a variety of        2   some straight answers.
 3   factors.                                                3   MR. ALEXIS:
 4        Q. Okay. So, what would be the                     4       If you're asking for a
 5   ballpark, if you could give me a range?                 5   clarification of what Dan asked
 6        MR. ALEXIS:                                        6   him --
 7            I'm going to object to the                     7   MR. SANDLER:
 8        form and also that it's -- I think                 8       It's not the same question,
 9        y'all already talked about that in                 9   Ralph.
10        your direct, but I'm going to go                  10   MR. ALEXIS:
11        ahead --                                          11       Hold on one second.
12        A. Yeah. As we discussed earlier, we              12   MR. SANDLER:
13   were going to be doing, for instance, we had           13       If you want to point me to
14   discussed doing H2Bs subsequently in 2007, and we      14   the line that you're seeing on
15   talked about a range anywhere from 1,000 to            15   Page 361 or 362 that is my
16   $6,000.                                                16   question, then, you know, that's
17   EXAMINATION BY MR. SANDLER:                            17   something that we can kind of
18        Q. A thousand to $6,000. Okay.                    18   debate about.
19            So, if the earning ability for the            19   THE COURT REPORTER:
20   employer is higher than for another employer,          20       Question: So, if the
21   would you charge more?                                 21   earning ability for the employer
22        MR. ALEXIS:                                       22   is higher than for another
23            Object. I'm going to object                   23   employer, would you charge more?
24        to the form again. You're outside                 24   MR. ALEXIS:
25        of the scope of redirect.                         25       But my question is: What

                                                                                              29 (Pages 856 to 859)
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                                                        Page 884

 1            WITNESS' CERTIFICATE
 2
 3
 4
 5           I, MALVERN C. BURNETT, the
 6   undersigned, do hereby certify that I have read
 7   the foregoing deposition and it contains a true
 8   and correct transcript of the testimony given by
 9   me:
10
11
12      ( ) Without corrections.
13      ( ) With corrections as reflected on
14         the errata sheet(s) prepared by me
15         and made a part hereof.
16
17
18
19
20
21
22            MALVERN C. BURNETT
23
24            DATE
25

                                                        Page 885

 1           REPORTER'S CERTIFICATE
 2
 3
 4            I, CAROL VALLETTE SLATER, Certified
 5   Court Reporter, Registered Professional Reporter,
 6   in and for the State of Louisiana, as the officer
 7   before whom this testimony was taken, do hereby
 8   certify that MALVERN C. BURNETT, after having
 9   been duly sworn by me upon authority of R.S.
10   37:2554, did testify as hereinbefore set forth in
11   the foregoing pages; that this testimony was
12   reported by me in the stenotype reporting method,
13   was prepared and transcribed by me or under my
14   personal direction and supervision, and is a true
15   and correct transcript to the best of my ability
16   and understanding; that I am not related to
17   counsel or the parties herein, nor am I otherwise
18   interested in the outcome of this matter.
19
20
21          CAROL VALLETTE SLATER (CCR 78020)
            CERTIFIED COURT REPORTER
22          REGISTERED PROFESSIONAL REPORTER
23
24
25


                                                                             36 (Pages 884 to 885)
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DEPOSITION EXCERPTS

  CHRIS CUNNINGHAM
                                                                        Page 1

   1                      UNITED STATES DISTRICT COURT
   2                      EASTERN DISTRICT OF LOUISIANA
   3
          KURIAN DAVID, SONY            CIVIL ACTION
   4      VASUDEVAN SULEKHA,
          PALANYANDI THANGAMANI,        NO. 08-1220
   5      MARUGANANTHAM KANDHASAMY,
          HEMANT KHUTTAN, ANDREWS       SECTION "A"
   6      ISSAC PADA VEETTIYL, AND
          DHANANJAYA KECHURA, ON        MAGISTRATE 3
   7      BEHALF OF OTHER SIMILARLY
          SITUATED INDIVIDUALS, AND
   8      SABULAL VIJAYAN, KRISHAN
          KUMAR, JACOB JOSEPH
   9      KADDAKKARAPPALLY, KULDEEP
          SINGH, AND THANASEKAR
 10       CHELLAPPAN, INDIVIDUALLY,
 11                   PLAINTIFFS
 12       VERSUS
 13       SIGNAL INTERNATIONAL,
          LLC, MALVERN C. BURNETT,
 14       GULF COAST IMMIGRATION
          LAW CENTER, L.L.C., LAW
 15       OFFICES OF MALVERN C.
          BURNETT, A.P.C.,
 16       INDO-AMERI SOFT L.L.C.,
          KURELLA RAO, J & M
 17       ASSOCIATES, INC. OF
          MISSISSIPPI, GLOBAL
 18       RESOURCES, INC., MICHAEL
          POL, SACHIN DEWAN, AND
 19       DEWAN CONSULTANTS PVT.
          LTD. (a/k/a MEDTECH
 20       CONSULTANTS).
 21                   DEFENDANTS.
 22      Videotaped deposition of CHRIS CUNNINGHAM, CPA,
         Suite 16250, 11 North Water Street, Mobile,
 23      Alabama 36602, taken in the offices of
         Middleberg, Riddle & Gianna, 31st Floor, 201 St.
 24      Charles Avenue, New Orleans, Louisiana 70170, on
         Friday, the 26th day of February, 2010, beginning
 25      at 9:10 a.m.


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 1 buyer and a willing seller to know that.                    1   Just roughly. I don't need the specific month.
 2       Q. Quite right. But why do you think                  2        A. It was March/April -- no, I think
 3 it's depreciated?                                           3   John Haley came in and temporarily took over the
 4       MS. HANGARTNER:                                       4   operation, and John Haley had been the original
 5            I am going to object to                          5   head of the Texas operation when Signal started.
 6       form. Hugh, with all due respect,                     6   When Tom Rigolo left, John Haley came out of
 7       this has nothing to do with class.                    7   retirement and came back until we found Rodney
 8       Nothing. Signal's current                             8   Meisetschlaeger.
 9       financial status is merits only,                      9        Q. So, there was no overlap between Tom
10       not class. I mean, I understand                      10   Rigolo and Rodney Meisetschlaeger?            Cunningham
11       where you're trying to go, but I                     11        A. There was a short gap.
12       don't think you can get there in                     12        Q. A short gap. Okay. Now, Signal 56:12-57:21
13       class.                                               13   Texas, G.P., the entity, they took their
14       MR. SANDLER:                                         14   instruction and counsel from Signal International
15            I'm just responding to an                       15   in terms of policies and --
16       answer that Mr. Cunningham gave.                     16        A. Yes.
17       MS. HANGARTNER:                                      17        Q. Signal International, L.L.C. at the
18            You're pushing the envelope                     18   time --
19       a little far.                                        19        A. Correct.
20       MR. SANDLER:                                         20        Q. -- governed it even though the
21            Can we take a break now?                        21   entity was on paper paying the payroll of the
22       THE VIDEOGRAPHER:                                    22   workers, right?
23            Sure. Off the record. The                       23        A. The paychecks came from the G.P.
24       time is 10:03. This is the end of                    24        Q. Right.
25       Tape 1.                                              25        A. I mean, that's what it says on

                                                    Page 55                                                       Page 57

 1            (Whereupon, a discussion was                     1   there. Where the money came from came from a
 2        held off the record.)                                2   Texas bank account, a Texas payroll account.
 3        THE VIDEOGRAPHER:                                    3         Q. Right, but not just the money, but,
 4            This is the continued                            4   like, the policies, how the organization was run,
 5        videotaped deposition of Chris                       5   that entity was governed out of, like, the Signal
 6        Cunningham. This is the beginning                    6   International, L.L.C. entity based in Pascagoula;
 7        of Tape 2. The time is now 10:13.                    7   is that right?
 8   EXAMINATION BY MR. SANDLER:                               8         A. At that time, correct.
 9        Q. Mr. Cunningham, I just wanted to ask              9         Q. Okay. So, it was a separate entity
10   you a quick question about those entities again.         10   on paper and the payroll records will indicate
11   Sorry. This is a new question about it.                  11   that that entity paid the Texas employees --
12        A. Sure.                                            12         A. Correct.
13        Q. Does -- Signal International Texas,              13         Q. -- but for all intents and purposes,
14   G.P. entity, who was the director of that entity?        14   it's Signal International, L.L.C.?
15   Who was the head of that entity?                         15         A. Policy was governed by the corporate
16        A. At what time?                                    16   people, myself being one of them, which reside in
17        Q. Sorry. 2006, 2007, 2008.                         17   the L.L.C.
18        A. I believe there was an overlap.                  18         Q. Right. Okay. So, there were no
19   There was a chain. I believe in 2006, and I'm            19   significant differences other than, like, maybe,
20   not sure of the timeline, Tom Rigolo was the             20   like, legal distinctions about entities?
21   senior VP and general manager of the Texas               21         A. Correct.
22   operation, and then somewhere in that time frame,        22         Q. In 2006, 2007, 2008, did Mr. Marler
23   Rodney Meisetschlaeger -- anyway, he became the          23   ever share with you an idea of taking Signal
24   senior VP and general manager.                           24   public?
25        Q. When was that, do you know, around?              25         A. It was -- it was a discussion that

                                                                                                        15 (Pages 54 to 57)
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 1   we both had.                                                1        Q. Have you ever met Mr. Brener?
 2        Q. Okay.                                               2        MS. HANGARTNER:
 3        A. Since I am the financial person,                    3            Object to form.
 4   anything that would have to do with something               4        A. By phone only.
 5   like taking the company public would more come              5   EXAMINATION BY MR. SANDLER:
 6   under my realm rather than his in terms of the --           6        Q. So, you said that the public
 7   what needs to be done to do it.                             7   offering was an option for Signal as a method for
 8        Q. Right. Right. Right. So, where                      8   the investor to divest their interests in the
 9   did the idea emerge from?                                   9   corporation; is that right?                   Cunningham
10        A. The one -- well, the idea was the                  10        A. It was a consideration.
11   original investors, and that's what they were,             11        Q. It was a consideration. So, how
                                                                                                                   60:17 - 61:12
12   investors, would have at some point in time an             12   serious was the consideration?
13   exit strategy, and one of the methods in which to          13        A. As serious as any other one, any
14   cause that exit to happen would be the                     14   other option, which would have either been a
15   possibility of a number of different                       15   144(a) transaction, which we ultimately did, or a
16   transactions, one of which could be a public               16   merger, or being acquired by another company.
17   offering.                                                  17        Q. Right. Sorry. That's a good
18        Q. How many private investors were                    18   answer. What I mean is not like how was it going
19   there?                                                     19   to be -- how was it going to materialize. My
20        A. There was one entity that owned                    20   question was: In the thinking of Signal at the
21   Signal, L.L.C., and that was ACON Offshore                 21   time amongst the senior people, such as yourself
22   Partners.                                                  22   and, I guess, Mr. Marler, what was -- did you
23        Q. Okay. And that's the only private                  23   want to do a public offering, or what was the,
24   investor that Signal had?                                  24   like, the impetus there?
25        A. That was -- at that time, that was                 25        A. I think it was -- a public offering

                                                      Page 59                                                           Page 61

 1   the only investor.                                          1   was a consideration, but after considering all
 2        Q. And when you say "at that time,"                    2   the facts, it became clear that that was not the
 3   what time are you referencing?                              3   way to proceed.
 4        A. I'm talking from inception in 2003                  4        Q. When did that become clear?
 5   up through January 3rd of 2008.                             5        A. I don't know the exact date.
 6        Q. So, there's no Brener Group as a                    6        Q. I don't mean the exact date.
 7   private investor of Signal?                                 7        A. Oh, after meeting with various
 8        A. Not directly in Signal.                             8   investment bankers and having discussions, we
 9        Q. Okay. Indirectly in Signal?                         9   just didn't have the size or the mass to do it.
10        A. Well, the entity that owns Signal                  10        Q. What year was that?
11   was ACON Offshore Partners, G.P.                           11        A. Gosh. It started in 2000- -- I
12        Q. Okay. And did they also own Brener                 12   think late 2006. Yeah. It was in 2006.
13   Group?                                                     13        Q. That you were thinking about doing
14        A. No, not to my knowledge.                           14   it?
15        Q. Okay. So, how was Brener Group                     15        A. Right.
16   indirectly an investor of Signal?                          16        Q. And when did you meet with the
17        A. I would believe that they were an                  17   bankers?
18   investor within the ACON Offshore partnership.             18        A. Huh?
19        Q. Okay. So, Brener was an investor of                19        Q. When did you meet with the bankers?
20   ACON Offshore --                                           20        A. Oh, during the third and fourth
21        A. Partners.                                          21   quarter of 2006.
22        Q. Partners, G.P.                                     22        MS. HANGARTNER:
23        A. Right. He was a limited partner.                   23            Hugh, did you intend to mark
24        Q. Gabriel Brener.                                    24        this as an exhibit?
25        A. Okay.                                              25        MR. SANDLER:

                                                                                                            16 (Pages 58 to 61)
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 1          I did. Sorry. My bad.                             1   still talking about going public here on the
 2      Let's mark that Exhibit 763. I'm                      2   first page?              Cunningham 64:4-67:23
 3      entering an Exhibit 763. We've                        3         A. I see that.
 4      actually already discussed it, but                    4         Q. So, is it possible that Signal was
 5      I'm now numbering it. It's an                         5   still contemplating going public in April of
 6      article, and the headline of the                      6   2007?
 7      article is Signal Buys Bender                         7         A. Yes.
 8      Shipyard, and it's from the Mobile                    8         Q. Okay. Do you know a fixed date when
 9      Register, and it's an article                         9   they definitely weren't thinking about going
10     dated January 16th, 2010.                             10   public anymore? I don't mean to put you -- if
11          (Whereupon, Exhibit Number                       11   you don't know, you don't need to guess. I'm
12     763 was marked for identification.)                   12   just asking.
13     MR. ALEXIS:                                           13         A. I would have to look at it. I would
14          Okay.                                            14   have to look at my records.                     Cunningham
15     MR. SANDLER:                                          15         Q. Sure.                                  64:18-68:2
16          So, just as an FYI, and it's                     16         A. It was sometime in 2007, you know,
17     an Exhibit 763.                                       17   second, third quarter. I don't know.
18     MR. ALEXIS:                                           18         Q. What's important when you're taking
19          Thank you.                                       19   a company public that's -- on the financial side?
20     MR. SANDLER:                                          20         A. A good story.
21          No problem.                                      21         Q. All right.
22 EXAMINATION BY MR. SANDLER:                               22         A. A good history. Growth potential.
23     Q. I want to -- you've met Mr. Sanders,               23         Q. Okay. Let's stop and just go down
24 right, John Sanders?                                      24   there. What's a good story?
25     A. Yes. Yes.                                          25         A. Good story is something that gets an

                                                   Page 63                                                       Page 65

 1        Q. Did you know that he kept a personal             1   investor's attention, rapid growth, the ability
 2   diary at Signal?                                         2   to continue growth and profitability, good
 3        A. I've heard that.                                 3   multiples.
 4        Q. Okay. He kept it on the Signal                   4        Q. What are multiples?
 5   server. You've heard that?                               5        A. EBITDA and -- you can equate it to
 6        A. I heard that.                                    6   earnings per share.
 7        Q. Okay. This is just to establish the              7        Q. EBITDA is earnings before income
 8   timing. I just want to get everything straight           8   taxes, depreciation and amortization. And do you
 9   on the record.                                           9   agree?
10        A. Okay.                                           10        A. That's correct.
11        Q. I'm going to show you an entry of               11        Q. So, those -- so, how do you get good
12   Mr. Sanders', and it actually -- it's heavily           12   multiples?
13   redacted, so, it looks a bit strange, and you           13        A. Well, the other thing, good
14   have to read it from the third page to the first        14   management, too.
15   page, but bear with me, but just have a look at         15        Q. Good management. Okay. I mean,
16   it and I want to ask you about some timing. It's        16   what is good management, for instance?
17   originally been entered as Exhibit Number 649.          17        A. A management team that appears to be
18   For the record, it's SIGE0556941. I'm concerned         18   competent and, I guess, competency is judged by
19   with the Tuesday, April 17th entry. It goes all         19   the results of that organization.
20   over the place because of the redactions.               20        Q. Okay. So, it's kind of a self-
21        A. Okay. Okay.                                     21   fulfilling prophecy, if you're successful, you're
22        Q. Okay. So, this is an entry that                 22   going to be presumed to be good management?
23   John recorded in and around April 17th, 2007. He        23        A. Correct. And, normally, conversely,
24   generally made entries the evening of, but it's         24   when a company's not doing well, management
25   in and around that date. You see how they're            25   generally gets the blame that they're

                                                                                                       17 (Pages 62 to 65)
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 1   incompetent, so --                                           1   private investors happy and --
 2        Q. Sure. so, what -- how do you get a                   2         A. That's a fair statement.
 3   good EBITDA?                                                 3         Q. All right, Mr. Cunningham. I want
 4        A. Profitability.                                       4   to show you another document. I want to show you
 5        Q. Okay. Is that just it?                               5   another document, and it is Bates SIGE0005430,
 6        A. Cost management, profitability, the                  6   and I'm going to mark it Exhibit Number 764.
 7   ability to perform on your jobs, on your                     7   It's a quick read.
 8   construction jobs. You know, performance.                    8            (Whereupon, Exhibit Number
 9        Q. You mean, like, financial                            9         764 was marked for identification.)
10   performance?                                                10         A. Okay. Okay.
11        A. No.                                                 11   EXAMINATION BY MR. SANDLER:
12        Q. Oh.                                                 12         Q. So, this is the letter you sent to
13        A. Bidding jobs correctly, Number 1,                   13   Mr. Pol terminating him as your agent, correct?
14   and then performing, making your budgets. Our               14         A. Correct.
15   business is primarily the sale of man-hours and             15         Q. And I see that you've signed it
16   each job we budget how many man-hours it will               16   here.
17   take to perform a certain job, and a budget is              17         A. That's my signature.
18   saying you can do this in a thousand hours, and             18         Q. Did you draft this letter?
19   if you do it in a thousand hours or less, then,             19         A. No.
20   you're performing very well.                                20         Q. Okay. Who drafted it?
21        Q. Right.                                              21         A. I'm not sure. My -- I can only
22        A. And if you go over that --                          22   assume that Lisa Spears did.
23        Q. So, just -- just so we're clear for                 23         Q. Okay. Were you involved in the
24   the record. EBITDA -- the E is earnings?                    24   decision to terminate Mr. Pol?
25        A. Right.                                              25         A. No.

                                                       Page 67                                                     Page 69

 1        Q. And that is what your earnings are                   1        Q. When did you learn that Signal was
 2   before you deduct everything else that EBITDA                2   terminating Mr. Pol?
 3   stands for, right?                                           3        A. Probably shortly on or before this
 4        A. That's correct.                                      4   letter being written.
 5        Q. So, earnings is your profit, right?                  5        Q. Did you know the reasons they were
 6        A. Before those items, correct.                         6   terminating Mr. Pol?
 7        Q. Before those items. What we might                    7        A. I was told what the reasons were.
 8   call your gross profit or -- not your gross                  8        Q. What were you told?
 9   profit, but --                                               9        A. I was told that there had been a
10        A. It would be your net. It would be                   10   meeting between Ron Schnoor and Mr. Pol regarding
11   your net before your items.                                 11   fees that had been paid by the H2B workers and
12        Q. Net before your items. Okay.                        12   the amount of the fees were not the fees that
13        A. Net income, it's generally referred                 13   were originally told to us that these workers
14   to.                                                         14   were paid -- or had paid, and when we learned of
15        Q. Net income. Thank you. So, in                       15   it, we brought him in and demanded of him to make
16   order to have a good EBITDA, you need a good net            16   a refund, and I forget what that refund would be,
17   income.                                                     17   which he had --
18        A. Correct.                                            18        Q. Were you --
19        Q. And net income is a function of                     19        A. I was not at the meeting.
20   profit?                                                     20        Q. You were --
21        A. Correct.                                            21        A. I was not at the meeting.
22        Q. And profit is revenue minus costs?                  22        Q. You were not at the meeting. Okay.
23        A. That is absolutely correct.                         23   So, this is all what Mr. Schnoor told you or
24        Q. Aside from taking the company                       24   maybe John Sanders or --
25   public, you need a good EBITDA just to keep your            25        A. Most likely Ron.

                                                                                                         18 (Pages 66 to 69)
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 1        into the draft Housing Agreement                     1   spent $6½ million more than we collected. So, we
 2        and send to Michael Pol?"                            2   didn't really recover anything.
 3             So, Signal drafted the housing                  3        Q. You arrived at this $35 a day fee on
 4   agreement? Would you know that?                           4   this day? This e-mail is October 19th, 2006.
 5        A. Yeah, in conjunction with our law                 5   Let me put it into context for you.
 6   firm.                                                     6        A. On or about.
 7        Q. Okay. So, they didn't draft -- your               7        Q. On or about. On October 18th, 2006,
 8   testimony is that they didn't draft the Global            8   John circulated the Pascagoula man camp cost
 9   Resources agreement, the April 18th, 2006, one,           9   analysis. Okay?
10   but they did draft the housing agreement in the          10        A. Okay.
11   fall of '06?                                             11        Q. And this is October 19th, 2006.
12        A. Yes.                                             12        A. Okay.
13        Q. And by "they," I mean Signal.                    13        Q. So, is that cost analysis a factor
14        A. Yes.                                             14   in determining the $35 a day fee?
15        Q. Do you know why they would have                  15        A. I'm sure it was.
16   chosen to draft the housing agreement and not            16        Q. So, what other factors were there in
17   chosen to draft the --                                   17   that -- let's say the 21? I understand the 14
18        A. Because I don't think a housing                  18   was some kind of, like, arrangement you had. So,
19   agreement existed, to my knowledge.                      19   in the $21 of the $35, what was the --
20        Q. Okay. So, the --                                 20        A. Rationale?
21        A. There wasn't one to take from                    21        Q. Yeah. Or the factors? What are the
22   anywhere else.                                           22   things that were important?
23        Q. Okay. So, you drafted from scratch.              23        A. I believe, to the best of my memory,
24   Is that right?                                           24   that discussion was to recover the cost of the
25        A. Correct.                                         25   camps over approximately a five-year period,

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 1        Q. So, now, you, at the top of the                   1   knowing that these workers would be here for a
 2   second page --                                            2   max of, you know, roughly two years, give or
 3        A. Okay.                                             3   take, but that we would continue in the H2B
 4        Q. You've basically signed off on this               4   program and we would get more --
 5   housing agreement. Right? They're asking are              5        Q. More temporary workers?
 6   there any more comments, and you're saying:               6        A. -- more temporary workers.
 7   "None that I'm aware."                                    7        Q. Oh, okay.
 8        A. Correct.                                          8        A. And that would be a risk that we
 9        Q. So, you reviewed that contract and                9   would take and we took that risk and it didn't
10   you were okay with it?                                   10   pay off because we didn't have them for a five-
11        A. Correct.                                         11   year period. So, in any business decision,
12        Q. Can you describe for me the process              12   there's a risk.
13   of coming up with the $35 a day fee, the factors         13        Q. Sure. Yeah. You know, I'm not
14   that you discussed?                                      14   trying to say you made a bad decision. I just
15        A. Well, Number 1, the cost of the                  15   want to know what the factors were.          Cunningham
16   food, which is the largest part, and I believe           16        A. Right.                               137:17-139:9
17   that to be have been $14 a day for three meals.          17        Q. So, it was just the factor, if there
18        Q. Okay. Yes.                                       18   weren't any others, is recouping the cost of this
19        A. And the remaining $21 was discussed              19   man camp?
20   in general with regard to the overall operating          20        A. Correct.
21   costs, projected operating costs of the camp,            21        Q. So, $35 a day fee is 1,050 per month
22   along with the cost to establish the camp and to         22   per person?
23   recoup some of that investment. Now, you know,           23        A. Correct.
24   as it stands, we didn't do a very good job,              24        Q. So, cancelling the program, bringing
25   apparently, because at the end of the day, we            25   in the workers, is what I mean by program, would

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 1   be detrimental to the finances, given the costs             1   you see that there?
 2   that you had already sunk?                                  2        A. I do.
 3        A. It depends on your definition of                    3        Q. They're very close in value.
 4   "detrimental."                                              4        A. Okay.
 5        Q. Well, we spoke about millions of                    5        Q. And the Pascagoula being 2.629
 6   dollars that had already been --                            6   million, roughly, and the Orange being 2.641
 7        A. Well, it would depend on whether or                 7   million, roughly, right?
 8   not we could actually remarket these man camps if           8        A. That's what it says.
 9   no one came and entered into them and they were             9        Q. Okay. Are these the other
10   brand -- I say brand-new --                                10   expenditures that you were mentioning earlier
11        Q. Yeah.                                              11   today when you said there were other costs to
12        A. Okay -- they were new to us, but                   12   setting up the man camp?
13   anyway.                                                    13        A. I'm sure they -- they are some of
14        Q. Okay.                                              14   them, yes.
15        A. I'm glad I'm amusing. But anyway,                  15        Q. But you don't think they're all of
16   that we would be able to sell them back.                   16   them?
17   Hopefully, GE would help us to market them to one          17        A. No. I don't believe this is the
18   of their other customers.                                  18   total cost of the man camps.
19        Q. Did you have any of those plans in                 19        Q. Okay. What is the purpose of this
20   place?                                                     20   letter to GE?
21        A. No, because at the time, it wasn't                 21        A. To increase the amount that we're
22   necessary.                                                 22   going to be borrowing, that we were initially put
23        Q. Okay. But in any case, you needed                  23   forwards to them that we were going to borrow or
24   some kind of financing -- the provision of the             24   lease.
25   man camp was tied to some kind of other monies             25        Q. So, why -- and this is October 24.

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 1   coming in to afford it, the Indian workers or a             1   This is a week before the first workers arrive.
 2   plan -- like a Plan B, so to speak, to afford it?           2   I know you don't know that, but they did arrive
 3        A. Correct.                                            3   on October 31st.
 4        Q. And because you had no other plan in                4         A. Okay.
 5   place, if no Indian workers had come, that would            5         Q. So, why wouldn't you include all the
 6   have been pretty detrimental at that point, and             6   costs?
 7   then you would have had to, like, scramble for a            7         A. I don't know if we had all of the
 8   Plan B; is that right?                                      8   costs yet. We continued to incur costs all
 9        A. That's more than likely.                            9   during the course of them being here. We
10        Q. I'm now going to show you another                  10   continually upgraded and made improvements to the
11   document, and it's a letter that you sent to GE.           11   facilities.
12        A. Okay.                                              12         Q. But from Day 1, okay, from when the
13        Q. And the Bates for it is SIGE0055589,               13   first Indian workers arrived, are these all the
14   and it's Exhibit Number 774. I'll give you as              14   costs?
15   much time as you need for it.                              15         A. Oh, I don't know that to be fact. I
16            (Whereupon, Exhibit Number                        16   mean, as of this particular date, maybe as of the
17        774 was marked for identification.)                   17   prior accounting period, which would have been
18        A. Okay.                                              18   September 30th. I don't know if this -- since
19   EXAMINATION BY MR. SANDLER:                                19   the letter is written in the middle of the month,
20        Q. Okay. Who put this table together,                 20   whether it included expenditures in the month of
21   do you know?                                               21   October, or whether there was some type of cutoff
22        A. I can only -- I don't know for                     22   period.
23   certain, but I assume it's John Sanders.                   23         Q. Fair enough. But what would you --
24        Q. Okay. And these numbers here, these                24   suppose you were writing this letter today in a
25   totals at the bottom, Pascagoula and Orange, do            25   similar situation, what would you want to see on

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Cunningham
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    1        Q. -- was capitalized. So, that                      1   which we used. I mean, obviously, the timeline
    2   wouldn't include, like, the welder training?              2   is right in line with --
    3        A. Items such as that, that's correct.               3        Q. Yeah. That's right. And you didn't
    4        Q. So, 6.4 million -- so, that's the                 4   have a hand in putting that spreadsheet together,
    5   money that you would be looking to recuperate             5   is that what you're saying?
    6   through the per diem and things of that nature?           6        A. I did not.
    7        A. Yes.                                              7        Q. So, you just took on face what John
    8        Q. Okay. Anything else that the per                  8   produced to you?
    9   diem would seek to recuperate? Would it be                9        A. He has got an M.B.A. from Columbia.
   10   trying to recuperate a number that includes,             10   I hope he knows what he is doing.
   11   like, the welding training and stuff like that?          11        Q. All right. When we were talking
   12        A. Anticipated operational costs to run             12   about the contract earlier today, I think it was,
   13   the facility.                                            13   like, kind of the first topic that we began to
   14        Q. Okay. So, when you came up with                  14   cover, you said that you weren't familiar with
   15   that $35 a day fee, what numbers were kind of            15   H2B and permanent resident. You didn't have a
   16   relevant to your calculation?                            16   knowledge of that.
   17        A. Operational costs and recovering                 17        A. I don't believe I said that.
   18   expended capital.                                        18        Q. Okay. Well, is it the case that at
   19        Q. Right. Okay. So, you would be                    19   the time of contracting with Michael Pol, Global
   20   looking -- so, you would have been considering a         20   Resources, Signal had a need for workers?
   21   number greater than the 6.4 million number that          21        A. Yes.
   22   you testified to earlier today, right?                   22        Q. Okay. How would you characterize
   23        A. At the time that we -- at the time               23   that need?
   24   that we developed that rate, we had that work            24        A. If you've ever been through a major
   25   sheet that John Sanders performed.                       25   hurricane like that, you would understand, and

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    1        Q. Right.                                            1   it's hard to explain when there's complete
    2        A. That was the basis by which we used.              2   devastation and it looks like a hurricane has
    3   As it turned out, the capitalized costs were much         3   gone off and you're dealing with both business
    4   greater than that. So, you're asking me a                 4   and personal issues, which everyone was dealing
    5   question of what -- an after-the-fact question.           5   with. I myself lost everything to Hurricane
    6   I can't go back and look at numbers today and             6   Katrina. You try to put the business back
    7   those numbers were not used to develop the $35 a          7   together the best you can and salvage and
    8   day rate. The numbers that were prepared by John          8   mitigate the damage that was done, and then you
    9   Sanders were what was used to prepare it.                 9   have our federal government come in and start
   10        Q. Okay. That makes sense to me. I                  10   paying exorbitant wages to people to help clean
   11   follow you. So, in terms of calculating that             11   up and steal your workforce and you are left with
   12   cost, the document that I showed you a little bit        12   trying to satisfy customers who have had
   13   earlier, that one there -- what's the exhibit            13   equipment that is valued, you know, in the
   14   number of it, 774, the yellow --                         14   billions of dollars that is vital to every one of
   15        A. Yeah, 774.                                       15   us sitting at this table who puts gasoline in
   16        Q. So, 774, those -- that's the same                16   their car and you try to get them back and
   17   date -- well, it's about five days after you had         17   working so as to avert what could be an even more
   18   established the $35 a day fee. So, would these           18   catastrophic event, and you do whatever you have
   19   be the kinds of things that would have been on           19   to to go get workers, and this opportunity came
   20   your mind in terms of --                                 20   up, was presented to us, and we said, we need to
   21        A. I don't know if these would have                 21   pursue this. We need workers here.
   22   been. I think that the former document that we           22         Q. Okay. Thank you. When you -- when
   23   used which had the spreadsheet --                        23   you said the government came in and paid
   24        Q. Yeah.                                            24   exorbitant wages, are you saying this is FEMA
   25        A. -- would have been the basis by                  25   that came in and --

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 1   time period?                                               1         A. The year-to-date?
 2       Q. Yeah.                                               2         Q. Yeah, after the December column,
 3       MS. HANGARTNER:                                        3   it's YTD.
 4            Produced in the 15th                              4         A. Yeah. Yeah.
 5       production.                                            5         Q. So, Signal took in $1.36 million
 6       MR. SANDLER:                                           6   from the Texas workers in 2007?
 7            Okay. Thank you. Forgive                          7         A. Correct.
 8       me for asking for something you've                     8         Q. And then you've got payroll accrual.
 9       already produced.                                      9   Can you explain that to me?
10       MS. HANGARTNER:                                       10         A. That's what will be coming out, even
11            That's okay.                                     11   though the check would fall into the next year,
12       A. These don't match up with the                      12   it was for the period --
13   figures that I have, so, I don't -- I'm not --            13         Q. Okay. Thank you. So, it's actually
14   EXAMINATION BY MR. SANDLER:                               14   1,383,762.44.
15       Q. Okay.                                              15         A. That's correct. Even though the
16       A. They were prepared by two different                16   employees may not have received their $22,000
17   individuals, so, I don't know -- but they're              17   yet, that was in between paycheck.
18   within reason.                                            18         Q. Right. Right. Well, they never got
19       Q. They're within reason. Okay. Is it                 19   the money -- well, they never saw the money on
20   possible that we can get those documents that you         20   their check. It was a direct payroll deduct.
21   have in your folder with you today?                       21   Right?
22       MR. SANDLER:                                          22         A. Right. It was -- it was in their
23            I'll ask Erin.                                   23   gross.
24       MS. HANGARTNER:                                       24         Q. It was in their gross.
25            Uh-huh.                                          25         A. Correct.

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 1        MR. SANDLER:                                          1        Q. Well, wait. Was it a deduct?
 2            That's possible?                                  2        A. It was a deduct.
 3        MS. HANGARTNER:                                       3        Q. Off their net or their gross?
 4            Sure.                                             4        A. Their gross. I don't know if it
 5        MR. SANDLER:                                          5   mattered. On their net.
 6            We could have photocopies at                      6        Q. On their net?
 7        the end of the day or something?                      7        A. On their net.
 8        And that would be, like, a little,                    8        Q. So, after they -- they get a gross?
 9        tiny production.                                      9        A. They get a gross.
10        MS. HANGARTNER:                                      10        Q. They pay taxes and whatever they
11            Yes.                                             11   pay --
12   EXAMINATION BY MR. SANDLER:                               12        A. Whatever is left.
13        Q. So, I just want to ask you, so, some              13        Q. Then, there's a $35 deduct?
14   months, at least -- I'm looking at this sheet,            14        A. Yes.
15   and I realize you've made some kind of                    15        Q. So, the $35 is an after-tax charge.
16   qualifications to it.                                     16   They're actually paying tax on earning the $35,
                                Cunningham 171:18-23
17        A. Yeah.                                             17   but they never see any of the $35?
18        Q. But it's fair to say that some                    18        A. No. It's deducted.
19   months Signal made more money off the deducts             19        Q. Right. Why wouldn't you just make
20   than their costs were; is that right?                     20   it gross then? Why wouldn't you deduct it at the
21        A. Correct. And that was the intent,                 21   source?
22   to help pay back the capital expenditures. So,            22        A. I don't think we were able to. I
23   that was a good thing when that happened.                 23   don't think it qualified for the Cafeteria 125
24        Q. Right. Now, I'm asking you about --               24   Plan.
25   you see the year-to-date on SIGE0558493?                  25        Q. Was that the reason?

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 1   man camp as -- in whatever capacity, then, his            1   at Signal?
 2   salary would have been allocated to the man camp.         2        A. I don't know the exact dates.
 3        Q. So, then, that would have been                    3        Q. Okay. So, when would Darrell have
 4   burden added?                                             4   been the manager of the man camp then? That's
 5        A. That would have been part of the                  5   the arc of managers, as I understand it.
 6   overhead, that's correct.                                 6        A. As I understand it, too, that's the
 7        Q. So, I just want to ask you some                   7   names, for the Mississippi facility.
 8   questions about the man camp itself.                      8        Q. Quite right. Quite right. Who were
 9        A. Okay.                                             9   for the Texas facility?
10        Q. First, how many times did you visit              10        A. I'm not sure of the people's names.
11   the camps?                                               11        Q. Okay. So, when would Darrell have
12        A. I don't know for certain how many                12   taken over?
13   times. Three, four, five.                                13        A. I don't know those dates.
14        Q. In the total tenure of the existence             14        Q. Would it have been after John and
15   of the camp?                                             15   before Frank? Is that possible?
16        A. Correct.                                         16        A. That sounds right.
17        Q. Okay. And did you ever see the                   17        Q. Okay. John went to Ghana on
18   Orange camp?                                             18   vacation in February, 2007. You may or may not
19        A. I never toured the Orange camp.                  19   know that.
20        Q. I'm just trying to work out the                  20        A. I recall hearing something to that
21   timeline of the man camp management. So, John            21   effect.
22   Sanders was the manager from the inception of the        22        Q. Do you know who was the manager
23   camp until when?                                         23   while John was away?
24        A. I don't know. John Sanders did not               24        A. No.
25   report to me.                                            25        Q. Would it make sense for it to be

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                                                                   Cunningham 181:11-22;                           Page 181
                                                                   182:19-183:11,184:5-185:1, 188:3-7
 1        Q. Right. Do you know if Darrell                     1   Darrell, given the timing?
 2   Snyder assisted John in running the man camp?             2        A. It could have been.
 3        A. At some point, Darrell Snyder -- I                3        Q. Okay. Were you aware of any
 4   know Darrell Snyder was involved in the man camp.         4   criticisms regarding Mr. Tipton's running of the
 5        Q. Okay. Do you know what his                        5   camp?
 6   involvement was?                                          6        A. I was not.
 7        A. At one point, I believe, overseeing               7        Q. But as a matter of course, he didn't
 8   it, managing it.                                          8   report to you, so, you wouldn't know if there
 9        Q. Okay. Do you know when that was?                  9   were or weren't any?
10        A. No, have no idea of the timeline.                10        A. Correct.
11        Q. I'm going to represent to you that               11        Q. I'm going to show you a document,
12   John's tenure at the man camp ended around April         12   and it's SIGE0006263 to SIGE0006264, and I'm
13   or May of 2007. Does that sound right to you?            13   going to also include SIGE0006259, and I'll
14        A. You probably have it in front of                 14   explain and let you have a look at it.
15   you, so -- yeah, that's fine.                            15        A. Okay.
16        Q. Okay. And then, do you know who                  16        Q. It is the H2B Resident Housing
17   Frank Tipton is?                                         17   Agreement, and it's signed in January of 2007. I
18        A. I believe he was someone that was                18   think it's a second version that was recirculated
19   hired to be the manager of the facility.                 19   in January of '07. I'll let you have a look.
20        Q. And do you know how long his tenure              20        A. Okay.
21   was?                                                     21             (Whereupon, Exhibit Number
22        A. Do not.                                          22        779 was marked for identification.)
23        Q. Do you know who Rhonda George is?                23        A. Okay.
24        A. Yes.                                             24   EXAMINATION BY MR. SANDLER:
25        Q. Okay. Do you know when she started               25        Q. Just so we're all clear, the third

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 1   page, which is 6259, the last page you were                1   word.
 2   looking at, that's a housing rules agreement that          2        Q. But you knew the content of it
 3   this employee signed, like all other employees --          3   vaguely or --
 4        A. Right.                                             4        A. Yeah, vaguely.
 5        Q. -- on December 6th, 2006.                          5        Q. I want to ask you a question, but I
 6        A. That's the date there.                             6   feel like -- well, let me just try. I'm going to
 7        Q. Right. And then in January of '07,                 7   ask you about the wording in the second paragraph
 8   when we're now into the two front pages, that's            8   of the left-hand column. I will just read it and
 9   another housing agreement that they had the                9   then I've got a question for you.
10   employees sign. Are you familiar with this?               10            "This Agreement constitutes
11        A. I've seen these.                                  11        a non-possessory permission for
12        Q. Okay. Why did all the Indian                      12        the use of Landlord provided
13   workers have to sign a new housing agreement in           13        housing by a Resident during the
14   2007, January of 2007?                                    14        full term of their employment with
15        A. I don't know the exact facts and                  15        Signal International, L.L.C."
16   circumstances.                                            16            Did I read that correctly?
17        Q. Can you tell me generally?                        17        A. You did.
18        A. No.                                               18        Q. Do you know who drafted that?
19        Q. All right. Were you involved in the               19        A. Somebody in David Bland's office.
20   drafting of this contract?                                20        Q. Okay. So, that's a legal --
21        A. No.                                               21        A. That's a tenant-landlord legal --
22        Q. Mr. Schnoor testified that you were               22        Q. Okay. So, a lawyer drafted that?
23   involved in the first version of the housing              23        A. Correct.
24   agreement. Is that right? If you want, I can              24        Q. And it was incorporated into this
25   get the testimony.                                        25   document.

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 1        A. That's fine. I don't -- you don't                  1     A. (Nods head affirmatively.)
 2   have to --                                                 2     Q. I want to ask you about Clause 8,
 3        Q. I don't want to mischaracterize.                   3 which is on the second page.                 Cunningham
 4   So, all the same --                                        4     A. Okay.
 5        A. He said what he said.                              5     Q. I'll give you a chance to -- or I'll 185:5-186:17
 6        Q. I want to make sure I'm remembering                6 read it -- read it and we can talk about it.
 7   it correctly.                                              7          "Discipline Response
 8        A. Once again, I probably was involved                8     Procedures:
 9   to the extent that Lisa Spears was drafting an             9          "First offense: If the
10   agreement, a housing agreement for the workers            10     Resident is found in violation of
11   through our outside counsel.                              11     any of the above rules and
12        Q. Right.                                            12     regulations, the Landlord's
13        A. Which is probably the reference                   13     housing manager will complete a
14   about which Ron Schnoor made the comment it was           14     documentation of the violation.
15   under me.                                                 15     This documentation will be kept in
16        Q. Right. Right. Right. He described                 16     the Resident's file and a copy
17   you as our contracts people, likely Dick and              17     delivered to the Employer. A fine
18   Chris, is what he said.                                   18     of $250 will be assessed and
19        A. Right.                                            19     payment thereof will be made by
20        Q. Does that sound right?                            20     direct deduction from Employer.
21        A. Which would flow down to Lisa.                    21          "Repeat offense. If the
22        Q. Okay. So, you've read this                        22     Resident repeats any violations of
23   agreement before today or you've not read this            23     the above rules and regulations, a
24   agreement before today?                                   24     meeting with the Resident,
25        A. I don't know if I read it word for                25     Landlord's Housing Manager and a

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 1        representative of the Employer                        1        A. Okay.
 2        will be required. A fine of $500                      2   EXAMINATION BY MR. SANDLER:
 3        will be assessed and payment                          3        Q. Okay. So, you were cognizant of the
 4        thereof will be made by direct                        4   terms, or you concurred that the agreement
 5        deduction from Employer."                             5   wasn't -- at least on January 5th, you were
 6            Third paragraph: "The                             6   satisfied with the terms of the agreement, right?
 7        Landlord reserves the right to                        7        A. Correct.
 8        terminate the Resident's housing                      8        Q. Okay. I'm just going to enter
 9        agreement in response to a repeat                     9   SIGE0011575, and it's Exhibit 781.
10        offense."                                            10            (Whereupon, Exhibit Number
11            Were you aware of these fine -- this             11        781 was marked for identification.)
12   fine structure?                                           12        A. Okay.
13        A. I was aware -- I was -- yes. To                   13   EXAMINATION BY MR. SANDLER:
14   answer the question, yes.                                 14        Q. Okay. So, now, Lisa Spears, in the
15        Q. And the $250 fine for the first                   15   second e-mail from the top, is specifically
16   offense, that's approximately a week's rent?              16   asking you, Ron Schnoor and Tracey Binion to
17        A. Roughly.                                          17   review Tom Rigolo's e-mail below.
18        Q. Can you tell me the rationale as to               18        A. Okay.
19   why Signal concluded that it needed to penalize a         19        Q. Do you agree that that's what that
20   worker a week's worth of rent if he moved                 20   e-mail is asking?
21   furniture from one room to the next or if a               21        A. That's what it's asking.
22   friend of his came to visit him?                          22        Q. Did you do that? Did you look at
23        A. The rationale behind it?                          23   Tom's e-mail?
24        Q. Uh-huh.                                           24        A. Probably.
25        A. I can only assume, because I didn't               25        Q. Okay. But you disagreed with him?

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 1   come up with those numbers. I don't know where             1         A. I neither agreed nor disagreed.
 2   they came up from. I think it was more                     2         Q. Okay. You said before that the fee
 3   operational. I think it was with the intent that           3   structure, the fine structure was set up so that
 4   to keep the people in the camp cognizant of the            4   people would remain cognizant of the rules; is
 5   rules of the facility and aware that disregard             5   that right?
 6   for those rules would be a monetary -- a possible          6         A. I did say that.
 7   monetary deduction or --                                   7         Q. Okay. So, you're saying that if it
 8        Q. At Signal's discretion?                            8   was a lesser fine, you would think that the
 9        A. At Signal's -- at -- not necessarily               9   workers would not observe the rules; is that your
10   Signal. It's the housing management. The                  10   testimony?
11   landlord's housing manager.                               11         MS. HANGARTNER:              Cunningham
12        Q. Which was a Signal employee?                      12            Object to form.           189:17-191:18
13        A. Correct. Now, to my knowledge, I                  13         A. I don't know what --
14   never heard of a single deduction being made from         14   EXAMINATION BY MR. SANDLER:
15   any employee.                                             15         Q. Let me strike that. Let me strike
16        Q. Okay. I'm going to show you a                     16   that.
17   couple documents very quickly just to                     17            Can you explain to me why you
18   establish -- I'm going to enter SIGE0009495 that          18   thought a $250 fine was necessary to keep the
19   runs to 9496. It's an e-mail which you're on,             19   Indian workers cognizant of the rules?
20   and it's Exhibit 780.                                     20         A. I don't know what number would have
21            (Whereupon, Exhibit Number                       21   been a good number. That was a number that came
22        780 was marked for identification.)                  22   up that we decided upon, sounded good to me. I
23        MR. SANDLER:                                         23   didn't object to it.
24            It's a flip, just so you                         24         Q. Right.
25        know.                                                25         A. So, okay. Fine. Why should anybody

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 1   worry about it? If you're -- if you're coming to           1   6497, and the entry I'm interested in is
 2   live in an orderly -- to the -- to the rules, it           2   Wednesday, October 25th, 2006. Exhibit 782.
 3   wouldn't be a problem.                                     3             (Whereupon, Exhibit Number
 4        Q. Right. But my question --                          4         782 was marked for identification.)
 5        A. I live by rules. I mean, if I break                5         A. Okay.
 6   a rule, I expect to pay the price.                         6   EXAMINATION BY MR. SANDLER:
 7        Q. Right, but the rules in this housing               7         Q. Was this the first tour of the man
 8   agreement are you aren't allowed to have                   8   camp that you took? Does the date seem about
 9   visitors, you can't move furniture between rooms.          9   right?
10   I'm asking if you think --                                10         A. I suppose it was.
11        A. It's discretionary. I mean, it's                  11         Q. Okay. And you've never seen the Taj
12   discretionary. It doesn't mean it's an automatic          12   Mahal, so -- was that --
13   assessment. You could be.                                 13         A. I've seen pictures of it.
14        Q. Do you think that's proportional?                 14         Q. You've seen pictures of it. And you
15   Do you think that these fines are proportional to         15   thought the housing -- the man camp resembled the
16   the rules for which they govern?                          16   Taj Mahal?
17        A. It's subjective.                                  17         A. I was being facetious, of course.
18        Q. Yeah, but you're the contracts guy                18   It was an analogy.
19   at Signal and this is a contract and it's with            19         Q. Okay.
20   Signal employees and I'm asking you if you --             20         A. Okay. I thought it was obviously,
21        A. And I think it's subjective.                      21   from his writing, he thought I was impressed with
22        Q. Okay. What is your subjective                     22   it, and I was.
23   opinion?                                                  23         Q. Okay. So, that was what that was.
24        A. That this was okay.                               24         A. Yeah.
25        Q. That $250 --                                      25         Q. Did you go inside the trailers?

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 1        A. I didn't object to it, so,                         1         A. Yes.
 2   therefore, I must have agreed to it.                       2         Q. Okay. And, so, the beds were
 3        Q. Okay. So, if a guest came to visit                 3   already set up, the bunk beds were all set up
 4   the camp, that would be -- that would be breaking          4   when you saw it?
 5   one of these rules and that would mean that it             5         A. I believe so.
 6   would be okay for the -- the employee to pay a             6         Q. So, when you worked out the $35 a
 7   $250 fine?                                                 7   day fee, you had never seen the man camp then?
 8        MS. HANGARTNER:                                       8         A. Timelinewise, I guess not.
 9           Object to form.                                    9         Q. I want to show you two documents
10        MR. SANDLER:                                         10   together. The first one is SIGE0015520, and it's
11           Okay.                                             11   going to be Exhibit 783, and the next one is
12        MS. HANGARTNER:                                      12   SIGE0556991. It's already an exhibit. It's
13           Came to visit the camp                            13   Exhibit 621.
14        doesn't mean he's in the camp.                       14            (Whereupon, Exhibit Number
15   EXAMINATION BY MR. SANDLER:                               15         783 was marked for identification.)
16        Q. Came to visit the worker in his                   16   EXAMINATION BY MR. SANDLER:
17   home, that would be okay?                                 17         Q. I'm just going to hand this to you.
18        A. The rules were the rules.                         18   Read them together. You can look at the dates.
19        Q. I have another document. This is                  19   It's about five days apart. One is John Sanders'
20   another journal entry from Mr. Sanders.                   20   diary entry, another is an e-mail to GE that
21        A. Okay.                                             21   you're cc'd on.
22        Q. Describes an encounter with you,                  22         A. Okay. Okay.
23   so --                                                     23         Q. You've read both documents?
24        A. Oh, lovely.                                       24         A. I have.
25        Q. It is SIGE0556496 and it runs to                  25         Q. I'm just going to read a bit of them

                                                                                                       49 (Pages 190 to 193)
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                                                        Page 270                                                    Page 272

 1           Okay. That's all I have.                               1          REPORTER'S CERTIFICATE
 2       THE WITNESS:                                               2
 3           Okay.                                                  3
 4       MR. SANDLER:                                               4            I, CAROL VALLETTE SLATER, Certified
 5           I think that's a wrap.                                 5   Court Reporter, Registered Professional Reporter,
 6       THE VIDEOGRAPHER:                                          6   in and for the State of Louisiana, as the officer
 7           This is the conclusion of                              7   before whom this testimony was taken, do hereby
 8       the videotaped deposition of Chris                         8   certify that CHRIS CUNNINGHAM, CPA, after having
 9       Cunningham. We're going off the                            9   been duly sworn by me upon authority of R.S.
10       record. The time is now 4:40.                             10   37:2554, did testify as hereinbefore set forth in
11           (Whereupon, the testimony of                          11   the foregoing pages; that this testimony was
12       the witness was concluded at 4:40                         12   reported by me in the stenotype reporting method,
                                                                   13   was prepared and transcribed by me or under my
13       p.m.)
                                                                   14   personal direction and supervision, and is a true
14
                                                                   15   and correct transcript to the best of my ability
15                                                                 16   and understanding; that I am not related to
16                                                                 17   counsel or the parties herein, nor am I otherwise
17                                                                 18   interested in the outcome of this matter.
18                                                                 19
19                                                                 20
20                                                                 21         CAROL VALLETTE SLATER (CCR 78020)
21                                                                            CERTIFIED COURT REPORTER
22                                                                 22         REGISTERED PROFESSIONAL REPORTER
23                                                                 23
24                                                                 24
25                                                                 25

                                                        Page 271

 1            WITNESS' CERTIFICATE
 2
 3
 4
 5           I, CHRIS CUNNINGHAM, CPA, the
 6   undersigned, do hereby certify that I have read
 7   the foregoing deposition and it contains a true
 8   and correct transcript of the testimony given by
 9   me:
10
11
12      ( ) Without corrections.
13      ( ) With corrections as reflected on
14         the errata sheet(s) prepared by me
15         and made a part hereof.
16
17
18
19
20
21
22            CHRIS CUNNINGHAM, CPA
23
24            DATE
25

                                                                                                        69 (Pages 270 to 272)
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DEPOSITION EXCERPTS

    KURIAN DAVID
                                                                                                                   1 (Pages 116 to 119)
                                                           Page 116                                                         Page 118
      1       lJj\;ITED STATES DIS1RIcr COlJRT                             1 APPEARANCES CONTINUED:
      2       EASTERN DIS1RJCf OF LOUISIANA                                   2BARRASSO, USDlN. KUPPERMAN,
      3                                                                          FREEMAN & SARVER
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   11       PLAINTIFFS                                                /10               KNOWN AS MEDTECH CONSULTANTS
   12 VERSUS                                                            11        ALSO PRESENT:
   13 SIGNAL INTERNATIONA!.,                                          / 12          TRACEY BINION
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   14 GULFCOASTIMMIGRATION                                                13
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      LTD. (alkla MEDTEClI                                                19 TRANSLATOR:
  20 CONSULTANTS).                                                        20   RADHAMANI KUMAR, M.D.
  21        DEFENDANTS.                                                        LEGAL INTERPRETERS, INC.
  22
      Videotaped deposition of KURIAN DAVID, c/o Alan
                                                                          21   Suite 200
                                                                               3350 RidgeJake Drive
  23 Howard, Dewey & LeBoeuf, 130 I Avenue of the                         22
      Americas, New York, New York 10019. taken at the                         Metairie, Louisiana 70002
  24 Prince Conti Hotel. 830 Conti Street, New                             /23
     Orleans, Louisiana 70112, on Thursday, the 12th                        24
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                                                          Page 117                                                         Page 119
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 17           LLC.
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22                                                                   23
23                                                                   24
24
2.5                                                                  25
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                                                                                                        NEW ORLEANS, LA 70139             I
                                                                                                 17 (Pages 180 to 183)
                                                    Page 180                                                  Page 182
      1       Q.   Thank you.                                    1       authorized Sachin Dewan for the
   2         Bet your answer is different now.                   2       visa. Didn't get the visa, but
   3 What about Sachin Dewan? Does Kurian David claim            3      the communication is through this
   4 that Sachin Dewan did something wrong to Kurian             4      channel. You can apply for green
   5 David?                                                      5      card. This company will give you
   6          THE INTERPRETER:                                   6      green card in 24 months. You have
   7               What is that? Chin?                           7      to give some money for this. You
   8          MR. DOUGLAS:                                       8      give this money in three
                                         David
   9              Sachin Dewan.                                  9      installments. If in two years,
  10          THE INTERPRETER:           180:12-182:13          10      you get the green card, once you
  11              Very much he has done.                        11      get the green card, you can go to
  12          Q. Tell me what your claim is against             12      America with your faJllily. That is
  13      Sachin -- let me back up. Tell me what Kurian        13       what they said in that meeting.
 14       David claims Sachin Dewan did wrong to Kurian        14    EXAMINATION BY MR. DOUGLAS:
 15       David.                                               15       Q. Okay.
 16           THE INTERPRETER:                                 16       THE INTERPRETER:
 17               I have to tell that in                       17           They assured about this
 18          detail so many things.                            18      company's facilities, where are
 19          Q. Have at it.                                    19      this company has grounds and
 20          THE INTERPRETER:                                  20      factories and food and
 21              Tell me. Break it up.                         21      accommodation for the workers and
 22          Small sentences.                                  22      everything, they discussed. They
 23              I was working in Abu Dhabi                    23      treat the workers real nice.
 24          as a foreman in NPCC company as                   24      Those things they said. They said
 25          the foreman -- high-level senior                  25      they need the workers ahead of
                                                   Page 181                                               Page 183
  1           foreman. Then, I saw an                          1       time because of the hurricane on
  2           advertisement in a paper.                        2       H2B visa. So, they are going to
  3           According to that advertisement, I               3       apply for the H2B visa. They said
  4           have applied to Sachin Dewan's                   4       these things.
  5           office. This is what was said in                 5       Q. Okay.
  6           the advertisement. You can apply                 6      THE INTERPRETER:
  7           for pennanent resident visa for                  7          They told another time --
  8           the U.S. So, you can apply for                    8     they called us and said there is
  9          that and communicate with us in                    9     practical and theory testing.
 10          the address -- what was shown in                  10     Only if you pass then only you can
 11          the advertisement. Sachin Dewan's.                11     go. We went to Dubai, AIkhoose,
 12          MR. DOUGLAS:                                      12     place called Alkhoose, and I
 13               Yes, ma'aJll.                                13     worked short-calI Almulla
14           THE INIERPRETER:                                  14     Engineering, A-L-M-U-L-L-A,
15                It was an office in Dubai.                  15      Engineering.
16           I communicated with them. They                   16      Q. Hang on. Keep in mind, I just --
17          had a meeting in a hotel at Abu                   17 I'm trying to understand just what your claim
18          Dhabi. They had a seminar at Abu                  18 against Sachin Dewan is.
19          Dhabi. So, they talked about this                 19     THE INTERPRETER:
20          company. They said the name of                    20          That's what I'm explaining.
21          the company is Signal                             21     I told you I have to ten you in
22          International. Your lawyer's name                 22     detail.
23          is Malvern C. Burnett This is                     23     Q. Okay. Okay.
24          affiliated with Global Resource                   24     TIlE INTERPRETER:
25          and Michael Pol. So, they have                    25          We went for a test in the

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                                                                                            23 (Pages 204 to 207)
                                              Page 204                                                  Page 206
   1           Many things I need -- I need                  1 you want some reward for mental agony.
   2      to get.                                            2     MR. DOUGLAS:
   3      Q. Tell me what the list of the many               3       I'm sorry, Doctor.
   4 things you need to get from Signal International        4 EXAMINATION BY MR. DOUGLAS:
   5 as a result of this lawsuit is.                         5    Q. What I got from that was you want
   6      THE INTERPRETER:                                 6 some kind of visa, you want nobody to suffer, you
   7          First, I wanted to tell they                7  want the government to make some kind of
   8      promised me green card and they                 8  arrangements for you, you want a reward for your
   9      cheated me on that. They brought                9  mental agony, you want a reward for your
  10      me here. Very difficult                        10  suffering, you want the money back that you paid,
  11      situations I had to work. Very                  11 and you want to punish the company?
  12      bad accommodations to stay.                    12       MR. WYNNE:
 13       Human -- they stole the human                  13           Objection. Some of those
 14      rights from us. They                            14       are a rather complete
 15      considered -- they treated us like              15       mischaracterization.
 16      slaves. They promised green card.               16      THE INTERPRETER:
 17      They promised extension of visa,                17           Have to punish the company.
 18      all those things. If you don't                  18      MR. WYNNE:
 19      work in this conditions, we will                19           Translate the objection.
 20      export you back to your homeland,               20      Objection.
 21      they said.                                      21      THE INTERPRETER:
 22      Q. All right. Stop. My question is:             22           What you said, some of the
 23 What do you want to get from Signal International    23      things is not clear to me. For
 24 as a result of this lawsuit? It sounds like          24      example, about the visa, I am not
 25 you're telling me what your complaints are           25      asking for visa.
                                          --~----+---------~------------------~----~

                                            Page 205                                                 Page 207
  1 against Signal, but I want to know what you want     1    EXAMINATION BY MR. DOUGLAS:
  2 to get from Signal as a result of this lawsuit.      2         Q. Okay.
  3       TIIE IN1ERPRETER:                              3         THE INTERPRETER:
  4           I'm not telling about the                  4              Besides, not issued by the
  5       complaint. If I had to tell the                5         company. I'm not believing I'll
  6      complaints, there is many                       6         get green card.
  7      complaints. What I want is that                 7         Q. What else do you want to clear up on
  8      visa -- I for all this. I don't                 8    that list I just read you?
  9      want anybody else to suffer these               9         THE INTERPRETER:
 10      kind of things. The government                 10              You need to ask again. Once
 11      has to caution about this and make             11         more, please ask.
 12      arrangements for this. And I have              12         Q. You told me about the visa part. My
 13      lost money out of this and my                  13   next thing on my list is you don't want anybody
 14      family and I suffered mental                   14   else to suffer.
15      agony. I have to get the money                  15        THE INTERPRETER:
16      back what I have spent for this.                16             For sure, I don't want
17      I need to have reward for my                    17        anybody who is coming for this
18      suffering. Because this company                 18        kind of visas to suffer.
19      has done these wrongs, the legal                19        Q. Okay. The next on my list is you
20      proceeding has to punish this                   20   want the government to make some kind of
21      company for these things. These                 21   arrangement for you.             David
22      are all the things I want.                      22       THE INTERPRETER:           207:19-208:17
23      Q. AU right What I got from that was            23          For me or in general?
24 a visa, you don't want anybody to suffer, you        24       Q. For you.
25 want the government to make some arrangements and    25       THE INTERPRETER:
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 24 (Pages 208 to 211)
                                                  Page 208                                             Page 210

      1        Not for myself, but                             1      back because they promised me
      2   something about this H2B visa.                       2      green -- promised me this, so
   3      When we come for H2B visa, we need                   3      that's the only reason I came.
   4      to have the -- that person need to                   4     Q. Yes, ma'am.
   5      have the freedom to stay, the                        5          Did you give any money to Signal
   6      freedom to eat and the freedom to                    6 ever?
   7      move around, walk around, to meet                    7     THE INTERPRETER:
   8      with your brothers and friends --                    8          Yes.
   9      freedom to meet with your brothers                   9     Q. What money?
  10     and friends. For example, Signal                     10     THE INTERPRETER:
  11     make us stay like we stay in a                       11          Malvern C. Burnett was the
  12     jail, inside a fenced compound.                      12     lawyer for Signal.
 13      They did not allow friends or                       13      Q. Okay.
 14      relatives inside. We couldn't --                    14      THE INTERPRETER:
 15      they did not allow us to attend                     15          He is the one who recruited
 16      any mass in our language -- masses                  16      us and offered green card for us.
 17      in a church or a temple.                            17      Signal's person couldn't come
 18     Q. I understand that. We're talking                  18     there to recruit us. So, he
 19 about what you want the government to make               19     represented Signal, Malvern C.
 20 arrangements for. Is it that you want the                20     Burnett. I have taken demand
 21 government to fix that?                                 121     draft on his name. So, that is
 22     THE INTERPRETER:                                     22     equal that I paid money to Signal.
 23          When -- the government                          23     Q. Did you ever -- other than the money
 24     should tell the companies when                       24 you paid for housing, did you ever hand any
 25     they issue the H2B visa, the                         25 money, either a check or cash, to any Signal
          David 209:4-22                         Page 209                                             Page 211

  1          government should tell that they                 1 employee?
  2    shouldn't do anything to prevent                       2     THE INTERPRETER:
  3    the human rights.                                      3         Can you ask the question
  4    Q. Okay. Next on my list is you want                   4     again?
  5 money back. What money do you want back?                  5     Q. Sure. Other than the money that was
  6          THE INTERPRETER:                                 6 deducted from your pay for housing --
  7              I came here just because                     7     THE INTERPRETER:
  8          they offered green card. If only                 8         Over here or back home?
  9          I get H2B visa. I wouldn't have                  9     Q. Over here. And other than the money
 10          been coming here because I was                  10 you claim you gave Malvern Burnett --
 11          working in a high position with a               11     MR. ALEXIS:
 12          good salary abroad I have left                  12         Object to form, by the way.
 13          that and I have spent money to                  13 EXAMINATIONBYMR.OOUGLAS:
 14         come here and many other things I               14      Q. -- did you give any money to Signal?
 15         spend money. My brother-in-Iaw's                15      THE INTERPRETER:
 16         house is sold for me to take a                  16          Not as money cash.
 17         loan from him to come over here.                17     Q. Not as money cash.
18          Because I need money again here,                18     THE INTERPRETER:
19          they have to sell the house and on              19         Not as cash.
20          a cheap price. If he will sell                  20     Q. Did you give any funds --
21          the house now, we probably might                21     MR. WYNNE:
22          have gotten six times more money.               22         Objection to the
23          Q. I don't care about that.                     23     translation.
24          THE INTERPRETER:                                24 EXAMINATION BY MR. OOUGLAS:
25              But I have to get all that                  25     Q. Did you give any funds in any form

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 32 (Pages 240 to 243)
                                             Page 240                                                 Page 242
   1         He can answer.                                1          Yes.
   2     THE INTERPRETER:                                  2      Q.    What was your understanding of your
   3         We thought Malvern C.                         3 agreement with Sachin Dewan?
   4     Burnett is equal to Signal. He is                 4      THE INTERPRETER:
   5     the staff of SignaL So, the                       5          We given money to Sachin
   6     money we are giving Malvern C.                    6      Dewan with the understanding that
   7     Burnett is equal to giving money                  7      he's using that money to get us
   8     to Signal.                                        8      green card.
   9     MR ADAMS:                                         9      Q. All right. Did you, before you came
  10         Again, object to the                         10 to the United States, sign a written agreement
  11     responsiveness of the nonresponse.               11 with Malvern C. Burnett?
  12 EXAMINATION BY MR DOUGLAS:                           12      THE INTERPRETER:
 13      Q. I'm not asking you what you thought.          13          Yes.
 14 I'm not asking you what you believe. I'm not          14      Q. What did you understand your
 15 asking you what you felt. I'm asking you what        15 agreement with Malvern C. Burnett was before you
 16 you heard. I am asking you what sounds went into     16 came to the United States?
 17 your ears, whether they went into your ears or       17       MR. ALEXIS:
 18 not The question again is, and I can ask this        18          Object to fonn.
 19 question 40 more times until I get a "yes" or a      19       THE INTERPRETER:
 20 "no," did Malvern C. Burnett ever tell you before    20          We understood that the
 21 you carne to the States that he was going to give    21      monies given to him is for that
 22 any of the money to Signal?                          22      processing of green card.
 23     MR. WYNNE:                                       23 EXAMINATION BY MR. DOUGLAS:
 24         I object to the way the                      24      Q. Before you came to the United
 25     question was asked. It was a                     25 States, did you ever sign a written agreement
 ~----~------------------------------~---
                                           Page 241                                                  Page 243
  1      little argumentative. The tone                   1 with either Michael Pol or Global Resources?
  2      was a little harsh and I realize                 2      THE INTERPRETER:
  3      it's a frustrating process, but I                3          Yes.
  4      don't think it has to get to that.               4      Q. What did you understand your
  5      If he doesn't answer, I think you                5 agreement with Michael Pol or Global Resources to
  6      can object, nonresponsive, and                   6 be?
  7      move at a later date to compel the               7      THE INTERPRETER:
  8      answer.                                          8          Global Resources was
  9      TIffi INIERPRETER:                               9      supposed to give us green card
 10           Can I translate?                           10      while we are working for the
 11      MR. OOUGLAS:                                    11     company.
 12           Yeah. Go ahead.                            12     Q. SO, would you agree with me that you
 13      TIffi INTERPRETER: David                        13 paid Sachin Dewan to work for you?
 14           He did not say that. 241:22-243:11         14     MR. SHAPIRO:
15 EXAMINATION BY MR. DOUGLAS:                          15           Object to form..
16      Q. Thank you.                                   16      TIffi INTERPRETER:
17           Did you ever sign an agreement with        17          Pardon me.
18 Sachin Dewan before you came over to the United      18 EXAMINATION BY MR. OOUGLAS:
19 States?                                              19      Q. Would you agree that you entered
20      TIffi INTERPRETER:                              20 into an agreement with Sachin Dewan for him to do
21           Pardon me.                                 21 something for you?
22      Q. Did you ever sign a written                  22      MR. WYNNE:
23 agreement with Sachin Dewan before you came over     23          Object to translation.
24 to the United States?                                24      TIffi IN1ERPRETER:
25      TIffi INTERPRETER:                              25          Is that a - the question?

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                                                                                              35 (Pages 252 to 255)
                                              Page 252                                                    Page 254
   1          Okay.                                           1 know what it means?
   2      MR. WYNNE:                                       2       THE INTERPRETER:
   3          Same objection.                              3           I don't understand what is
   4      THE INTERPRETER:                                 4      Group II. In the front, there are
   5          I cannot say if they read it                 5      many people. Are you meaning
   6      or not without understanding the                 6      them?
   7      meaning of the paragraph.                        7      Q. Okay. Do you know if you're a Group
   8 EXAMINATION BY MR. DOUGLAS:                           8 II plaintiff or not?
   9      Q. Okay. That's not what I'm asking.             9      THE INTERPRETER:
  10 Okay. What I'm asking is, this whole document,       10          I know I am a plaintiff in
  11 the one with your name at the very top of it that    11      this case, but I don't know if I
  12 says Kurian David, where you sued a bunch of         12      am a Group II plaintiff.
  13 people, did anybody sit down with this document,     13      Q. All right. Isn't it true, Kurian,
 14 that happens to be labeled Exhibit 196 and is        14 that when you made your decision to pay money to
 15 entitled First Amended Complaint, and read it to     15 Sachin Dewan, you relied on the representations
 16 you in Malayalum?                                    16 and promises made to you by Sachin Dewan?
 17      MR. WYNNE:                                      17      THE INTERPRETER:
                                                                                                        David
 18          Same objection. And asked                   18           He trusted -- I trusted.
 19      and answered.                                   19      That's why gave money. Otherwise,
                                                                                                        254:21-
 20      THE INTERPRETER:                                20      we won't give.                         255:1
 21          They didn't read the whole                  21      Q. SO, you agree with me then that you
 22      thing, but the lawyer said                      22 relied on the representations made to you when
 23      whatever changes were made.                     23 you made your decision to pay money to Sachin
 24 EXAMINATION BY MR. DOUGLAS:                          24 Dewan?
 25      Q. All right. Well, now that you                25      THE INTERPRETER:
                                             Page 253                                                   Page 255
  1 remember that you apparently were read parts of       1           Yes.
  2 it but not the whole thing, do you remember if        2     Q. Would you also agree with me that
  3 this paragraph was part of the things that were       3 you relied on your -- I'm sorry -- you relied on
  4 read to you in Malayalum?                             4 the representations of Sachin Dewan when you
  5      MR. WYNNE:                                       5 signed your agreement with Sachin Dewan?
  6          Same objections.                             6      THE INTERPRE1ER:
  7      THE INTERPRETER:                                 7          I have signed two agreements
  8          Should 1--                                   8      with Sachin Dewan. Which one you
  9      MR. WYNNE:                                       9      are asking?
 10          You can ten   him I said same               10      Q. The frrst one.
 11      objections, and then ask the                    11      THE INTERPRE1ER:
 12     question. He can answer it. Just                 12          I depend on him I trusted.
 13     ask him and he'll answer it, if he               13      Q. All right. Now, what about the
 14     can.                                             14 second one?
15      THE INTERPRETER:                                15      THE IN1ERPRE1ER:
16          Don't remember.                             16           They didn't give me time to
17 EXAMINATION BY MR. OOUGLAS:                          17      read the second agreement They
18      Q. Don't remember. All right.                   18      just asked to sign here, sign
19          Do you know what a Group II                 19      here. They didn't show the
20 plaintiff is?                                        20      agreement to me.
21      THE INTERPRETER:                                21      Q. But when you made your decision to
22          Does that mean that in the                  22 become involved with Sachin Dewan, you made that
23      petition there are two kinds of                 23 decision based on the representations that were
24     plaintiffs?                                      24 made to you, right?
25     Q. That's what I'm asking him. Does he           25     THE INTERPRE1ER:

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  50 (Pages 312 to 315)
                                                Page 312                                                   Page 314
   1        Q. I don't understand the answer.            1 you told me a minute ago that we need to read
   2        THE INTERPRETER:                            2 everything for you to understand the paragraphs,
   3            Yes, basically. I cannot                3 correct?
   4       give a word. He says yes.                    4      THE INTERPRETER:
   5       Q. Let me ask it this way, Kurian. On        5          Yes.
   6   Tuesday, you looked at this with your attorney,  6      Q. All right.
   7   correct, 302?                                    7      MR. OOUGLAS:
   8       THE INTERPRETER:                             8          Doctor, could you please
   9         ~~~                                        9      read Paragraph 4 to Mr. Kurian
  10     Q. Read it. Okay. Was the entire              10      David?
  11 document translated into Malayalum for you on     11     THE INTERPRETER:
  12 Tuesday, or were only pieces of the document      12         In Malayalum?
 13 translated into Malayalum for you on Tuesday?      13     MR. OOUGLAS:
 14      THE INTERPRETER:                              14         Well, yeah. They say you
 15          From the beginning,                       15     got to read it to him in
 16     everything.                                    16     Malayalum.
 17     Q. Everything.                                 17     MR. WYNNE:
 18     THE INTERPRETER:                               18         Don't know if it would be
 19         Yes.                                       19     helpful any other way.
 20     Q. When you went through this                ! 20         Object to translation.
 21 declaration on Tuesday and everything was re~ to /21      THE INTERPRETER:
 22 you, did you find any mistakes in this             22         That is true. I saw that
 23 declaration?                                      23      advertisement.
 24     THE INTERPRETER:                              24      MR. OOUGLAS:
 25         There was some mistakes in                25          You read the whole thing to
                                               Page 313                                               Page 315
  1       my address, I thought.                           1       him, Doctor?
  2       Q. All right. And other than that?               2       THE INTERPRETER:
  3       THE INTERPRETER:                                 3           Yes.                                    David
  4           There was one other point.               4       EXAMINATION BY MR. DOUGLAS:                     315:5-317:11
  5      Q. Which point was that, Kurian?              5           Q. All right. In the middle of that
  6      THE INTERPRETER:                              6       paragraph, you -- right smack in the middle, it
  7          Forgot which point it was.                7       says you were making -- you were "making good
  8      Q. Why don't you kind of take a second        8       money" back in early 2006. How much were you
  9 and think about it and see if you can remember     9       making in early 2006?
 10 what point it was that you had - you thought was 10            THE INTERPRETER:
 11 a mistake.                                        11               The salary?
 12      THE INTERPRETER:                             12          Q.    Yeah.
 13          I remember my address was               13           THE INTERPRETER:
 14      wrong. There was one more point             14                Do I have to tell that?
 15      which -- one more word which was            15           Q.    Yeah. You put it in there. Yeah.
16       wrong which I don't remember now.           16           THE INlERPRETER:
17      Q. All right. Well, if as we go              17               I have gotten -- I have
18 through this we come to that item or any other    18           gotten good money, but I want to
1 9 item that you think is wrong, will you please    19           ask my lawyer if I need to
20 tell me what that is?                             20           answer--
21      THE INTERPRETER:                             21           MR. WYNNE:
22          If you read each and every               22             Yes.
23      one, I can say which point it was           23            MR. DOUGLAS:
24      that needed to be corrected.                24              Sure. Ask your lawyer.
25      Q. Sure. And. unfortunately, I think        25            THE INlERPRETER:
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                                                                                        51 (Pages 316 to 319)
                                            Page 316                                               Page 318
   1          -- how much money I got.                   1      Q. Had you been working in Abu Dhabi
   2      MR. WYNNE:                                     2 for the previous eight years?
   3          Yes.                                      i 3     THE INTERPRETER:
   4      THE INfERPRETER:                             I4           Not only in Abu Dhabi. I
   5          It was different amount in                 5      had work many places in the world.
   6      different months. Food and                     6      Q. Were you always paid in dirhams over
   7      accommodation were given by the                7 the prior eight years?
   8      company.                                     '8       THE INTERPRETER:
   9 EXAMINATION BY MR. DOUGLAS:                          9          No. I have been paid in
  10      Q. Okay.                                       10     dollar, rial, Qatar rial.
  11      THE INfERPRETER:                             I 11     Q. Let me ask it this way: When did
  12          Two peoples together                     /12 you start working in Abu Dhabi before early 2006?
  13      accommodation.                                 13     THE INTERPRETER:
 14      Q. I don't care about accommodations,           14         Four and a half years in Abu
 15 Kurian, right now. What I care about is how much     15     Dhabi and one and a half years in
 16 "good money" was in early 2006. That's what I        16     Dubai.
 17 want to know.                                        17     Q. Okay. Thank you. How does 4,000 --
 18      THE INfERPRETER:                                18 do you know how 4,000 dirhams translates into
 19          When you compare money what                 19 rupees?
 20      I got here, I have to compare                  20      THE INTERPRETER:
 21      money what I got for the                       21          It varies different times.
 22      accommodation and food.                        22      Approximately 60,000 rupees.
 23      Q. And maybe we'll do that later. I            23      Q. What about in early 2006, do you
 24 want a number right now or more than one number     24 remember how 4,000 dirhams would convert into
 25 right now. How much were you making, which you      25 rupees?
                                           Page 317                                               Page 319

  1 referred to was "good money," in early 2006 in       1       THE INTERPRETER:
  2 Abu Dhabi?                                           2            About 12 -- I don't remember
  3      THE INTERPRETER:                                3       correctly, but about 12 rupees per
  4          Between 4,000 and 6,000.                    4       dirham.
  5      Q. Four thousand and 6,000 what?                5       Q. Okay. You also mention that you saw
  6      THE INTERPRETER:                                6 an advertisement in the Gulf News talking about
  7          Dirhams.                                    7 working in the United States.
  8      Q. Was that between 4,000 and 6,000             8      THE INTERPRETER:
  9 dirhams a month?                                     9           I saw the advertisement
 10      THE INTERPRETER:                               10      offering permanent visa and job.
 11         Yes.                                        11      Q. What month in 2006 did you first see
 12     Q. Okay. So, obviously, sometimes it            12 this advertisement?
 13 would be closer to 4,000 and some months, it       13       THE INTERPRETER:
 14 would be closer to 6,000 dirhams?                  14           I can't remember correctly.
15      THE INTERPREfER:                               15       Q. Do you still have a copy of this
16          In between that, up or down.               16 advertisement?
17      Q. Okay. How long before early 2006            17       THE INTERPRETER:
18 did you start earning between 4,000 and 6,000       18           I don't have it now, but I
19 dirhams a month?                                    19       can bring it.
20      THE INTERPRETER:                               20       Q. Why did you save a copy of this
21         Approximately eight years.                  21 particular advertisement?
22      Q. Okay. So, you were earning in that          22      THE INTERPRETER:
23 range for the previous eight years?                 23           Many companies cheat like
24      THE INTERPREfER:                               24      this. So, I kept it to save.
25         Yes.                                        25      Q. Okay. Did the advertisement--

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   1      understand spoken Hindi, but I                 1      before we go there.
   2      have little problem reading the                2      Q. Did you sign any papers at this
   3     script Hindi.                                   3 seminar you talk about in Paragraph 5?       David 330:6-21
   4     Q. What other languages were -- besides         4      THE INTERPRETER:
   5 Hindi, did they translate this into any other       5           No.
   6 languages?                                          6      Q. Were you given any papers at this
   7     THE INTERPRETER:                                7 seminar you talk about in Paragraph 5?
   8         In English.                               I 8      THE INTERPRETER:
   9     Q. SO, just Hindi and English?                  9           They showed us brochure
  10     THE INTERPRETER:                               10      about the facilities, the company.
  11         Yes, only that.                            11      Q. Anything else?
  12     Q. All right. Let's read the next two          12      THE INTERPRETER:
 13 sentences. Malvern Burnett explained the           113           They said good things about
 14 specifics of the process. And then the next         14     the company. It's a very good
 15 sentence is a long sentence. I'm sorry.             15     company. They treat employees
 16          You finished?                              16     good. We get good food and
 17      THE INTERPRETER:                               17     accommodation. You can work free.
 18          Yes.                                       18     You will be free there to work and
 19      Q. Was this the first time you had             19     you have freedom there. You can
 20 heard the name Signal International?                20     stay there 30 months and enjoy the
 21     THE INTERPRETER:                               21      life.
 22         I heard Signal International               22      Q. I understand that. My question was:
 23     in America.                                    23 Were you given any papers at this seminar you
 24     Q. Had you been to America before              24 talk about in Paragraph 5, and you told me you
 25 May --                                             25 were shown a brochure. Were you -- did you see
           ------~--------------------_b----------------------~------~--~
                                          Page 329                                              Page 331

  1      MR. WYNNE:                               1 any other papers at this seminar besides the
  2          Object to that translation.             !2
                                                    brochure?
  3     THE INTERPRETER:                        I3      THE INTERPRETER:
  4          That's what he said.                 4         Not on the same day.
  5 EXAMINATION BY MR. OOUGLAS:                   5     Q. Not on the same day?
  6     Q. Had you been to America before May,    6     MR. DOUGLAS:
  7 2006?                                         7         Is that what you said.
  8     THE INTERPRETER:                          8     Doctor.
  9          Yes. That time, I heard.             9     THE INTERPRETER:
 10     Q. That was the first time you heard of  10         Not on the same day.
 11 Signal, right?                               11 EXAMINATION BY MR. DOUGLAS:
 12     THE INTERPRETER:                         12     Q. Can you describe this brochure to
 13         Yes.                                 13 me?
14      Q. All right. Let's go to the next      14      THE INTERPRETER:
15 sentence. It starts with: He said that.      15          My lawyer has the brochure.
16      THE INTERPRETER:                        16      Six or eight Signal companies,
17          Okay.                               17     different places, pictures of the
18          Yes.                                18     Signal company workplaces. The
19     Q. Did Mr. Burnett tell you at this      19     capacity and things like that.
20 meeting when you would begin the green card  20     Q. Were there any pictures of the
21 process?                                     21 housing accommodations in this brochure?
22     THE INfERPRETER:                         22     THE INfERPRETER:
23          We have signed in papers for        23         They showed us video some.
24     the green card and we were told          24     Q. They showed you a video of the
25     the process would start even             25 accommodations? Is that what you said?

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                                                                                                                         1 (Pages 344 to 347)
                                                               Page 3441                                                              Page 346
         1        LiNITED STATES DISTRICT COURT                                   1 APPEARANCES CONTINUED:
         2        EASTERN DISTRICT OF LOUISIANA                                2      BARRASSO, USDIN, KUPPERMAN,
         3                                                                              FREEMAN & SARVER
               KURIAN DA VID, SONY      CIVIL ACTION                           3      (BY: JUDITH A. WENGER)
         4    V ASUDEV AN SULEKHA,
                                                                                      Suite 2400
              PALANYAl'lDl TIIfu"lGAMANI,    NO. 08-1220
         5    MARUGANANTIIAM KANDHASAMY,                                       4      909 Poydras Street
              HEMANTKHUTTAN, ANDREWS          SECnON "A"                              New Orleans, Louisiana 70112
         6    ISSAC PADA VEETTIYL, AND                                         5
              DIIANANJA YA KECHURA, ON      MAGISTRATE 3                                 ATTORNEYS FOR GLOBAL RESOURCES,
         7    BEHALF OF OTIlER SlMILARL Y                                      6         INC. AND MICHAEL POL
              SlTIiATED INDIVIDUALS, AND                                       7     STEPHEN H. SHAPIRO
         8    SABULAL VlJA YAN, KRlSHAN                                               200 Maine Street
              KlJM<\.R, JACOB JOSEPH                                          8      Jefferson, Louisiana 70121
         9    KADDAKKARAPPALLY, KULDEEP
                                                                              9          ATTORNEYS FOR SACHIN DEWAN AND
              SINGH, AND TIIANASEKAR
      10     CHELLAPPAN, INDIVIDUALLY,
                                                                                         DEWAN CONSULTANTS PVT. LTD. ALSO
      11            PLAII'<TIFFS                                              10         KNOWN AS MEDTECHCONSULTANTS
      12     VERSUS                                                           11   ALSO PRESENT:
      13     SIGNAL INTERNAnONAL,                                             12     TRACEY BINION
             LLC, MALVERN C. BURNETT,                                                SIGNAL INTERNATIONAL, L.L.c.
      14     GULF COAST lMMlGRAnON                                           13
             LAW CENTER, L.L.c., LA W                                                BRYAN C. BAGNEITO
     15      OFFICES OF MALVERN C.                                           14      MIDDLEBERG, RIDDLE & GlANNA
             BURNETT, A.P.C.,
                                                                             15      ANJALI NAIR
     16      INJX.).AMERI SOFT L.L.c.,
             KlJRELLA RAO, J & M
                                                                                     Immigrant Justice Project
     17      ASSOCIATES, INC. OF                                             16      Southern Poverty Law Center
             MISSISSIPPI, GLOBAL                                                     Suite 2150
     18      RESOURCES, INC., MICHAEL                                        17      233 Peachtree Street
             POL. SACHIN DEWAN, AND                                                  Atlanta,   Georgia 30303
     19      DEWAN CONSULTANTS PVT.        VOLUME 3                          18
             LID. (alkJaMEDTECH                                              19 TRANSLATOR:
  20         CONSULTANTS).                                                   20   RADHAMANI KUMAR, M.D.
  21               DEFENDANTS.                                                    LEGAL INTERPRETERS, INC.
  22
     Videotaped deposition of KURIAN DAVID, cJo Alan
  23 Howard, Dewey & LeBoeuf, 1301 Avenue of the
     Americas, New York. New York 10019, taken at the
                                                                         I   21

                                                                             22
                                                                                  Suite 200
                                                                                  3350 Ridgelalee Drive
                                                                                  Metairie, Louisiana 70002
  24 Prince Conti Hotel, 830 Conti Street, New                           ,   23
     Orleans, Louisiana 70112, on Friday, the 13th                       124
 ~day of February, 2009, beginning at 8~:4_2a_m~'---------'--'-p~a--g-e--3-4-5-+1= . 2 5 " - - - - - - - - - - - - - - - - - . -..-----p-ag;-34--7

     1 APPEARANCES:                                                          1 APPEARANCES CONTINUED:
     2   DEWEY & LeBOEUF
               (BY: ROBERT P. WYNNE)
                                                                             2 VIDEOORAPHER:
     3         Suite 2550                                                    3    KEN HART
               1000 Main Street                                                   Legal Video Specialist
     4         Houston, Texas 77002-5009                                     4    HART VIDEO OF WUISIANA, LLC.
     5                  and
     6         JENNIFER ROSENBAUM
                                                                                  Bay 5
               2 I 7 North Prieur Street                                     5    1185 Robert Boulevard
  7            New Orleans, Louisiana 70112                                       Slidell, Louisiana 70458
  8                 ATTORNEYS FOR TIIE PLAINTIFFS
                                                                             6
  9
              MJDDLEBERG, RIDDLE & GIANNA                                     7
 10           (BY: ERIN CASEY HANGARTNER                                      8
                  DONALDC. DOUGLAS,1R)                                        9
 11           31st Aoor
              201 St Charles Avenue
                                                                             10
 12           New Orleans, Louisiana 70170-3100                              11
 13                   and                                                12
 14           PATRICIA A. BOLLMAN                                        13
              A Professional Law Corporation
 15           Post Office Box 13707                                      14
              New Orleans, Louisiana 70185                               15
 16                                                                      16 REPORTED BY:
                  ATTORNEYS FOR SIGNAL INTERNA nONAL.                    17          CAROL VALLEITE SLA1ER
 17              L.LC.
 18           PORTEOUS. HAINKEL & JOHNSON                                            Certified Court Reporter
                                                                         18          Registered Professional Reporter
 19
              (BY: RALPH R. ALEXIS. III
                 GLENN B. ADAMS)
              704 Cuoodelet Street
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                                                                                                                                                     I
20
21
              New Orleans, Louisiana 70130-3774
                 ATTORNEYS FOR GULF COAST IMMIGRAnON                     21                                                                          j
                 LA W CENTER, LL.C.                                      22
22                                                                      23
23
24                                                                      24
25                                                                      25

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  4 (Pages 356 to 359)
                                            Page 356                                              Page 358
    1       Q. How did you take an English written       1            Sachin Dewan first said
    2 test and successfully pass it?                     2       things in English, then in Hindi,
    3       THE INTERPRETER:                              3      he translated.
    4           It is about my job, relating              4      Q. Do you know why Sachin Dewan would
    5       to my job, the test is. The                   5 have said anything in English at this meeting?
    6       questions I understood easily. I              6      MR. ALEXIS:
    7       knew the answers because I have 24            7          Object to form.
    8       years of experience in this field.            8     THE INTERPRETER:
    9       Q. And nobody translated this written         9          I think they have the staff
   10 test into Malayalum for you, correct?              10     of the Signal there, for them also
   11       THE INTERPRETER:                             11     to make them understand his spoken
   12          Nobody has to translate to                12     English.
  13        me the matters relating to my job.          13 EXAMINATION BY MR. DOUGLAS:
  14        Q. Let's look at Number 7 now.              14      Q. Sure. Did any of the applicants at
  15       THE INTERPRETER:                             15 this meeting speak English as their native
  16           Okay.                                    16 tongue?
  17       Q. Trying to figure out the fastest way    117       THE INTERPRETER:
  18 to do this.                                        18          Nobody there with that.
  19       MR. DOUGLAS:                                 19      Q. You make a reference to 40,500
  20           Doctor, I think you're going           120 dirhams. Can you convert that into rupees?
  21       to have to read him this whole             121       THE INTERPRETER:
  22       paragraph. I'm sorry. All at one           122           If you have a calculator, I
  23       time.                                      I 23      will tell you.
  24      THE INTERPRETER:                            I 24      MR. SHAPIRO:
 ~§_______Num~rJ? -------~~---pa-g-e-3-57125----~m sorry~ did~'t hear
                                                                                                 Page 359
  1       MR. DOUGLAS:                                I 1       the answer to that.
  2           Yes, ma'am.                               2      THE INTERPRETER:
  3      THE INTERPRETER:                               3           If you have a calculator, he
  4           Understood.                               4      can tell.
  5 EXAMINATION BY MR. DOUGLAS:                         5 EXAMINATION BY MR. DOUGLAS:
  6      Q. When was this meeting?                      6      Q. Don't worry about that. It's not
  7      THE INTERPRETER:                               7 that important today.
  8           Immediately after the skill               8      THE INTERPRETER:
                                                                                                      David
  9      test, the same day.                            9           I can calculate and tell you
 10      Q. Okay. At the same location or a            10      if you want.
                                                                                                      359:13-360:9
 11 different location?                                11      Q. Don't worry about it. Not worth the
 12      THE INTERPRETER:                              12 time today.
 13          Same place.                               13           Do you know why at this meeting you
 14     Q. At this meeting you talk about in           14 were told there was one fee for a green card and
 15 Paragraph 7, were the two Signal employees who    15 one -- and a separate fee for the H2B visa?
16 gave you the skills test present?                  16      THE INTERPRETER:
17      THE INTERPRETER:                              17           I know.
18           They were there to take the              18      Q. You know?
19      test, and after that, they were               19      THE INTERPRETER:
20      there for this meeting, also.                 20           I know.
21      Q. You mentioned some things that             21      Q. All right. Tell me why there was
22 Sachin Dewan -- that you claim Sachin Dewan said   22 two different charges then.
23 at the meeting. What language did Sachin Dewan     23      MR. ALEXIS:
24 use to communicate with the workers?               24           I'm going to object to the
25      THE INTERPRETER:                              25     form, by the way.

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                                             Page 360                                               Page 362

      1   THE INTERPRETER:                               1      THE INTERPRETER:
   2        Some people apply just for                   2           Malvern Burnett talked in
   3    the green card. They only come if                3      English. Sachin Dewan translated
   4    they get the green card. Some                    4      that into Hindi.
   5    people are ready because the                     5      Q. Okay. Let's skip down a couple
   6    company said if you go on H2B                    6 lines.
   7    visa, you get the green card                     7      MR. DOUGLAS:
   8    eventually. So, some people were                 8          Doctor, you'll see right in
   9    ready for that.                                  9      the middle, that's paragraph that
  10 EXAMINATION BY MR. DOUGLAS:                        10      starts, They handed out contracts.
  11     Q. Great. Thank you.                           11     THE INTERPRETER:
  12         Let's go down to Paragraph 8, and          12          Uh-huh.
  13 I'm not going to have you read the whole thing -- 13      MR. DOUGLAS:
  14     THE INTERPRETER:                              14           Could you read that sentence
 15          Thank you.                                15      to him briefly?
 16      MR. DOUGLAS:                                  16      THE INTERPRETER:
 17          Unless somebody makes me                  17           Yes.
 18      make you read the whole thing, but            18 EXAMINATION BY MR. DOUGLAS:
 19      I want you to read the first                  19      Q. Did you sign all three -- I'm
 20      sentence to him, please, Doctor.              20 sorry -- all four of the agreements that you
 21 EXAMINATION BY MR. DOUGLAS:                        21 described in that sentence?
 22      Q. At another group meeting. Who--            22      THE INTERPRETER:
 23 was any representative of Signal at this meeting 23            Yes.
 24 described in Paragraph 8?                          24      Q. Do you still have copies of all four
 25      THE INTERPRETER:                              25 of the agreements that you described in that
 r---------------------------~----~--------=---------~------------------
                                            Page 361                                              Page 363

  1          Yes, it was there.                          1 sentence?
  2      Q. Who?                                         2      THE INTERPREfER:
  3      THE INTERPRETER:                                3          I don't have it with me now,
  4          Malvern C. Burnett.                         4      but I have it at home.
  5      Q. Were the two Signal employees that           5      Q. Of all four?
  6 were at the written pipefitter skins test also       6      THE INTERPREfER:
  7 present at this meeting on May 27th?                 7          I believe so.
  8      THE INTERPRETER:                                8      Q. Have you looked at any or all of
  9          No.                                         9 those four agreements since the day you signed
 10      Q. Was Michael Pol at this meeting?            10 them?
 11      THE INTERPRETER:                               11     THE INTERPRETER:
 12         No.                                         12         Yes, I read.
 13     Q. Did anybody besides Sachin Dewan and         13     Q. Okay. What do you understand the
 14 Malvern Burnett address the applicants at this      14 Global Resources agreement that you signed as
 15 meeting?                                           15 described in Paragraph 8 accomplished?
16      THE INTERPRETER:                               16      THE INTERPRETER:
17          Sachin Dewan's brother,                    17          I don't remember now to
18      younger brother, Manish Dewan,                 18      explain. If you can read it, I
19      talked in this meeting.                        19      can explain.
20     Q. Did Sachin Dewan speak at this               20      Q. What about the agreement with
21 meeting?                                            21 Malvern Burnett that you signed in Paragraph 8,
22     THE INTERPRETER:                                22 what do you understand that agreement was for?
23          Yes.                                       23     MR. ALEXIS:
24     Q. And, obviously. Malvern Burnett              24         Object to form.
25 spoke at the meeting.                               25     THE INTERPRETER:

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      1 that you understood three-fourths of what he                 1    most of the court languages.
      2 spoke in English?                                            2    Q. SO, will you demand that you testify
      3   THE INTERPRETER:                                         3 through an interpreter if you are called to
   4          Almost. I didn't say in the                          4 testify at a hearing or the trial in this matter?
   5      meeting, like, three-fourths.                            5      THE INfERPRETER:
   6      Most of the things, we understood,                       6          For sure, I need.
   7      and with the translation, we                             7      Q. Will you also demand that every
   8      completely understood.                                   8 attorney who questions you, including your own
   9      Q. Before entering into this whole                       9 attorneys, question you through an interpreter?
  10 process to go to work at Signal, had you ever                10      THE INTERPRETER:
  11 been involved in any sort of immigration                     11          Yes, I will. If I need to
 12 proceedings to come to the United States?                     12      understand, I need to hear in
 13      THE INTERPRETER:                                         13      Malayalum.
 14          No.                                                  14      Q. Let's go back to Paragraph 12,
 15      Q. Do you understand three-fourths of                    15 Kurian. I'm very interested in the part of your
 16 what I'm saying in English?                                   16 document that starts with: We were not to tell
 17      THE INTERPRETER:                                         17 the officials the truth about certain things.
 18          What I said three-fourth is                        1 18     THE INTERPRETER:
 19      not exactly three-fourth, but I                          19          Yes.
                                                                                                                       David
 20      generally understand most of the                        20      Q. Did you think it odd that someone
                                                                                                                       390:20-392:5
 21      things.                                                 21 was telling you to not tell the truth to a
 22     Q. Do you understand most of what I'm                    22 government official?
 23 saying in English?                                           23      THE INTERPRETER:
 24     THE INTERPRETER:                                         24          Yes, but they told us the
 25          Few words I don't                                   25      reason. If I tell the truth, this
 ----------------------p--a~;3891
                                                                                                           Page 391
                                                            I
  1         understand.                                          1         visa will be cancelled, and you
  2      Q. SO, that means you understand most                   2         will never get the green card
  3 of the words I'm saying in English?                          3         afterwards. If one person tell
  4        THE INfERPRETER:                                      4         the truth, none of you get the
  5         Almost I understand.                                 5         visa and, also, we don't get --
  6     Q. If you are called to testify at a                I    6         return you the money. We don't
  7 hearing in this matter or at the trial in this               7         give you the money back.
  8 matter, will you testify in English or in                    8        MR. WYNNE:
  9 Malayalum?                                                   9             Object to translation.
 10       THE INTERPRETER:                                    10     EXAMINATION BY MR. OOUGLAS:
 11           No.                                             11          Q. Did you question whoever told you to
 12       Q. No. It's not a "yes" or "no"                     12     not tell the truth to the official about this
 13   question. If you are called to testify at a            13      instruction?
14    hearing in this matter or at the trial in this         14           MR. SHAPIRO:
15    matter--                                               15               Object to form.
16        THE INTERPRETER:                                   16           THE INTERPRETER:
17            Wait.                                          17               We asked him why we
18        MR.OOUGLAS:                                        18           shouldn't tell the truth. Then,
19            I'm sorry.                                     19          they explained to us this H2 visa
20    EXAMINATION BY MR. OOUGLAS:                            20          will be cancelled. You tell them
21        Q. -- will you testify in English or in            21          if you gave money. If you tell
22    MaJayalum?                                             22          them that you gave money and
23       THEINfERPRIrrER:                                    23          going, you will never get the
24           I can only speak in                             24          green card, also. If anything
25       Malayalum. I don't understand                     1 25          like that happens, we would not

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   1         give any money back -- whatever               1      Q. And when you just told me that if
   2         you paid us. So, we were forced               2 they happen to know we gave more money than
   3         to obey because we paid the money.            3 required, they will create a problem, are you
   4         So, we were forced to obey that --            4 referring to the consular officials that you were
   5         to do that.                                   5 about to lie to?
   6   EXAMINATION BY MR. DOUGLAS:                         6      THE INTERPRETER:
   7         Q. Who do you contend told you to not         7          Yes.
   8   tell the truth to the consular officials?           8      MR. WYNNE:
   9         MR. SHAPIRO:                                  9          Objection;
  10             Object to form.                          10      mischaracterization.
  11         MR. ALEXIS:                                  11 EXAMINATION BY MR. DOUGLAS:
  12             Object to form.                          12      Q. Did anybody explain to you why you
  13   EXAMINATION BY MR. DOUGLAS:                        13 were supposed to lie to the consular officials
 14         Q. You can answer.                           14 about the possibility of green cards? David
 15         THE INTERPRETER:                             15      THE INTERPRETER:                      394:18-395:21
 16             Malvern C. told.                         16          Malvern C. explained and
 17         Q. Did he tell you why you needed to         17      told.
 18    lie to the officials about how much money you had 18      Q. What did Malvern C. explain and tell
 19    paid for a recruitment fee?                       19 you about why you needed to lie to the consular
 20         MR. ALEXIS:                                  20 officials about the green cards?
 21             Object to form.                          21      MR. ALEXIS:
 22         THE INTERPRETER:                             22          Object to form.
 23             He didn't tell particularly              23      MR. WYNNE:
 24         why you should -- he didn't                  24          Objection; asked and
 25         explain particularly why he said             25      answered.
                                             -~----+--------------------------------.-----
                                              Page 393                                               Page 395

  1       that.                                            1       THE INTERPRETER:
  2 EXAMINATION BY MR. DOUGLAS:                            2           Malvern C. explained these
  3      Q. Did he tell you -- would you agree             3       things in detail. You are going
  4 with me, Kurian, that intentionally not telling        4       now for -- on H2 visa. H2 visa
  5 someone the truth is the same thing as lying to        5       will be extended twice when you
  6 that person?                                           6       reach here. Within that 24-month
  7      THE INTERPRETER:                                  7       period with the renewal of the H2
  8            Yes, that is true. But I                    8       visa, you will get the green card.
  9      had a reason. I was forced to                     9      We have started all the
 10      tell.                                            10      papelWork -- already started for
 11      Q. Okay. Did anybody explain to you              11      that. So, you tell now that you
 12 why you were to lie to the consular officials and     12      are just going on the H2 visa
 13 only say that you had paid a very small amount?       13      only. Then, we ask them. so you
14      MR. ALEXIS:                                       14      will only get H2 visa? Then, they
15            Object to form.                            15       explained again, not only H2 visa,
16      THE INTERPRETER:                                 16       after you go there within this two
17           They said only if you need a                17       renewal period time, within 24
18      very small amount for the H2 visa                18       months, you will get the green
19      If they happen to know we gave                   19      card. The company is doing -- has
20      more money than required for that,               20      done all the -- started doing all
21      they win create problem. That is                 21      the papelWork for that.
22      why they said not to tell how much               22 EXAMINATION BY MR. OOUGLAS:
23      money you gave or how much money                 23      Q. I understand that. What I don't
24     you owe in the future.                            24 understand is why you -- why it was told to you
25 EXAMINATION BY MR. DOUGLAS:                           25 that it would be necessary to tell a lie to the

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  26 (Pages 444 to 447)
                                                 Page 444                                                     Page 446
    1    EXAMINATION BY MR. DOUGLAS:                             1           Thank you.
    2        Q. Well, yes, that is what I'm asking               2      MR. ALEXIS:
    3    you about because I keep using the word                 3           I just want to say one thing
    4   declaration and pointing to Exhibit 302. And             4      on the record. This is Ralph
    5   yesterday, when I went a lot of time going               5      Alexis, on behalf of Malvern
    6   through how this declaration, Exhibit 302, was           6      Burnett defendants. I wasn't here
                                                                 7      at the very beginning, but I just
    7   put together, I asked you several times, and you
                                                                 8      want to confirm with everybody,
    8   responded several times that it was one long             9     all these depositions we've been
    9   conversation over several hours with an attorney        10     taking are subject to the so-
   10   and a translator, and that was the only time you        11     called usual stipUlation, and we
   11   worked on this declaration. They faxed it to you       12      also had agreed from the outset
  12    three days later, you signed it and faxed it           13      that we just said object to form
  13    back.                                                  14      and that shortens the objections,
  14        MR. WYNNE:                                         15      and one objection is good for all.
  15            Object~ mischaracterization.                   16      I just wanted to make sure
  16        The questions yesterday were about                 17      everybody -- we're on the same
  17        September 25th and September 28th                  18      page.
  18        specifically. There were never                     19      MR. DOUGLAS:
                                                         "     20           Yeah.
  19        any questions about what led up to
                                                               21     MR. WYNNE:
  20        those dates, and that's what this                  22           No problem retroactive with
  21        line of questioning is.                            23     respect to application of that.
  22        THE INTERPRETER:                            .,     24     MR. ALEXIS:
                                                        .~,

  23            Shall I translate it?                                      Just wanted to make sure.
  24        MR.OOUGLAS:                                        25          (Whereupon, the testimony of
  25         -, Oh, absolutely. Go right                              the witness was concluded at 11 :53 a.m.)
                                                Page 445                                                     Page 447
  1        ahead.                                               1            WITNESS' CERTIFICATE
  2        THE INTERPRETER:                                     2
  3            That is what I have to say,                      3
  4        too. Yesterday, you asked me when                    4
  5        did you learn about -- read about                    5          I, KURIAN DAVID, the undersigned, do
  6        this, when were you explained                        6 hereby certify that I have read the foregoing
  7        about this. That is the only                         7 deposition and it contains a true and correct
  8        thing you asked, and I answered.                     8 transcript of the testimony given by me:
  9        MR. DOUGLAS:                                         9
 10            Okay. We'll revisit this at                     10
 11        another time. It's II :48. I                        11     ( ) Without corrections.
 12       promised you 11 :45. So, five more                   12     ( ) With corrections as reflected on
 13       minutes isn't going to make a                        13        the errata sheet(s) prepared by me
 14       difference for us, but it'll make                    14        and made a part hereof.
15        a difference for you. So, I'm                       15
16        going to go ahead and suspend the                   16
17        deposition at this time, subject                    17
18        to Mr. Wynne's objections, I'm                      18
19        sure.                                               19
20        MR. WYNNE:                                          20
21          Of course.                                        21           KURIAN DAVID
22        MR. DOUGLAS:                                        22
23           To be continued and                              23           DATE
24        renoticed and finished up later.                    24
25        THE INTERPRETER:                                    25

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                                                                                27 (Page 448)
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                REPORTER'S CERTIF1CATE
   2
   3
   4              I, CAROL V ALLETfE SLATER, Certified
   5    Court Reporter, Registered Professional Reporter,
   6    in and for the State of Louisiana, as the officer
   7    before whom this testimony was taken, do hereby
   8    certify that KURIAN DA VJD, after having been duly
   9    sworn by me upon authority of R.S. 37:2554, did
  10    testify as hereinbefore set forth in the
  11    foregoing pages; that this testimony was reported
  12    by me in the stenotype reporting method, was
  13   prepared and transcribed by me or under my
  14   personal direction and supervision, and is a true
  15   and correct transcript to the best of my ability
  16   and understanding; that I am not related to
  17   counselor the parties herein, nor am I otherwise
  18   interested in the outcome of this matter.
  19
  20
  21         CAROL VALLETfE SLATER (CCR 78020)               I
             CERTIFIED COURT REPORTER
  22         REGISTERED PROFESSIONAL REPORTER
  23

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                                                                                                                                                    1 (Pages 449 to 452)
                                                                           Page 449.                                                                                          Page 451
         1          UNITED STATES DISTRICT COURT                                           1 APPEARANCES COl'.'TINlJED:
         2          EASTERN DISTRICr OF LOUISIANA                                          2   BARRASSO, USDIN. KlJPPER.tvlAl'\1.
         3                                                                                       r·REEMAl'\1 & SARVER
              KURIAN DA VID, SONY               CIVIL AC"TION                              3   (BY CHRISTY C. HAROWSKJ)
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                                                                                           5
             HEMANT KHUTfAN, ANDREWS                  SECfION • A'                                 AITOR1',,£YS FOR GLOBAL RESOl:RCF5.
         6 ISSAC PADA VEETTIYL, AND                                                        6       L"'C. A,"ID MIOIAEL POL
             DHANANJA Y A KECHURA, ON                MAGISTRATE 3                          7
         7 BEHALF OF OTHER SIMILARL Y                                                            STEPHEN H. SI·IAPffiO
         SITUATED INDIVIDUALS, AND                                                         8     200 Maine Stree!
       8 SABULAL VIJA Y AN, KRISHAN                                                              Jefferson, Louisiana 70121
         KUMAR, JACOB JOSEPH                                                               9
       9 KADDAKKARAPPALLY,KULDEEP                                                                   A TTOR."IEYS FOR SACHlN DEW AN AND
         SINGH, AND THANASEKAR                                                            10        DEW AN CONSULTANTS PVT LTD AL~O
      10 CHELLAPPAN, INDIVIDUALLY,                                                                  KNOWN AS MEDTECH CONSULTMrrS
     11        PLAINTIFFS                                                                 11
                                                                                               ALSO PRESENT:
     12 VERSUS
                                                                                          12
     13 SIGNAL INTERNATIONAL,                                                                    TRACEY BINION
         LLC, MAL VERN C BURNFIT,                                                         13     SIGNAL INTERNATIONAL, LLC.
     14 GULFCOASTlMMIGRATION                                                              14     BRYAN C. BAGNETI'O
         LA W CENTER, L.L.C, LAW                                                                 MIDDLEBERG, RIDDLE & GlANNA
     15 OFACES OF MALVERN C                                                               15
         BURNEIT, A.P.C,                                                                         ANJALI NAIR
     16 INDO·AMERI SOFT L.L.c.,                                                           16     Immigrant Justice Project
         KURELLA RAO, J & M                                                                      Southern Poverty Law Center
     17 ASSOCIATES, INC OF                                                                17     Suite 2150
         MISSISSIPPI, GLOBAL                                                                     233 Peachtree Street
     18 RESOURCES, INC, MICHAEL                                                           18     Atlanta, Georgia 30303
                                                                                         ~ ~;;:~EVlDOSS
        POL, SACHIN DEWAN, AND
     19 DEWAN CONSULTANTS PVT
        LTD. (alkla MEDTECH
                                                                                     I   21
                                                                                             LEGAL IN'IERPRE'IERS, INC.
                                                                                             Suite 200
     20 CONSULTANTS).                                                                I'      3350 Ridgelake Drive
     21       DEFENDANTS.                                                               22   Metairie, Louisiana 70002
     22                                                                              I  23 REPORTED BY:



                                                                                 rI
     23                                                                                 24   CAROL VALLETTE SLATER
     24            KURIAN DAVID                                                              Certified Court Reponer
 ~5                     VOLUME 4        .~.   - ----- - .- _. - - -   -   P;g~ 450       25     Repstered ProfeSSIonal Report",: .. -   -    .-    ~-   ~~~~~   ...   ---~   ...- ...- - . -

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     1 Deposillon of KURIAN DA V/D, do [}.uUe/ Werner,
       Immigrant Justice ProjeCt, Southern Poverty Law
                                                                                     II   1
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     2 Center,Suite215O,233PeacbtreeSt=t,                                            I 3 EXAMINATION BY:                                          PAGE
       Atlanla, Georgia 30303, taken in the oIi'i= of                                ,
     3 Huffman & Robinson, lnc., Suite 250 AMex. 701                                      4 MR. DOUGLAS                                   455
       PoydrasStreet,NewOrleans,Louisiana 70139,011                                       5 MR. ALEXIS                                  515
     4 Thursday, the 9th day of April, 2009, beginning                                    6 MR. SHAPIRO                                     573
       at 9:14am.                                                                         7 MS. HAROWSKI                                     626
     5
         APPEARANCES:                                                                     8 MR. HOWARD                                      629
     6                                                                                    9 MR, DOUGLAS                                     651
              DEWEY & LeBOEUF                                                            10 MR. HOWARD                                      663
     7        (BY: ALANB.HOWARD)                                                         11 MR. DOUGLAS                                     664
              130 I Avenue of the Americas
  8           New Yod, New York 10019
                                                                                         12
  9              ATIORNEYS FOR 1l-!E PLAINTIFFS                                       13 EXHIBITS:
 10                                                                                   14 Exhibit Number 347                   478
             MlDDLEBERG, RIDDLE & GlANNA                                                     Notice of Continuation Deposition
 11          (BY: ERIN CASEY HANGARTNER                                               15     of Kurian David
                DONAlD e. DOUGLAS, JR.)
 12          31st Floor
                                                                                             KURIAN00035 - (XXm
             201 St. 0!arIes Avenue                                                   16
 13          New Orleans, J..oomana 7017()'3100                                          Exlubit Number 348                  479
 14                  and                                                              17     Employment Agreement
 15          PATRKlA A. BOLLMAN
                                                                                             DAVIDOOOOI869 - (xo)1870
             A Professional Law Corporation
 16          Post Office Box 13707                                                    18
             New Orleans, Louisiana 70185                                                Exhibit Number 349                  485
 17                                                                                  19      Dewan Consultants Receipt Vouchers
                ATTORNEYS FOR SlGNAl..1NTERNATIONAL,                                         DAVII.XJ0CX)5510
 18             LLe.
 19
                                                                                     20
             PORTEOUS. HAINKEL & JOHNSON                                                 Exhibit Number 350                  531
20           (BY: RALPH R. AtEXJS, ill)                                              21      Attorney Services Agreement
             704 Caroaddd Sttett                                                     22 Exhibit Number 351                   531
21           Ne\ttOtfcam.LoWsiana 701JO..3n4                                                Memorandum of Understanding
22             ATTORNEYS FOR GULFCOAST IMMIGRATION
               LAWCENTER. LLC.                                                       23     DA VID(XXXH 867 - (XO)I868
23                                                                                   24 Exhibit Number 352                  562
24                                                                                          2007 Fonn W-2
25                                                                                   25     KURIANOOO38

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  12 (Pages 493 to 496)
                                                Page 493                                                  Page 495
   1        card processing is not going.                    1 you felt like you Ii ved in a jail. Tell me why
   2        After they removed -- they removed               2 you felt that way.
     3      Malvern C. Burnett.                              3        TIfE INTERPRETER:
     4 EXAMlNATION BY MR DOUGLAS:                            4            There are several reasons
     5      Q. After they removed -- I understand.           5        for that. First thing is I know
    6 You told me Malon told you that, right?                6        I'm staying in a place I really
    7       TIfE INTERPRETER:                                7       didn't want to stay; second, they
    8          Company manager, Malon.                       8       are giving me the food which I
    9       Q. After that meeting with Malon and             9       don't like; and the third thing
   10 before you quit, did the company have a meeting i 10           is, you know, they control what we
  11 where they told you we're starting the green card 111           eat. If my friends or relatives
  12 process for you guys?                                ! 12       come, they are not allowed to come
  13        MR. HOWARD:                                  ! 13        in. Not even -- they don't even
  14           Objection to translation.                 114         allow us to drink a beer -- drink
  15        THE INTERPRETER:                             Ii 15      beer.
  16           Can you repeat that again?                , 16       Q. In the camp?
  17 EXAMINATION BY MR. DOUGLAS:                        ! 17        THE INTERPRETER:
  18       Q. I understand that in October of '07,      118              Inside the camp.         David
  19 you claim that Malon told you the company's not 119            Q. Anything else?             495:19-496:7
  20 going to start the green card process. After       I 20        THE INTERPRETER:
  21 that --                                            121              Even where we sleep, you
 22        THE INTERPRETER:                             i 22        know, they come in and check the
 23            Can you repeat that, green               ! 23        cabinet and the bed. When we go
 24        card processing?                            124          for duty and when we end, also,
 25        Q.                   the company is not         25
 .-....--.-----....-.---.---.--..-.-.......- . -.-.-- -1---·_··..-·_--.. we come back,. if.-..
                Malon  told you                                     when                       you   go to -.-.
                                                                                                 -..----.-...
                                               Page 494   i                                             Page 496
                                                          [

  1 going to start the green card processing. After       ,1        Wal-Mart or we go to church, when
  2 he said that, did the company ever tell you,          I 2       we come back, they check the bag
  3 yeah, we're going to start the green card             I3        and -- check the bags. You think
  4 process? Anybody with the company.                    ! 4       about all that, there is no
  5     THE INTERPRETER:                                    5       freedom -- there was no freedom.
  6          Nobody said that.                              6      That is why I thought it is a
  7     Q. Were you moved -- transferred from               7      jail.
  8 Orange over to Pascagoula before you left?              8      Q. Kurian, could you have walked out of
  9     THE INTERPRETER:                                    9 the gate whenever you wanted to walk out of the
 10         I didn't hear that.                            10 gate and leave Signal?
 11     Q. Were you transferred from Orange to             11      THE INTERPRETER:
 12 Pascagoula before you left Signal?                     12           Yes. Yeah, I could. But I
 13     THE INTERPRETER:                                   13      didn't have the -- they didn't
 14         I didn't go.                                   14      allow us to go outside -- to walk
15      Q. You didn't go to Pascagoula?                    15      outside.
16      THE INTERPRETER:                                   16      Q. Could you get in a car and drive off
17          No, I didn't go.                              17 whenever you wanted to get in a car and drive
18     MR. OOUGLAS:                                       18 off?
19         Can you read him Paragraph                     19      THE INTERPRETER:
20     32, please?                                        20           Company arranged a van. If
21         Finished?                                      21      there is not -- there is not
22     THE INTERPRETER:                                   22      enough people, that is about 12,
23         Yes.                                           23      then. they won't go. And the work
24 EXAMINATION BY MR. OOUGLAS:                            24      site and all the tools, you know.
25     Q. Kurian, you say in Paragraph 32 that            25      we pay and buy. Safety, thin s

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                                                                                                29 (Pages 561 to 564)
                                                Page 561                                                   Page 563

   1      Q.   And you told us that you paid                   1     rupees per dollar.
   2 $4,000, correct?                                       2      Q. SO, you believe that $50,000 is
   3      THE INTERPRETER:                                  3 approximately two million rupees.
   4          Yes.                                          4     THE INTERPRETER:
   5      Q. Now, $4,000, would you agree, is               5         Calculate.
   6 approximately 200,000 rupees?                          6     Q. You want a pen and paper?
   7      THE INTERPRETER:                                  7     THE INTERPRETER:
   8          Yes, around.                                  8         This is 20 lakhs. It is not
   9      Q. And you could have used that money             9     two million. If I'm allowed to
  10 to pay down your debts?                               10     say, it's -- 100 lakhs is one
  11     THE INTERPRETER:                                  11     million. In India, it's kody.
  12         Yes.                                          12     One hundred lakhs is one kody.
  13     Q. But you chose to buy the car?                  13     Q. You believe that $50,000 is 20
  14     THE INTERPRETER:                                  14 lakhs?
  15         I decided to buy the car                      15     THE INTERPRETER:
  16     because if you don't have a car,                  16        Yes.
 17      it's like you -- it's like you  17      Q. And that is a great deal more than
 18      don't have legs.                18 you made in the UAE?
 19      MR. ALEXIS:                     19      MR. HOWARD:                  David
 20                                      20
              I'm going to show to counsel          Objection to form.        563:24-566:1
 21      exhibits marked 352 and 353. I  21      THE INTERPRETER:
 22      will state that Exhibit 352 is a22        This amount, I didn't get.
 23                                      23 EXAMINATION BY MR. ALEXIS:
         2007 W-2 form issued by Signal to
  24                                     24
         Kurian David, and Exhibit 353 is a     Q. The amount you received was a great
  25                                     25 deal more than you received in the UAB.
         2008 W-2 form issued by Signal to
 !-~----·~----·--~--------------·----~-T-·                 -----~-.              --------------
                                               Page 562                                                  Page 564

  1      Kurian David.                                     1    MR. HOWARD:
  2       (Whereupon, Exhibit Number                       2       Objection to form.
  3    352 and Exhibit Number 353 were                     3    THE INTERPRETER:
  4    marked for identification.)                         4       Yes.
  5 EXAMINATION BY MR ALEXIS:                              5 EXAMINATION BY MR. ALEXIS:
  6    Q. Kurian, I'd like to direct your                  6    Q. And that's why you came to this
  7 attention to Exhibit 352, please. If you look at     7 country.
  8 Box Number I, it shows that you made $50,176.16/ 8         MR. HOWARD:
  9 working for Signal in 2007; is that correct?         9         Objection to fonn.
 10      THE INTERPRETER:                             I 10     TIlE INfERPRETER:
 11         The amount shows is a gross                 11         No.
 12     amount They cut more than half                  12 EXAMINATION BY MR. ALEXIS:
13      of that. They took it back.                     13    Q. That's not why you came?
14      Q. Would you agree with me that $50,000         14    THE INTERPRETER:
15 is approximately two and a half million rupees?     15         No.
16      THE INTERPRETER:                               16     Q. That's not one of the reasons you
17          Not that much. It's about                /17 came?
18      two million. No, not two million.            118      THE INTERPRETER:
19      I have to calculate.                         119          One reason, yes. One of the
20      Q. Let me ask you this: Would you            120      reasons.
21 agree that there are 50 rupees to a dollar.       ,21      Q. It was a big reason, no?
22 approximately?                                         22       MR. HOWARD:
23     THE INTERPRETER:                               ! 23            Objection to fron.
24        Fifty rupees is right now.                  ,124         TIlE INTERPRETER.:
25     When I was working. it's only 40                   25          I donl think it's a big

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      1       reason. I came here only because                       1          Yes, that's correct.
      2       I would be able to get the green                       2    Q. SO, your understanding of what
      3        card. The family life with my                         3 Malvern Burnett said comes greatly from the Hindi
   4           kids would be better. If it's                4 translation that you heard?
   5           only H2B visa, I wouldn't have               5      TIlE INTERPRETER:
   6           come.                                        6          Yes. Hindi interpreter was
   7      EXAMINATION BY MR. ALEXIS:                        7      Sachin Dewan.
   8           Q. You're still here, though?                8      Q. I understand. Let me also direct
   9           MR. HOW ARD:                              i 9 your attention to Paragraph 8 of your
                                                                [

  10               Objection; form.                      I 10 declaration. In that paragraph, you state that
  11           THE INTERPRETER:                          ; 11 Malvern Burnett spoke to a group meeting,
  12               Yes.                                  : 12 correct?
  13      EXAMINATION BY MR. ALEXIS:                       13      TIlE INTERPRETER:
  14           Q. And if you hadn't come over here on      14          Yes.
  15      an H2B visa, you wouldn't be here, would you?    15      Q. And, once again, he spoke in
  16          MR. HOWARD:                                  16 English, correct?
  17               Objection to form.                      17     THE INTERPRETER:
  18          THE INTERPRETER:                            18          Yes.
 19                I would not have come. Oh,             19      Q. And, once again, his words were
 20           I said I would have come. I would           20 interpreted in Hindi?
 21           have gotten green card. I paid              21      THE INTERPRETER:
 22           for the green card. They said               22          Sachin Dewan translated back
 23           within 24 months, I will be able            23      in Hindi.
 24           to get the green card. With green         : 24      Q. And, once again, your understanding
 25          card, I would have stayed here --          125 of what Malvern Burnett said comes largely from
            -,----,-.'---, -'-.-'-------,- -----   -P~~;566r----·-·------·--·- ·----------Pa~;568




  1          I could have stayed here.                              1 the Hindi translation?
  2          MR. ALEXIS:                                      2     THE INTERPRETER:
  3        I'm going to object to the                         3         In English, a little bit I
  4    responsiveness of the answer and                       4     could understand. With the
  5    ask that it be stricken at the                         5     translation and combined, I could
  6    appropriate time.                                      6     understand.
  7    MR.OOUGLAS:                                            7     Q. I understand. But since you only
  8       I join.                                             8 understand English a little, your understanding
  9 EXAMINATION BY MR. ALEXIS:                              i 9 of what Malvern Burnett was saying came from the
 10     Q. Kurian, in Paragraph 5 of your                   110 Hindi translation?
 11 declaration, you talk about Malvern Burnett            i 11      mE INTERPRETER:
 12 giving an explanation to a group seminar. You          112           Yes.
 13 testified that someone interpreted -- strike           : 13      Q. Again, I'd like to direct your
 14 that.                                                  114  attention to Paragraph 12. Are you testifying
 15          You testified that Malvern Burnett            i 15 today that Malvern Burnett addressed a group of
16 spoke in English, correct?                              i 16 men and talked to them about how to answer
17       THE INTERPREfER:                                    17 consular interviews?
18           Yes.                                            18     TIlE INTERPRETER:
19       Q. And he was interpreted by a Hindi                19         Yes.
20 interpreter.                                             20      Q. Again, he spoke in English?
21      THE INfERPREfER:                                    21      TIlE INTERPRETER:
22           Yes.                                           22          Yes.
23      Q. And you don't understand English 100             23      Q. And, again, he was translated into
24 percent; is that correct?                                24 Hindi?
25      TIm INfERPRETER:                                    25      TIlE INTERPRETER:

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                                               Page 637.                                            Page 639

      1          Yeah. If you sit in the                    1 at the same time?
    2       top, your head will hit the                     2       MR. DOUGLAS:
    3       ceiling. But if you sit in the                  3           Form.
    4       bottom, your head will hit the top              4      THE INTERPRETER:
    5       bed.                                            5           There were night shifts and
    6       Q. Were there times you were living             6      day shifts. When day shift --
    7 there when every bunk, every bed in your trailer 7           when they come back, then, the
    8 was occupied?                                         8      night shift goes. When we are
    9      THE INTERPRETER:                                 9      sleeping, the night shift, they
   10           You're talking about that,                 10      will come back around 2:00 at
   11      the trailer I was in?                          11       ni ght. They come and open the
   12      Q. Correct.                                    12       cabinets and then they walk around
   13      THE INTERPRETER:                               13       and then we lose our sleep, and if
  14            That day when I went and                  14       you go to bed at 10:00 and you can
  15       lived, there was only 15 people,               15       sleep till 2:00, then, you lose
  16       and after a week -- within a week,             16      your sleep. My job is, like, you
  17       it became full.                                17      have to do a lot of calculation.
  18      Q. And for how long did it stay full?           18      And if you couldn't sleep, people
  19      THE INTERPRETER:                                19      are like -- you know, you have a
  20           After that, some people                    20      lot of mental trouble. So, we
  21      left. Some people have                          21      requested for this night shift
  22      transferred to Mississippi. Like              122       people to live separate. They
  23      that, I know, the number went                 123       have the day shift and the night
  24      down.                                         I 24      shift people stayed in separate
 f-2_5_~_Q,,--._~~ t OU estimate the .le!l~h ?! __ . -+-12_5_ _ quarters, all these problems coul'!_____ . _
                                              Page 638       Ii                                   Page 640
   1 time -- was it days, weeks or months -- that your            1
                                                                have solved, and even for that and
  2 trailer was full, up to 24 people?                            2
                                                                the company didn't do anything and
  3      TIIE INTERPRETER:             David                      3
                                                                they said you have to stay as the
  4          Cannot say exactly. About 638:6-640:4                4
                                                                accommodations are given.
  5      four, five months.                                       5
                                                                MR. DOUGLAS:
  6      Q. How many toilets were in your                         6 Object to responsiveness of
  7    trailer?                                          7      the continuing narrative that has
  8         1HE INTERPRETER:                             8      nothing to do with the question.
  9              Two.                                 I 9       THE INTERPRETER:
 10         Q. How many showers were in your          110           Can you repeat that?
 11   trailer?                                          11      MR. DOUGLAS:
 12         TIIE INTERPRETER:                           12          I want to object to the
 13             Two.                                   13      responsiveness.
 14         Q. Did you -- how often would you have     14 EXAMlNATION BY MR. HOWARD:
 15   to wait for a shower when you wanted to shower? 15       Q. You mentioned before. Mr. David, as
 16         TIIE INfERPRETER:                          16 one of the reasons you felt that this was a jail
 17             About sometimes several              ! 17 is that you were not allowed to have visitors in
 18         hours had to wait.                       118 the camp; is that right?
 19         Q. Why so long?                          I 19      THE INTERPRETER:
 20        1HE INfERPREIER:                          120           Yes.
 21             The people who go there                21      Q. You mentioned that one person who
 22        first, they take a bath, and then         122 had come to try and visit you at the camp was
 23        after that. you know, it's                123 someone you referred to as your brother. Who is
24         according to that.                            !
                                                      24 that?
25         Q. Was everybody comingback from work 125           THE INTERPRETER:

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 1              WITNESS' CERTIFICATE
 2
 3
 4
 5          1, KURIAN DAVID, the undersigned, do i
 6 hereby certify that I have read the foregoing
 7 deposition and it contains a true and correct
 8 transcript of the testimony given by me:
 9
10
11     ( ) Without corrections.
12     () With corrections as reflected on
13        the errata sheet(s) prepared by me
14        and made a part hereof.
15
16
17
18
19
20
21              KURIAN DAVID
22
23              DAlE
24
25
                                             Page 666

 1          REPORTER'S CERTIFICATE
 2
 3
 4        I, CAROL V ALLETTE SLATER, Certified
 5 Court Reporter, Registered Professional Reporter,
 6 in and for the State of Louisiana, as the officer
 7 before whom this testimony was taken, do hereby
 8 certify that KURIAN DAVID, after having been duly
 9 sworn by me upon authority of R.S. 37:2554, did
10 testify as hereinbefore set forth in the
11 foregoing pages: that this testimony was reported
12 by me in the stenotype reporting method, was
13 prepared and transcribed by me or under my
14 personal direction and supervision, and is a true
15 and correct transcript to the best of my ability
16 and understanding; that I am not related to
17 counselor the parties herein, nor am I otherwise
18 interested in the outcome of this matter.
19
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